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                                                                                                                                                                                                                                     Page 1
                                                                                                                                               IN THE UNITED STATES DISTRICT COURT
                                                                                                                                              FOR THE EASTERN DISTRICT OF ARKANSAS
                                                                                                                                                        WESTERN DIVISION
                                                                                                                                      _____________________________________________________

                                                                                                                                      KAREN MCINTOSH                                                                  PLAINTIFF

                               7UDQVFULSWRIWKH7HVWLPRQ\RI                                                                         VS.                           CASE NO. 4:17-CV-757

                                                                                                                                      THE COUNTRY CLUB OF LITTLE ROCK and
                                                                                                                                      JUDITH M. REEVES a/k/a JODI REEVES,        DEFENDANTS
                                    .DUHQ0F,QWRVK                                                                                   _____________________________________________________

                                                                                                                                                            ORAL DEPOSITION OF KAREN MCINTOSH
                                     'DWH2FWREHU
                                                                                                                                                                    October 17, 2018
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                                                                                                                                                              Little Rock, Arkansas 72201
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4        BECKY MCHUGHES, ESQ.                                                                                                4
         The McHughes Law Firm, PLLC
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         Friday, Eldredge & Clark, LLP                                                                                       10
10       400 West Capitol
         Suite 2000                                                                                                          11
11       Little Rock, Arkansas 72201
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1                                ANSWERS AND DEPOSITION OF KAREN MCINTOSH, a                                                1                                         KAREN MCINTOSH,
2        witness produced at the request of the Defendant, was                                                              2        the witness hereinbefore named, having first been
3        taken in the above-styled and numbered cause on the                                                                3        duly cautioned and sworn or affirmed to tell the
4        19th day of October, 2018, before Janess Ferguson                                                                  4        truth, the whole truth and nothing but the truth,
5        Smith, Certified Court Reporter and Notary Public in                                                               5        testified as follows:
6        and for Saline County, Arkansas, at the Offices of                                                                 6                                          EXAMINATION
7        Friday, Eldredge & Clark, LLP, 400 West Capitol,                                                                   7        BY MR. HERRINGTON:
8        Suite 2000, Little Rock, Arkansas, at 8:57 a.m.                                                                    8        Q.           Ms. McIntosh, good morning.                      My name is Dan
9                                      * * * * * * * * * *                                                                  9        Herrington.                I represent The Country Club of Little
10                                   S T I P U L A T I O N                                                                  10       Rock and Jodi Reeves in the lawsuit that you brought.
11                               It is stipulated and agreed by and between                                                 11                               Of course, you know, Jodi's here with me
12       the parties through their respective counsel that the                                                              12       here today, and Blaine Burgess is here on behalf of
13       deposition of KAREN MCINTOSH may be taken for any and                                                              13       the country club.
14       all purposes according to the Federal Rules of Civil                                                               14                               You have sued the country club for age
15       Procedure.                                                                                                         15       discrimination and you have sued, I assume, the club
16                                    * * * * * * * * * *                                                                   16       and Ms. Reeves for false imprisonment and the tort of
17                                                                                                                          17       outrage; right?
18                                                                                                                          18       A.           Uh-huh.
19                                                                                                                          19       Q.           I will have to go over a few ground rules with
20                                                                                                                          20       you.         One of them is you have to answer out loud,
21                                                                                                                          21       "yes" or "no," or whatever the answer is.
22                                                                                                                          22                               The court reporter has a hard time picking
23                                                                                                                          23       up nods of the head.               And the other, the other thing
24                                                                                                                          24       that's hard for her to take down is "uh-huh" and
25                                                                                                                          25       "huh-uh," because we can hear the difference, but she

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1        can't really spell it out any differently.                                                                         1        A.           No, sir.
2        A.           Okay.                                                                                                 2        Q.           Have you ever testified in court?
3        Q.           So you have to say "yes," or "no," or whatever                                                        3        A.           Yes, sir.
4        the answer is.                It doesn't have to be "yes" or "no,"                                                 4        Q.           Tell me the context in which you testified in
5        but you have to verbalize it if -- and I will try to                                                               5        court.
6        remind you, or the court reporter will remind you if                                                               6        A.           My son's murder trial.
7        you say "uh-huh" or huh-uh."                                                                                       7        Q.           Your, your son was murdered --
8        A.           Okay.                                                                                                 8        A.           Yes.
9        Q.           We all do it, and you're not used to doing                                                            9        Q.           -- or he was accused?
10       these things, so that will be something that, that we                                                              10       A.           He was murdered.
11       will need to work on.                                                                                              11       Q.           Okay.        When was that?
12                               Today is my one chance to get at the                                                       12       A.           In '94.
13       factual support for your allegations under oath.                                              My                   13       Q.           Okay.        And you testified -- were you a witness
14       questions will be -- a lot of my questions will be                                                                 14       to it, or were you -- did you testify?
15       the same today as if we were at trial if this case is                                                              15       A.           I guess all I really did was I just gave the
16       not dismissed otherwise, so it's very important that                                                               16       victim impact statement.
17       you stop me if you don't understand, ask me to                                                                     17       Q.           And have you ever sued anyone or been sued?
18       rephrase, ask me to repeat, whatever it takes.                                                                     18       A.           No.
19                               I am not here to trick or mislead you.                                I                    19       Q.           Is there anything today that would keep you
20       will ask the question in such a way that you                                                                       20       from listening and understanding my questions and
21       understand and can give me a full and accurate answer                                                              21       giving full and accurate answers?
22       if you will just tell me my initial question you                                                                   22       A.           No.
23       don't understand; okay?                                                                                            23       Q.           So if you answer, I can assume you gave me a
24       A.           Okay.                                                                                                 24       full and accurate answer?
25       Q.           Have you ever given a deposition before?                                                              25       A.           Yes.

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1        Q.           Did you bring any documents with you today?                                                        1        May, April, of '16.
2        A.           Not in here.                                                                                       2        Q.           What do you mean "hours being changed"?
3        Q.           Did you review any documents to refresh your                                                       3        A.           Well, Jodi sent out an email stating that the
4        memory or to prepare for your deposition today?                                                                 4        hours will be 8:30 to 5:00 and an hour for lunch.
5        A.           No.                                                                                                5        Q.           Oh, okay.      Changed -- Jodi changed the work
6        Q.           Are there any documents that you have or that                                                      6        hours?
7        you provided to your attorneys that you believe                                                                 7        A.           Uh-huh.
8        supports your contentions that you have been                                                                    8        Q.           Okay.      And you forwarded that to your personal
9        discriminated against?                                                                                          9        email?
10       A.           Yes.                                                                                               10       A.           Uh-huh.
11       Q.           What?                                                                                              11       Q.           Do you still have it?
12       A.           I don't have -- I have documents for doing a                                                       12       A.           Honestly, I would have to go back and look.                                      I
13       good job, but none for discrimination.                                                                          13       do not know.
14       Q.           Okay.      Do you have any documents that were from                                                14       Q.           Okay.      Do you still have that same computer or
15       the club that you have not produced in discovery?                                                               15       that same email address?
16       For instance, did you ever send yourself emails from                                                            16       A.           Yes.
17       work, you know, like forward yourself an email from                                                             17       Q.           So you can log in and look?
18       work to a personal email?                                                                                       18       A.           Yes.
19       A.           Probably, yes.                                                                                     19       Q.           Okay.
20       Q.           Give me an example of what you would have                                                          20       A.           Because she normally sent my, sent the stuff to
21       forwarded to a personal email.                                                                                  21       my personal email.
22       A.           And I think the one was about hours being                                                          22       Q.           Who did?
23       changed, a lunch hour was an hour.                                                                              23       A.           Jodi.
24       Q.           When was that, and tell me what it was about.                                                      24       Q.           Oh, she did.     If she normally sent it to your
25       A.           It was about hours being changed, and I -- in                                                      25       personal email, what email would it have been -- did

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1        you have a, did you have a work email?                                                                          1        Q.           It could be paper or --
2        A.           I did.                                                                                             2        A.           Right, yeah.
3        Q.           What was your work email?                                                                          3        Q.           So what -- you have provided some notes in
4        A.           Karen, underscore, McIntosh -- I don't                                                             4        discovery, and we will go through those.
5        remember -- at CCLR -- I'm not -- I don't remember.                                                             5        A.           Okay.
6        Q.           Okay.      And what was your personal email?                                                       6        Q.           Is that what you're talking about?
7        A.           K.JMcIntosh@ATT.net.                                                                               7        A.           Uh-huh.
8        Q.           So will you go back and look for that, that                                                        8        Q.           Or did you keep, like, a paper diary?
9        email, or any emails that you forwarded from you work                                                           9        A.           No.
10       email to your personal email?                                                                                   10       Q.           And it doesn't have to be, like, with the
11       A.           Sure.                                                                                              11       little lock and the, you know, dear diary kind of
12       Q.           And give those to Ms. McHughes?                                                                    12       thing, but people keep daytimers and calendars and
13       A.           Sure.                                                                                              13       notebooks.
14       Q.           Do you keep any type of journal, or diary, or                                                      14       A.           No, mine was pretty much random, whatever was
15       blog, or online resource where you described your                                                               15       handy to write on.
16       feelings, your thoughts, the things that might be                                                               16       Q.           Okay.      And was that what you produced in
17       going on in your life that affected you emotionally?                                                            17       discovery here?
18       A.           No, sir.                                                                                           18       A.           Yes.
19       Q.           You never recorded anything that dealt with                                                        19       Q.           Did you continue that practice of making notes
20       your work, your hobbies, your personal life?                                                                    20       of things that were important in your life after your
21       A.           I jotted down notes, but it was never on social                                                    21       discharge?
22       media.                                                                                                          22       A.           Uh-huh.
23       Q.           Okay.      Well, that's why I said it could be a                                                   23       Q.           Would any of -- would any of those notes deal
24       journal or a diary.                                                                                             24       with your claims against the club, efforts to find
25       A.           Right.                                                                                             25       employment, your alleged emotional distress, or

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1        anything like that?                                                                                               1        contain notes about things that -- I mean, just give
2        A.           Yes.                                                                                                 2        me -- I don't want to guess.                     You tell me.                 What kind
3        Q.           Okay.        I don't believe I have seen any notes                                                   3        of thing do you jot down in this notebook?
4        past your discharge.               Have you provided those to your                                                4        A.           Well, I moved, so I jotted down everything that
5        attorneys?                                                                                                        5        led up to the move, dates and times, DirecTV, all of
6        A.           All of my job contacts.                                                                              6        those notes, anybody I had contact with on that move,
7        Q.           Okay.        Is there anything besides job contacts                                                  7        and then anybody I had contact with through the
8        that we just talked about?                                                                                        8        funeral home.
9        A.           My medical records maybe.                                                                            9        Q.           The funeral home for what?
10       Q.           Okay.       But I'm talking about, like, notes that                                                  10       A.           My husband's death.
11       you took like, you know, jotted down, even if it's,                                                               11       Q.           Okay.      When did that happen?
12       you know, calendar entries or anything like that.                                                                 12       A.           March.
13       A.           Not to do with the club.                                                                             13       Q.           Of this year?
14       Q.           Okay.       But to do with any, perhaps any                                                          14       A.           Yes.
15       stressors in your personal life?                                                                                  15       Q.           Of '18?
16       A.           Yes.                                                                                                 16       A.           Yes.
17       Q.           Okay.       And what, tell me what that would be.                                    I               17       Q.           Would there be any -- would there be anything
18       mean, not what the stressors are, but what the notes                                                              18       in there that would pertain to your lawsuit, like
19       would be.               Is it a diary?      A journal?                A daytimer?                                 19       talking to potential witnesses, or recording efforts
20       Scraps of paper?                                                                                                  20       to get a job, or writing down how you feel about
21       A.           It's a notebook and then some scraps of paper.                                                       21       losing the job, or anything like that?
22       Q.           Okay.       So what kind of notebook, just a                                                         22       A.           I didn't write any feelings down on losing the
23       spiral-bound notebook?                                                                                            23       job.         And I did go through the notes and put them in
24       A.           Uh-huh.                                                                                              24       a little bit of order to give to Becky.
25       Q.           Okay.       And it would have, that notebook would                                                   25       Q.           Okay.      So then we may have them, and we will

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1        talk about that.               Did you take anything with you when                                                1        from -- listen to these counties -- Conway, Faulkner,
2        you left?                                                                                                         2        Lonoke, Perry, Pope, Prairie, Pulaski, Saline, Van
3        A.           No.        My personal stuff.                                                                        3        Buren, White, and Yell Counties.                          So what I need to
4        Q.           Okay.        What did you have at the club?                                                          4        know is the, the names of relatives that live in any
5        A.           A radio.                                                                                             5        of those counties.
6        Q.           Okay.        So you said you moved.                 Where do you                                     6        A.           I only have one relative, and it's Lisa Martin,
7        live now?                                                                                                         7        and she lives in Garland County.
8        A.           In Bryant.                                                                                           8        Q.           Oh, she lives in Garland, so that's not in it.
9        Q.           Okay.        And how long have you lived there?                                                      9        A.           So I don't.
10       A.           Since July the 24th of '17.                                                                          10       Q.           Okay.      And who is Lisa Morton [sic]?
11       Q.           And where did you live before that?                                                                  11       A.           It's Lisa Martin.
12       A.           Mabelvale.                                                                                           12       Q.           Martin, okay.
13       Q.           And how long did you live at the Mabelvale                                                           13       A.           My sister.
14       address?                                                                                                          14       Q.           Okay.      I will kind of tell you when we are
15       A.           Twenty-nine years.                                                                                   15       shifting gears.             Tell me briefly about your
16       Q.           With your husband?                                                                                   16       education, high school and college.
17       A.           Yes.                                                                                                 17       A.           High school.
18       Q.           This may sound like an odd question, so I will                                                       18       Q.           Where did you graduate high school?
19       tell you why I am asking that.                         I won't do that a lot                                      19       A.           Jacksonville.
20       today --                                                                                                          20       Q.           No college, business school, vocational,
21       A.           Okay.                                                                                                21       anything?
22       Q.           -- but this one is kind of out of left field.                                                        22       A.           No, real estate school.
23       So we are in the Eastern District of Arkansas, Little                                                             23       Q.           When was that?
24       Rock Division, or Western Division in court, and so                                                               24       A.           '71.
25       the jury members, potential jury members will come                                                                25       Q.           Okay.      And you decided it wasn't for you?

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1        A.           Correct.                                                                                             1        Q.           Your son, right, but that's what I mean.                                      And
2        Q.           Okay.        And then I have from the records that we                                                2        then the baby's mom, was not married; is that what
3        have been provided that you worked for                                                                            3        you're saying?
4        Browning-Ferris Industries from 1984 to 2007?                                                                     4        A.           Correct.
5        A.           Yes.                                                                                                 5        Q.           Okay.        Did you have childcare responsibilities,
6        Q.           All right.        And what job did you do there?                                                     6        or did you just want to spend more time with them?
7        A.           Accounting, payroll, risk management, safety,                                                        7        A.           More time.
8        accounts receivable, accounts payable.                                                                            8        Q.           You didn't have to --
9        Q.           And where -- where did you learn accounting,                                                         9        A.           Just a change.
10       payroll, safety, risk management, AR, AP, just on the                                                             10       Q.           Okay.       You said in interrogatory, in your
11       job?                                                                                                              11       response to Interrogatory Number 11 that you had
12       A.           Uh-huh.                                                                                              12       filed a harassment EEOC charge against Mr. Mike Self;
13       Q.           And I have from your discovery responses that                                                        13       is that right?
14       your supervisor was Richard Miksell?                                                                              14       A.           Correct.
15       A.           Miksell.                                                                                             15       Q.           Do you remember what year that was?
16       Q.           Miksell.        And why did you leave?                                                               16       A.           Honestly, no.
17       A.           I was a new grandmother.                                                                             17       Q.           What was the basis -- when you say harassment,
18       Q.           And when was that?                                                                                   18       was it gender?                 Was it sexual?            Was it race?
19       A.           Maybe November.                                                                                      19       Religion?               Age?   What was it?
20       Q.           Of 2007?                                                                                             20       A.           Basically, he just didn't like me, so it was, I
21       A.           I think so.                                                                                          21       guess -- I don't know what you would call it, but I
22       Q.           Okay.        Did you have, did you just want to spend                                                22       was instructed by the general manager to file it to
23       more time -- was it your daughter or your                                                                         23       protect myself.
24       daughter-in-law?                                                                                                  24       Q.           Who was the general manager?
25       A.           My son.                                                                                              25       A.           John Embry (phonetic).

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1        Q.           Okay.        And do you remember what year that was?                                                 1        Q.           Okay.        Was he terminated because of your
2        A.           I do not.                                                                                            2        complaint?
3        Q.           You don't know if it was -- so, if you, if you                                                       3        A.           Terminated because he couldn't pass a drug
4        didn't think he liked you, was it -- did you think he                                                             4        test.
5        didn't like you because of your race, your gender?                                                                5        Q.           Okay.        So you think it was several years
6        A.           Because I would not keep the books the way he                                                        6        before, or, like -- I mean, you worked there the
7        wanted them kept.               Vendors that weren't approved and                                                 7        eighties, the nineties and the 2000s?
8        people that didn't pass drug screens, and...                                                                      8        A.           Yeah.
9        Q.           So it didn't have anything to do with your                                                           9        Q.           Was it eighties, nineties or 2000s?
10       gender, per se.              It was because you wouldn't do shady                                                 10       A.           He was probably -- let's see, when was Richard
11       stuff he wanted you to do?                                                                                        11       there?           He might have been there in the late nineties
12       A.           Correct.                                                                                             12       or early 2000s.
13       Q.           Okay.       Do you have any of those documents?                                 Do                   13       Q.           Okay.
14       you still have anything related to that charge?                                                                   14       A.           It's on, it's on record with EEOC.
15       A.           If I hadn't have moved I would say yes.                                   I,                         15       Q.           Well, they won't -- if we are not a party to
16       honestly, don't know if I brought any of that with me                                                             16       it --
17       or not.               That could have been one of the dumpster                                                    17       A.           Okay.
18       boxes.                                                                                                            18       Q.           -- they won't give it to us.
19       Q.           Okay.       Can you make a quick look and let Ms.                                                    19       A.           Okay.
20       Hughes know?                                                                                                      20       Q.           So then you came to The Country Club of Little
21       A.           I can.                                                                                               21       Rock in 2009?
22       Q.           So you don't know exactly the time, but when                                                         22       A.           Correct.
23       was it in relation to your leaving in 2007?                                                                       23       Q.           All right.         So between 2007 and 2009 did you
24       A.           Oh, quite a while, because he had been                                                               24       look for any other positions?
25       terminated.                                                                                                       25       A.           I did.

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1        Q.           So when did you start looking?                                                                         1        2016?
2        A.           Probably about six months after I was home.                                                            2        A.           Yes.
3        Q.           Okay.       All right.       So let's turn, then, to --                                                3        Q.           Okay.        And Jodi Reeves, the Controller of the
4        oh, have you ever gone by any other name besides                                                                    4        club, hired you?
5        Karen McIntosh?                                                                                                     5        A.           Yes.
6        A.           Uh-huh.                                                                                                6        Q.           And your supervisor was Jodi?
7        Q.           What is your maiden name?                                                                              7        A.           Yes.
8        A.           Martin.                                                                                                8        Q.           You were 56 at the time?
9        Q.           Were you a Martin or a McIntosh when you worked                                                        9        A.           Sounds right.
10       for BFI?                                                                                                            10       Q.           Sometimes when I am trying to do the math I am
11       A.           McIntosh.                                                                                              11       like, Well, wait a minute, are we before or after the
12       Q.           Okay.       Do you know if BFI merged with Waste                                                       12       birthday, but I think it was 56.
13       Management?                                                                                                         13       A.           Yeah.
14       A.           No, they did not.                                                                                      14       Q.           Well, let me, what is your date of birth?
15       Q.           They didn't?                                                                                           15       A.           7-10-53.
16       A.           No.                                                                                                    16       Q.           We can check my math if we need to.                                 So the
17       Q.           They are completely different?                                                                         17       accounting department at The Country Club of Little
18       A.           Yes.                                                                                                   18       Rock is a three-person department; is that right?
19       Q.           Okay.       I'll turn -- let's turn to your work                                                       19       A.           Yes.
20       history at Country Club of Little Rock.                                                                             20       Q.           So when you were first hired, was it you and
21       A.           Okay.                                                                                                  21       Jodi and Susan Hill?
22       Q.           All right.      You were hired May 11th, 2009; is                                                      22       A.           Yes.
23       that right?                                                                                                         23       Q.           And then we will get into these in more detail,
24       A.           Sounds right.                                                                                          24       but Susan was discharged, and then Joan Holder
25       Q.           Okay.       And you were discharged November 18th,                                                     25       (phonetic) was hired; is that right?

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1        A.           Yes.                                                                                                   1        A.           Not this one.
2        Q.           And then at the time of your discharge, Holder                                                         2        Q.           Okay.        Do you have a different one?
3        was still there?                                                                                                    3                                    MS. MCHUGHES:             We provided that in
4        A.           Yes.                                                                                                   4                                discovery.
5        Q.           So the entire time you worked in that                                                                  5        A.           Yeah, that was turned in.
6        department the, the four people that would have been                                                                6        Q.           Well, let's go through this one, and you tell
7        in that department would have been you and Jodi and                                                                 7        me what else is inaccurate.
8        Joan Holder and Susan Hill; right?                                                                                  8        A.           (Witness reviews document.)                        I only turned in
9        A.           Yes.                                                                                                   9        adjustments once a month.
10       Q.           Okay.      And you were age 63 at discharge?                                                           10       Q.           Where is that at, which paragraph?
11       A.           Yes.                                                                                                   11       A.           The third one.
12       Q.           I will hand you what we will mark as Exhibit                                                           12       Q.           Okay.        So you are just saying you did that one
13       Number 1.                                                                                                           13       time a month?
14                               (Exhibit No. 1 was marked.)                                                                 14       A.           Uh-huh.
15       BY MR. HERRINGTON:                                                                                                  15       Q.           Okay.        All right.
16       Q.           Is that the job description for your position                                                          16       A.           I would fill out a billing adjustment for the
17       as a billing clerk at Country Club Little Rock?                                                                     17       pro shop, but I'd always get them to okay it before
18       A.           (Witness reviews document.)                       No.        I was never                               18       it was ever entered into the adjustment system.
19       instructed to give the deposit slips and stuff to the                                                               19       Q.           Okay.
20       controller.                                                                                                         20       A.           I didn't file anything in the member file in
21       Q.           Okay.      So you're saying the last paragraph on                                                      21       the admin office, but I gave it to whoever was at
22       page one is not accurate?                                                                                           22       that desk to file.
23       A.           I was never told that.                                                                                 23       Q.           Which paragraph is that?
24       Q.           Well, were you -- were you ever given a copy of                                                        24       A.           For junior members.
25       the job description?                                                                                                25       Q.           So what, what part of that did you do, and what

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1        part did you give to the front office?                                                                            1        the mixed grill, and they had dinner, the computer
2        A.           I did all, all of it, but where it says file --                                                      2        system would generate an invoice, and you would make
3        Q.           Except that?                                                                                         3        sure they got sent out at the end of the month;
4        A.           -- file one copy, I didn't file anything down                                                        4        right?
5        there.                                                                                                            5        A.           Yes.       Yes.
6        Q.           Okay.        But as, as accounts payable your main                                                   6        Q.           Did you take calls from members?
7        job was to make sure --                                                                                           7        A.           Yes.
8        A.           Accounts receivable.                                                                                 8        Q.           So if they had a question about their bill, you
9        Q.           Accounts receivable, your main job was to make                                                       9        would be the first person they talked to?
10       sure that members got billed for the services that                                                                10       A.           Yes.
11       they used at the club?                                                                                            11       Q.           And were you also responsible for setting up
12       A.           Correct.                                                                                             12       rosters and billing for the annual golf tournament?
13       Q.           Okay.       And then made sure that that money got                                                   13       A.           Yes.
14       posted in the right place in the accounting system?                                                               14       Q.           Was providing invoices to members for catering
15       A.           Correct.                                                                                             15       or events part of your job when you first started?
16       Q.           So that would have included data entry; right?                                                       16       A.           I am trying to think.            It would be on their
17       A.           Uh-huh.                                                                                              17       bill, and most of the time they would call and want a
18       Q.           Mailing invoices?                                                                                    18       copy of it, yes.
19       A.           Uh-huh.                                                                                              19       Q.           Okay.      And did that change in 2014 or '15 when
20       Q.           Remember, you have to say "yes" or "no."                                                             20       the club added a catering package to the club's
21       A.           Yes, yes.                                                                                            21       software system?
22       Q.           Would you create the invoices in our computer                                                        22       A.           Well, then I think it came from the catering
23       system?               Would you create the invoices?                                                              23       director.
24       A.           When it was computer generated.                                                                      24       Q.           Okay.      And do you know why that was changed,
25       Q.           Okay.       So like if they went, if they were at                                                    25       why that job duty was shifted to the catering

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1        director?                                                                                                         1        A.           Well, it changed, because when I first started
2        A.           They got a new system.                She would, or I would,                                         2        they had an assessment.
3        but I had copies of all of them.                                                                                  3        Q.           What does that mean?
4        Q.           Were you trained on that catering package in                                                         4        A.           Well, two separate parts their bill, one for
5        the software system?                                                                                              5        their club dues, and one for the assessment to help
6        A.           Yes.                                                                                                 6        pay for the golf course.                You could -- you had to
7        Q.           When were you trained?                                                                               7        hand enter it into the Regions side and write it all
8        A.           Oh, when Amy was there.                 I don't know what year                                       8        down.
9        it was.                                                                                                           9        Q.           Uh-huh.
10       Q.           Who is Amy?                                                                                          10       A.           Well, after the assessment was paid, all you
11       A.           She was in catering.                                                                                 11       had to do was just hit the plus key, and it
12       Q.           Who did the training?                                                                                12       automatically popped it up for you how much their
13       A.           It was over the phone.                I don't know.                                                  13       bill was, and then you entered that from that sheet
14       Q.           Would it -- I mean the training provided by                                                          14       of paper into Regions.
15       who?                                                                                                              15       Q.           So every month, though, you would go into the
16       A.           Whoever they went through with the new software                                                      16       Regions system and have to key in the member name and
17       system.                                                                                                           17       their account number --
18       Q.           I mean the vendor.                                                                                   18       A.           No.
19       A.           Yes.                                                                                                 19       Q.           -- to draft it?
20       Q.           How long did that training last?                                                                     20       A.           No.
21       A.           Oh, it was short, an hour or two.                                                                    21       Q.           So you didn't have to do that?
22       Q.           Were some members set up on automatic bank                                                           22       A.           No.
23       draft?                                                                                                            23       Q.           Then how did you do it?
24       A.           Yes.                                                                                                 24       A.           Just enter the amount that was already set up.
25       Q.           And tell me how that process worked each month.                                                      25       Q.           Okay.      Who set that up?

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1        A.           It was set up before I got there.                          I changed it                            1        schedule created within that spreadsheet with
2        every month it needed to be changed.                                                                            2        formulas?
3        Q.           What is your level of proficiency with                                                             3        A.           Uh-huh.
4        Microsoft Excel?                                                                                                4        Q.           Who did that?
5        A.           I would say good, on what I was taught.                                                            5        A.           Jodi set them up, and then I continued them on.
6        Q.           What were you taught?                                                                              6        I say she did.             It was set up when I got there.
7        A.           The job that I did.          And I self-trained a lot                                              7        Q.           So you didn't have to write formulas for any of
8        for spreadsheets and my own little way of keeping                                                               8        these spreadsheets?
9        track of things.                                                                                                9        A.           Only when they changed.
10       Q.           How did you use Excel spreadsheets?                                                                10       Q.           Well, give me an example.                    When you say "when
11       A.           Well, I had it for the junior members, and I                                                       11       they changed," what do you mean?
12       had it for equity, and I had it for write-offs.                                          I                      12       A.           When the dues went up.
13       had it for -- I am trying to think of all I had it                                                              13       Q.           Oh, okay.
14       for.         Birthdates.                                                                                        14       A.           And then the birthdates changed.                         Instead of
15       Q.           And what, what did you use -- let's just say,                                                      15       being a member, it would be spouse, and just little
16       just pick one, junior members, what did you use an                                                              16       changes.
17       Excel spreadsheet to keep up with with respect to the                                                           17       Q.           Do you know how to link spreadsheets?
18       junior members?                                                                                                 18       A.           Uh-huh.
19       A.           Their payoff, their -- I don't know what I am                                                      19       Q.           How do you do that?
20       trying to say -- analyze how much they owed each year                                                           20       A.           You mean through the Excel?
21       until they paid their full initiation.                                                                          21       Q.           Uh-huh.
22       Q.           Okay.      Junior members got a payment plan for                                                   22       A.           I know how to do the copy and paste.
23       their initiation fee?                                                                                           23       Q.           You do what now?
24       A.           Uh-huh.                                                                                            24       A.           Copy and paste.
25       Q.           Did you set -- so was there an amortization                                                        25       Q.           Okay.      I'm talking about linking two

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1        spreadsheets.             Do you know how you to do that?                                                       1        Q.           How old do you have to be to age out?
2        A.           I never had to do that.               I was never required                                         2        A.           You are asking me something that I don't know
3        to do that.                                                                                                     3        that I remember.
4        Q.           What is your level of proficiency with                                                             4        Q.           Okay.      But to figure out whether they would age
5        Microsoft Access?                                                                                               5        out, did you set up an Access table, or did Jodi?
6        A.           I didn't use Microsoft Access much.                                                                6        A.           She did, and, again, I would -- she would ask
7        Q.           So you say you weren't very proficient, then?                                                      7        me to go behind and check her, and so did the
8        A.           Probably not, but I can do anything I am taught                                                    8        membership director.
9        to do.                                                                                                          9        Q.           When you say "go behind and check," what do you
10       Q.           When did you create -- you didn't keep up with                                                     10       mean?          You mean go back and hand calculate ages to
11       any member information in Access, or did the club?                                                              11       make sure you have done it right?
12       Let me ask it that way.               Did the accounting office                                                 12       A.           Yeah, just to glance over it, yes, and to see
13       use Microsoft Access to keep up with member                                                                     13       if the count was right.
14       information?                                                                                                    14       Q.           Okay.      When did you learn that the club was
15       A.           Probably the birthdates and children, and Jodi                                                     15       upgrading to a new computer system?
16       always did, did all of that and gave it to                                                                      16       A.           I was never told for sure that they were.
17       downstairs.                                                                                                     17       Q.           What were you told?
18       Q.           When you say "downstairs," what do you mean?                                                       18       A.           They were looking into it.
19       A.           Well, whoever was the membership director.                                    I                    19       Q.           By whom?
20       was never required to do that.                       All I did was I'd go                                       20       A.           Natalie was working on it.
21       back behind her and check it.                                                                                   21       Q.           Who is Natalie?
22       Q.           So one of the things we are keeping up with                                                        22       A.           She was a membership director.
23       with respect to junior members is if they have aged                                                             23       Q.           Do you remember when this was?
24       out of the junior member category?                                                                              24       A.           I do not.
25       A.           That, uh-huh.                                                                                      25       Q.           Do you remember being told that the billing

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1        module would be an SQL database?                                                                                   1        Q.           When you say you worked with Amy and Beth, tell
2        A.           I remember her saying we would get a new one.                                                         2        me who Amy and Beth are.
3        She didn't go into any specifics.                                                                                  3        A.           Catering.
4        Q.           Okay.         Do you know what that is?                                                               4        Q.           What is Amy's last name?
5        A.           No, but I'm sure I could have learned it.                                                             5        A.           Ramage.
6        Q.           Do you know how to generate reports using SQL                                                         6        Q.           And Beth?
7        queries or databased-writing programs?                                                                             7        A.           Something with an E.
8        A.           It was never required.                                                                                8        Q.           Were they there at the same time, or were
9        Q.           So that's "No"?                                                                                       9        these --
10       A.           That would be "no."                                                                                   10       A.           No, no, no.
11       Q.           Can you give me an example of a time when you                                                         11       Q.           -- in succession?
12       were proactive in learning a new skill or making                                                                   12       A.           Yes.
13       yourself more efficient in your job at CCLR?                                                                       13       Q.           Okay.        So when you say you worked with them,
14       A.           Anytime I was asked.                                                                                  14       what did you do?
15       Q.           Well, can you give me an example?                                                                     15       A.           We worked to get the taxes correct.
16       A.           Well, I worked with Amy, and then I worked with                                                       16       Q.           So you mean when somebody had a catering bill
17       Beth on the banquet stuff, because some of the taxes                                                               17       for an event or something, that the system would add
18       were wrong.               Some of the liquor stuff was wrong.                                                      18       the correct amount of tax?
19       Q.           What do you mean?                                                                                     19       A.           At the beginning it did not.
20       A.           It wasn't folding over and calculating like it                                                        20       Q.           Okay.
21       should.                                                                                                            21       A.           But it was straight before it went out to the
22       Q.           When you say it, what kind of program are we                                                          22       member.
23       talking about?                                                                                                     23       Q.           Uh-huh.        Before it was automated, who had to
24       A.           Club Soft, Club Connect, whichever one it is,                                                         24       figure the tax?
25       the banquet system they have got.                                                                                  25       A.           It did it -- the other side did it.

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1        Q.           What do you mean "the other side"?                                                                    1        Q.           So what were you checking on your own
2        A.           The old system did it.                                                                                2        initiative?
3        Q.           Okay.         Oh, you are saying when we got the new                                                  3        A.           Just to look and see if anything was out of
4        catering package?                                                                                                  4        whack from here to there.                    I am trying to -- I can't
5        A.           Right.                                                                                                5        think of a good example.
6        Q.           Okay.         Give me an example of a time when you                                                   6                                I would check the employees, because some
7        were proactive in asking for training on a skill or                                                                7        of the employees were eating three or four times a
8        program to make you more efficient in your job?                                                                    8        day.
9        A.           I didn't -- if I needed something that needed                                                         9                                Then I would look at the new liquors that
10       to be done and changed, I usually just did it.                                                                     10       came in, because some of them wouldn't pull a correct
11       Q.           Well, can you give me an example?                                                                     11       tax.         And so then I would get with Mike, and Mike
12       A.           Well, on some of the tickets.                                                                         12       would go back in and change it so it would pull the
13       Q.           What do you mean?                                                                                     13       taxes.
14       A.           Showing up wrong charges.                       I wished I had                                        14                               And when they would set up the pool, I
15       copies of those, but I would go back, and I would                                                                  15       would go back and look, because a lot of times there
16       look at some of the liquors or pull some of the food.                                                              16       were mistakes when it would pull it over in the pool.
17                               And like one dining room the soup was a                                                    17                               So I would check, go back behind and check
18       dollar more than it was in the other dining room, and                                                              18       all of that and see if it was pulling correct and see
19       it wasn't supposed to be, according to the chef.                                              And                  19       if it was selling for the same price inside as it was
20       I checked things like that to get them straight.                                                                   20       outside.
21       Q.           Okay.        So who -- somebody would have had to                                                     21       Q.           You mean like a menu item?
22       bring that to your attention, though?                                                                              22       A.           Correct.
23       A.           Well, no.        I would just sporadically check                                                      23       Q.           Or a drink?
24       things, and then occasionally a member would point it                                                              24       A.           Correct.
25       out.                                                                                                               25       Q.           They were selling for the same price in each of

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1        your outlets?                                                                                                    1        them.          If it was correct, I would call and tell them.
2        A.           That's what I would go back and check.                                                              2        Q.           Okay.        I will hand you a copy of your
3        Q.           Okay.       And why would you do that?                                                              3        Complaint.               Sometimes you can -- you might want to
4        A.           Just to make sure it was correct.                                                                   4        look at it.               I don't think you will, necessarily.
5        Q.           Was that because of member inquiries on their                                                       5                                In paragraph eight of the Complaint you
6        bills?                                                                                                           6        said that during your interview you were warned of
7        A.           The only one I remember, a member inquiring on                                                      7        the possibility of yelling and working in tight
8        the pool side bill was a milkshake qualifying as a                                                               8        quarters --
9        food.                                                                                                            9        A.           Uh-huh.
10       Q.           Oh, because they have a minimum monthly --                                                          10       Q.           -- thus you began to and continued to
11       A.           Yes.                                                                                                11       contemporaneously take notes and keep documentation
12       Q.           -- that they have to purchase?                                                                      12       of events that took place within the department.                                              Did
13       A.           Yes.                                                                                                13       I read that correctly, paragraph eight?
14       Q.           Well, would members call you and say that there                                                     14       A.           Uh-huh.
15       was a charge on their bill that wasn't supposed to be                                                            15       Q.           Remember you have to say "yes" or "no."
16       on it?                                                                                                           16       A.           Oh, yes.
17       A.           Oh, Lord, yes.                                                                                      17       Q.           Who warned you?
18       Q.           Okay.       And would you just write that off?                                                      18       A.           Jodi.
19       A.           No.                                                                                                 19       Q.           What did she say exactly?
20       Q.           What would you do?                                                                                  20       A.           In my interview she told me that it was tight
21       A.           I would pull all of the tickets and find out if                                                     21       quarters, and sometimes there was a lot of yelling
22       it was theirs or not theirs, or see if it was correct                                                            22       going on up in here.
23       or incorrect.                                                                                                    23       Q.           Did she say who would be yelling up in here?
24       Q.           Uh-huh.                                                                                             24       A.           Well, there was only three of us, so I assumed
25       A.           And if it was incorrect, I would call and tell                                                      25       it was one of the three.

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1        Q.           All right.      All right.                                                                          1        driving home from the deposition, and you will be
2        A.           Or two of the three.                                                                                2        thinking about it tomorrow, and you will remember
3        Q.           Okay.       And did she give you any examples?                                                      3        something that I asked --
4        A.           Huh-uh.                                                                                             4        A.           In the shower.
5        Q.           Did you ask any follow-up questions?                                                                5        Q.           -- in the shower.           Write it down on your
6        A.           Not that I recall.                                                                                  6        waterproof notepad --
7        Q.           All right.      If you recall -- that's a good                                                      7        A.           I will.
8        place to remind you, if -- it happens in every                                                                   8        Q.           -- and then call, then call Ms. McHughes and
9        deposition I take that you don't remember something.                                                             9        tell her, and then she will let me know.                                     Okay?
10       A.           Uh-huh.                                                                                             10       A.           Okay.
11       Q.           And because we are going to be here several                                                         11       Q.           So the notes that you took, are those the notes
12       hours today, it's likely that you will remember it                                                               12       that have been, the photocopies that have been
13       later --                                                                                                         13       provided in this case?
14       A.           It could be.                                                                                        14       A.           Uh-huh.
15       Q.           -- while we're here.            And if you do, if it's                                              15       Q.           Okay.        Remember to say "yes" or "no."
16       ten minutes or two hours --                                                                                      16       A.           Yes.
17       A.           Okay.                                                                                               17       Q.           And, and so there are some copies that are from
18       Q.           -- still just call timeout and say, Hey,                                                            18       a spiral-bound notebook, and then there are some
19       remember earlier you asked, and I didn't remember,                                                               19       copies that are on, like, you know, some advertising
20       and now I do.                                                                                                    20       notepad --
21       A.           Okay.                                                                                               21       A.           Uh-huh, yes.
22       Q.           All right?                                                                                          22       Q.           -- probably from a club vendor or something?
23       A.           Sure.                                                                                               23       A.           Yes.
24       Q.           And if it happens, and I have had this happen                                                       24       Q.           Is that what you're talking about, though --
25       several times in my career, it'll be, you will be                                                                25       A.           Yes.

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1        Q.           -- in this paragraph eight?                                                                         1        A.           Yes.
2        A.           Yes.                                                                                                2        Q.           Above average --
3        Q.           So the yelling and tight quarters didn't scare                                                      3        A.           Probably.
4        you off?                                                                                                         4        Q.           -- in terms of dealing with yelling or
5        A.           Well, I thought it was awful weird, but no.                                                         5        confrontation or hard conversations at work?
6        Q.           Well, I mean, obviously it didn't dissuade you                                                      6        A.           I only had one instance of that.
7        from taking the job?                                                                                             7        Q.           And what was that?
8        A.           No, it didn't, as long as they weren't yelling                                                      8        A.           That was when Susan Hill and I had gone
9        at me.                                                                                                           9        sideways.
10       Q.           You're not a -- well, did she say that -- did                                                       10       Q.           Okay.      So tell me about that, because you
11       she say who the yelling would be directed toward, if                                                             11       work -- when you first started you worked with Jodi
12       anyone?                                                                                                          12       and Susan; right?
13       A.           No.                                                                                                 13       A.           Uh-huh.
14       Q.           Okay.       Would you consider yourself a shrinking                                                 14       Q.           So what, what issues did you have with Susan?
15       violet?                                                                                                          15       A.           I didn't have any.
16       A.           No.                                                                                                 16       Q.           Okay.      Well, what was the confrontation?
17       Q.           You're not overly sensitive; are you?                                                               17       A.           Honestly, I don't know what brought it on, but
18       A.           Not usually.                                                                                        18       she yelled something about looking at her or
19       Q.           When would be the circumstance that you are                                                         19       something.              And so I just politely walked in Jodi's
20       overly sensitive?                                                                                                20       office, and she just sat there and listened to it.
21       A.           I guess if you said something bad about my                                                          21       Q.           Okay.      She, you mean Jodi listened to it?
22       family I would be.                                                                                               22       A.           Yes.
23       Q.           Okay.       When you were hired and while employed,                                                 23       Q.           Jodi listened to you, or listened to Susan?
24       did you consider yourself normal or average at being                                                             24       A.           Pretty much Susan.
25       able to handle stress?                                                                                           25       Q.           So y'all all three went into Jodi's office?

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1        A.           Yes.       She took up looking down at her desk and                                                 1        A.           No, '14.
2        writing.                                                                                                         2        Q.           Of '14.       Okay.
3        Q.           Okay.       So what was Susan's complaint about you?                                                3        A.           April or May of '14.
4        A.           I think she said I looked at her wrong, or                                                          4        Q.           Oh, when you say April of '14, you didn't mean
5        don't give her looks, or -- but I was in shock, so I,                                                            5        April 14th?
6        I couldn't tell you the exact words.                                                                             6        A.           No, I did not.
7        Q.           You were shocked, because you weren't doing                                                         7        Q.           Oh, I thought you --
8        that?                                                                                                            8        A.           Maybe it -- see, I bought my car -- it was
9        A.           Yeah.       I mean, it was -- I didn't say -- I                                                     9        after I bought my car, so it was probably May of '14.
10       think she said a tone of voice, and I didn't say                                                                 10       Q.           Okay.      All right.       So a year-ish before she was
11       anything in a tone of voice.                                                                                     11       fired?
12       Q.           And when was Susan fired?                                                                           12       A.           Yes.
13       A.           Well, I -- right after my son died, so May or                                                       13       Q.           What was Jodi's response?
14       June of '15.                                                                                                     14       A.           To that incident?
15       Q.           Of '15?      I had, I had that it was June 15, '15.                                                 15       Q.           Uh-huh.
16       Do you have any reason to doubt that?                                                                            16       A.           Not a word.
17       A.           No.                                                                                                 17       Q.           Okay.       So you guys just came in.                       She said her
18       Q.           So when was this getting sideways with you,                                                         18       piece.           Did you defend yourself?
19       when was that in relation to her discharge?                                                                      19       A.           Well, I'm sure I did, "I didn't do it," or,
20       A.           April of '14.                                                                                       20       "You took it wrong," or -- I can't remember.
21       Q.           Is that something you made note of in your                                                          21       Q.           Uh-huh.       So Jodi didn't say anything?
22       notes?                                                                                                           22       A.           No.
23       A.           I don't think so.         I just remember it because                                                23       Q.           So y'all just sat there?
24       that's right before I bought my car.                                                                             24       A.           Uh-huh.
25       Q.           April 14 of '15?                                                                                    25       Q.           Were y'all both sitting down in chairs?

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1        A.           No.        I was sitting in the chair in Jodi's                                                      1        Q.           Did she work there at the time you were
2        office, and Susan was in the file cabinet.                                                                        2        discharged?
3        Q.           You mean on the file cabinet?                                                                        3        A.           Yes.
4        A.           Well, filing.                                                                                        4        Q.           Any idea how old Jodi is?
5        Q.           Oh, okay.        So then how did the conversation                                                    5        A.           My sister's age; she was born in '65.
6        end, if Jodi didn't say anything?                                                                                 6        Q.           When Susan was fired, what part of her job did
7        A.           I think I got up and left.                                                                           7        Jodi ask you to take over for the time being?
8        Q.           Okay.        And Susan was 57 when she was fired?                                                    8        A.           Accounts payable.
9        A.           Yes.                                                                                                 9        Q.           Because you have -- just in this three-person
10       Q.           Do you know why she was fired?                                                                       10       department, you have Jodi is the controller; right?
11       A.           I do not.                                                                                            11       And then you were accounts receivables?
12       Q.           Do you know who hired her?                                                                           12       A.           Uh-huh.
13       A.           Jodi.                                                                                                13       Q.           Which meant billing members and getting money
14       Q.           Do you know how old she was when she was hired?                                                      14       in, and Susan was accounts payable, which meant
15       A.           I do not.                                                                                            15       paying the club's bills?
16       Q.           And then Jodi hired Joan Holder to replace                                                           16       A.           And payroll?
17       Susan Hill; is that correct?                                                                                      17       Q.           And payroll, because that's money going out.
18       A.           Correct.                                                                                             18       She is in charge of the money going out, and you are
19       Q.           And Joan was about 60 when she was hired?                                                            19       in charge of the money coming in; right?                                  Sort of
20       A.           I don't know.       I am assuming it was 60.                                                         20       just two sides of the ledger; right?
21       Q.           So Joan -- do you know whether Joan was older                                                        21       A.           Correct.
22       than Susan when Jodi hired her?                                                                                   22       Q.           So was that -- was that permanent or temporary?
23       A.           I do not.                                                                                            23       A.           Temporary.
24       Q.           And Joan still works there?                                                                          24       Q.           Okay.      And what did you have to learn
25       A.           I, I wouldn't know.                                                                                  25       necessarily or be trained on in terms of computer

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1        systems or processes to be able to do that job?                                                                   1        Q.           So just a year younger than you?
2        A.           Well, I was trained on the accounts payables                                                         2        A.           Uh-huh.
3        section of the software to pay the bills.                                                                         3        Q.           Okay.      I asked you, right, Jodi hired Joan to
4        Q.           What year was that?                                                                                  4        replace Hill?
5        A.           2015.                                                                                                5        A.           Uh-huh.
6        Q.           Well, yeah, April, May of -- June of '15;                                                            6        Q.           Was there an issue in May of 2016 where you
7        right?                                                                                                            7        failed to process the team roster spreadsheet for the
8        A.           Yes.                                                                                                 8        annual golf tournament on time?
9        Q.           Okay.        And who, who trained you on it?                                                         9        A.           The team roster?
10       A.           Jodi.                                                                                                10       Q.           Uh-huh.
11       Q.           Okay.       Was it her decision to assign those                                                      11       A.           I always had all of the names and all of the
12       duties to you and to give you that training?                                                                      12       teams in there.
13       A.           Yes.                                                                                                 13       Q.           When would you, when would you do that?
14       Q.           And you were 60 years old in June of 2015?                                                           14       A.           As they would come in.
15       A.           Sounds right.                                                                                        15       Q.           Okay.
16       Q.           Okay.       Have you reviewed the club's EEOC                                                        16       A.           As the golf shop would give them to me.
17       response?               Did you ever read that when your attorneys                                                17       Q.           But then when you have the names in a
18       got a copy of it from the EEOC?                                                                                   18       spreadsheet, then what do you have to do to get that
19       A.           Yes.                                                                                                 19       billed?
20       Q.           Okay.       Do you remember anything in there that                                                   20       A.           You have to bill it.
21       you disagreed with?                                                                                               21       Q.           I mean, what, what process at your desk?
22       A.           Oh, I would have to reread it.                                                                       22       A.           You have to take, take their names and put it
23       Q.           Okay.       So do you know how old Joan was when you                                                 23       into the system and bill them.
24       were fired?                                                                                                       24       Q.           Okay.      And that's got to be done when in
25       A.           A year and a half older, 62 maybe.                                                                   25       relation to the golf tournament?

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1        A.           May, April.        I can't -- it's billed prior to                                                      1        deposition Exhibit Number 2 is accurate; right?
2        the month, so I guess it would be April.                                                                             2        A.           She always took the spreadsheets with all of
3        Q.           When did you say you had to do that?                                                                    3        the people playing down to Darrell herself.
4        A.           I think April, because they played in May.                                                              4        Q.           Was there a little bit of a scramble in 2016
5                                 (Exhibit No. 2 was marked.)                                                                 5        that hadn't happened in prior years?
6        BY MR. HERRINGTON:                                                                                                   6        A.           What do you mean?
7        Q.           I will hand you what I have marked as                                                                   7        Q.           Well, she comes to you, right, on the last day
8        deposition Exhibit Number 2.                          This was Exhibit E to                                          8        of April and says, Hey, do you have this done?                                         And
9        the club's EEOC response.                      Do you recall reviewing                                               9        you didn't; is that right?
10       that when you got the EEOC response?                                                                                 10       A.           Yes.
11       A.           (Witness reviews document.)                        Yes.                                                 11       Q.           All right.     So then you -- but you guys had to
12       Q.           Okay.        So did Jodi come to you and say, Hey,                                                      12       get it done by the end of that day?
13       where's the, where's the final billing, so we can get                                                                13       A.           Yes.
14       this run on the last day of April?                                                                                   14       Q.           All right.
15       A.           Yes.                                                                                                    15       A.           Anytime in the past she would have asked me
16       Q.           All right.        And you said you thought it was                                                       16       before the last day of the month.
17       done in May?                                                                                                         17       Q.           Okay.      Had it -- it had been the same process
18       A.           I did.                                                                                                  18       or procedure?
19       Q.           Okay.                                                                                                   19       A.           I understand.
20       A.           I'd always had somebody help me with it.                                                                20       Q.           No, I'm asking.     Had it been the same process
21       Q.           Who would --                                                                                            21       or procedure every year that you had done it?
22       A.           Check me on it?        Susan always followed up                                                         22       A.           Yes.
23       behind me.               It got done.        It was never not done, and                                              23       Q.           Okay.
24       it was done in two or three hours, if that.                                                                          24       A.           I say yes.     Sometimes -- she would always come
25       Q.           Okay.        But what Jodi has record here in                                                           25       and say, You need any help with it?                            Are you okay

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                                                                                                         Page 50                                                                                                                  Page 51
1        with it?                This particular year she didn't.                                                             1        Q.           June or July of '15?
2        Q.           Had it -- so you were hired when, 2009; right?                                                          2        A.           I am assuming.
3        A.           Yes.                                                                                                    3        Q.           Okay.      So you guys worked together a year and a
4        Q.           And so since 2009 it had been your job to do?                                                           4        half, or a year and 15, 16 months; is that right?
5        A.           I didn't do it in 2009.                    It was already done.                                         5        A.           Sounds right.
6        Q.           Okay.        All right.       So for every tournament                                                   6        Q.           Well, did you work well together?
7        after your employment it was your job to do; right?                                                                  7        A.           Well, we worked.       We didn't carry on
8        A.           Yes.                                                                                                    8        conversations.
9        Q.           Could you sort the Excel spreadsheet of                                                                 9        Q.           Did you have a problem with her?
10       players, or did Jodi have to do that?                                                                                10       A.           I didn't know her.
11       A.           I could do it.        She wanted to do it.                            She                               11       Q.           Did you like her?
12       wanted to do it, so she could take a copy down to                                                                    12       A.           I didn't know her.
13       Darrell.                                                                                                             13       Q.           Did you dislike her?
14       Q.           Did you fail to confirm that members were                                                               14       A.           I didn't know her.
15       billed for the annual member guest in October of '16?                                                                15       Q.           For 15 months she sat in the cubicle next to
16       A.           I don't recall that.                A lot of times I didn't                                             16       you --
17       get anything even telling me there was a golf                                                                        17       A.           That is correct.
18       tournament.               I never failed to bill anybody.                                                            18       Q.           -- and you didn't form a like, or a dislike, or
19       Q.           So there was at least one, what did you call                                                            19       an opinion of her --
20       it, getting sideways with Susan?                                                                                     20       A.           That is correct.
21       A.           One.                                                                                                    21       Q.           -- one way or the other?
22       Q.           One.        Any problems with Joan?                                                                     22       A.           I just merely came in and did my job and went
23       A.           I didn't really know Joan.                                                                              23       home, like I did most of the time.
24       Q.           She was hired, she was hired when, June of '15?                                                         24       Q.           Did Holder ever complain to Jodi about your
25       A.           I don't know.                                                                                           25       treatment of her?

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1        A.           I would not know.                                                                                    1        Q.           Uh-huh.         Or no, hired yesterday, so this would
2        Q.           So you can't say she didn't?                                                                         2        have been the 30th.
3        A.           No, nor can I say she did.                     I will tell you I                                     3        A.           I know she was hired late in the afternoon
4        never complained about her.                                                                                       4        after I had gone home.                 Yeah, I remember her coming
5        Q.           Do you remember Joan coming into the office the                                                      5        in, and I remember her standing there.
6        first day she was hired?                                                                                          6        Q.           Okay.
7        A.           Uh-huh.                                                                                              7        A.           But I did not refuse to shake hands with her.
8        Q.           Did she try to shake your hand?                                                                      8        Q.           Well, did you just, like, maybe miss her that
9        A.           If she tried to shake my hand, I shook her                                                           9        she was holding her hand out and turn around after
10       hand.                                                                                                             10       your introduction?
11       Q.           Do you recall one way or the other?                                                                  11       A.           No, I would not have refused to shake hands.
12       A.           I'm pretty sure we shook hands.                          I have never                                12       Q.           Well, did you or did you not shake hands with
13       refused to shake a hand.                                                                                          13       Joan on the day she was hired?
14                               (Exhibit No. 3 was marked.)                                                               14       A.           Honestly, I can't swear that I did or I didn't,
15       BY MR. HERRINGTON:                                                                                                15       but I know I can swear that I did not refuse to shake
16       Q.           I am going to hand you what I have marked as                                                         16       hands.
17       Exhibit Number 3. This was Exhibit B to our EEOC                                                                  17       Q.           Okay.         Why would Jodi write such a thing on
18       response.               Do you recognize that as Jodi's                                                           18       July 31st?
19       handwriting?                                                                                                      19       A.           You would have to ask Jodi that, and if that's
20       A.           I recognize the handwriting.                                                                         20       true, why didn't she say something to me about it?
21       Q.           So on July 31, 2015, Jodi wrote that Joan held                                                       21       See what I am saying?                I would not be that rude as to
22       out her hand to shake hands with Karen, and Karen                                                                 22       not shake someone's hand.
23       turned completely away from us, basically turned her                                                              23       Q.           So why do you think -- and so you are saying
24       back on us.                                                                                                       24       Jodi made this up; right?
25       A.           On the 31st?                                                                                         25       A.           I am --

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1        Q.           Is there any possibility that Jodi could have                                                        1        A.           Yes.
2        been mistaken?                                                                                                    2        Q.           Okay.         Let's see if we can figure it out.                               Mike
3        A.           Possible.                                                                                            3        Self?
4        Q.           Okay.        If you think she intentionally                                                          4        A.           No.
5        misrepresented it, what is your opinion as to why she                                                             5        Q.           You never got into it with Mike Self in April
6        would have done that?                                                                                             6        of '16?
7        A.           Well, she tends to wear two different colors                                                         7        A.           No.         I kidded with Mike all of the time, but I
8        occasionally.                                                                                                     8        never got into it with Mike.
9        Q.           Tell me what you mean by that.                                                                       9        Q.           Did you get into it with Joan about a check
10       A.           Jekyll and Hyde.                                                                                     10       request for beverages?
11       Q.           Tell me what you mean by that.                                                                       11       A.           I'm sure I questioned her about the check.                                       I
12       A.           One minute sweet, and the next minute mean.                                                          12       know there was something to do with a check.
13       Q.           Give me an example.                                                                                  13       Q.           I am going to hand you --
14       A.           This.                                                                                                14       A.           But I didn't ever get into it with Mike Self.
15       Q.           This, you mean Exhibit 3?                                                                            15       Q.           All right.         I will hand you what we will mark
16       A.           Yes.                                                                                                 16       as Exhibit Number 4.
17       Q.           Did, did you and -- I mean, did you think Jodi                                                       17                                  (Exhibit No. 4 was marked.)
18       had -- you think Jodi liked you or disliked you?                                                                  18       A.           Well, '16 was the year to take notes.
19       A.           I think she used to like me.                                                                         19       Q.           So this was Exhibit C to the club's EEOC
20       Q.           Why do you think that changed?                                                                       20       response.                It's a note dated April 14th, 2016, by
21       A.           She is jealous of Susan and I being friends.                                                         21       Jodi Reeves.
22       Q.           Okay.        Did you get into a dispute with the                                                     22                               It says -- I won't read the whole thing,
23       dining room supervisor in April of 2016?                                                                          23       but the first line is, "Incident report as told to me
24       A.           That would be?                                                                                       24       by Joan Holder, accounting clerk."
25       Q.           That would be -- you are asking me who it was?                                                       25                               Did I read that correctly?

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1        A.           Yes.                                                                                                  1        Q.           So if you talk over the end of my sentence --
2        Q.           And she goes on to say, and I'll paraphrase,                                                          2        A.           I'm sorry.
3        that on April 13th, Mike Self, the dining room                                                                     3        Q.           -- it gets really hard for her to --
4        manager, brought you a check request for beverages.                                                                4        A.           I'm sorry.         Okay.
5                                Did he do that?      Do you recall?                                                        5        Q.           So let me finish, and I will let you finish;
6        A.           Well, yeah, I mean, Mike brought me all, all of                                                       6        okay?          So the note here says, All of the sudden,
7        the time.                                                                                                          7        Karen comes over to her desk and says, quote, You had
8        Q.           Do you recall giving him -- this is what the                                                          8        better get that check request processed right now.
9        note says, that you gave him a hard time because you                                                               9        If you have a problem with it, we can go see Blaine.
10       were unaware there would be another order.                                                                         10                               Did you say that to Joan?
11       A.           I always gave Mike a hard time, and it was all                                                        11       A.           I did not.
12       in joke and fun.                                                                                                   12       Q.           Do you have any reason to doubt that that's
13       Q.           Okay.        So would you have then, as this note                                                     13       what Joan told Jodi?
14       says, had to prepare a check request to fund the                                                                   14       A.           No.
15       revolving account and give that to Joan?                                                                           15       Q.           Okay.         So if Joan now is making something up
16       A.           Yes.                                                                                                  16       about you, why would Joan do that?
17       Q.           Did you put it in her inbox?                                                                          17       A.           I might have gone over and suggested that we
18       A.           If I had a check request, I'm sure I did.                                                             18       get the check request, because Mike is waiting on it,
19       Q.           Okay.        And then did you shortly thereafter go                                                   19       but I would never have directed her in the response
20       over to her and say, You had better get the check                                                                  20       that way, If you have a problem we will go see
21       request processed right now?                                                                                       21       Blaine.
22       A.           No, probably not in that way, no.                                                                     22       Q.           So do you recall what you said?
23       Q.           One of the things about a deposition is the                                                           23       A.           I'm sure if I had a check request that
24       court reporter is taking down everything we say.                                                                   24       definitely had to be right then.                                So to get it in
25       A.           Okay.                                                                                                 25       there so that that check wouldn't bounce, yeah, I

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1        probably did tell that we need to do it now.                                                                       1        angry tone or my face was red, and I'm assuming she
2        Q.           Okay.        Do you recall Joan saying, You worry                                                     2        wrote it down as -- I don't know.                                I don't recall the
3        about your job, and I'll worry about mine?                                                                         3        date and the time of all of the conversations that
4        A.           She said that more than once, so.                                                                     4        took place.
5        Q.           Okay.        Did you have any reason to dispute that                                                  5        Q.           So do you have any -- I mean, what's the -- but
6        Joan told Jodi that you were using a threatening and                                                               6        my question is if you're saying that Joan lied to
7        angry tone and that your face was red?                                                                             7        Jodi, my question is what motivation would Joan have
8        A.           I wouldn't have blown up on her, no, sir.                                                             8        to lie about you?
9        Q.           That's not my question.                  My question is do you                                        9        A.           Well, maybe she doesn't like me.
10       have any reason to dispute that that's what Joan told                                                              10       Q.           Why?
11       Jodi?                                                                                                              11       A.           I don't know.         I didn't, I didn't speak to her.
12       A.           No.                                                                                                   12       That was vice versa.
13       Q.           So do you admit or deny that?                                                                         13       Q.           Did you park in the member parking lot in July
14       A.           That that's what she told her?                                                                        14       of 2016?
15       Q.           Uh-huh, right.                                                                                        15       A.           I parked there one time; I did.
16       A.           Well, I mean, if Jodi wrote it down, I'm                                                              16       Q.           And when Jodi asked you why, you said, Because
17       assuming Joan told her.                                                                                            17       it's raining?
18       Q.           Okay.         So if Joan is making something up about                                                 18       A.           I did.         And I go to lunch at 11:00, and the
19       you, why would Joan make that up?                                                                                  19       club didn't open until 11:30, I would have been out
20       A.           I just said that I don't think that I went to                                                         20       of the members parking lot before the members got
21       her directing her if I didn't like it we would go see                                                              21       there.
22       Blaine.               That's the only part that I'm disputing.                                                     22       Q.           So was the rule that you could park in the
23       Q.           Okay.         So what, what motivation would Joan have                                                23       member parking lot when the club was closed, or was
24       to make that up?                                                                                                   24       the rule that you can't park in the member parking
25       A.           Well, I don't know that I was even using an                                                           25       lot, period?

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1        A.           It might have said period, unless it was                                                              1        A.           Uh-huh.
2        Monday.                                                                                                            2        Q.           And then you signed an acknowledgment of the
3        Q.           Was July 29th a Monday?                                                                               3        member handbook; right?
4        A.           It was not, but I don't think that it says that                                                       4        A.           Yes.
5        we can park on a Monday either, but everybody did.                                                                 5        Q.           And then, then you parked there anyway?
6        Q.           But this wasn't a Monday?                                                                             6        A.           Before the club official -- yes.
7        A.           No, but the club is closed on Monday.                                                                 7        Q.           And in addition there were emails out to staff
8        Q.           Okay.        And there had been previous                                                              8        about staff parking prior to that?
9        communications to employees about parking, about not                                                               9        A.           Yes.
10       parking in the member parking lot; right?                                                                          10       Q.           Okay.      So you did, but you said -- so you're
11       A.           Yes, but I immediately got up and moved.                                                              11       saying your intention was you would have gone to --
12       Q.           Uh-huh.                                                                                               12       A.           Lunch before the club opened.
13       A.           I wasn't the only one that parked up there.                                                           13       Q.           Okay.      And then parked in the --
14       Q.           Who else did?                                                                                         14       A.           When I came back from lunch, I would have
15                               (Exhibit No. 5 was marked.)                                                                15       parked in the employee parking lot.
16       BY MR. HERRINGTON:                                                                                                 16       Q.           Who is Natalie?     You said Natalie parked --
17       Q.           I will hand you what we have marked as Exhibit                                                        17       A.           Membership director.
18       Number 5.                                                                                                          18       Q.           Okay.      When did she park in the --
19       A.           Well, I know Natalie did for a while.                                                                 19       A.           Most of the time.        There at the last she did
20       Q.           This is Exhibit D to our EEOC response.                                   Is                          20       start parking down at the employee lot.
21       that -- have you looked at this before?                                   Have you                                 21       Q.           What is Natalie's last name?
22       looked at this document?                                                                                           22       A.           Fielding.
23       A.           I have glanced through these documents, yes.                                                          23       Q.           When did she leave?
24       Q.           So not parking in the member lot is in the                                                            24       A.           I don't know.
25       handbook; right?                                                                                                   25       Q.           Do you know how old Natalie is?

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                                                                                                      Page 62                                                                                                                   Page 63
1        A.           I do not.                                                                                             1        correspondence.
2        Q.           What is the board book?                                                                               2                                (Exhibit No. 6 was marked.)
3        A.           It's a book that keeps track of the minutes and                                                       3        BY MR. HERRINGTON:
4        finances and correspondence and new members.                                                                       4        Q.           This, again, purports to be a note by Jodi of
5        Q.           And why would you have need of the board book?                                                        5        July 27th, 2016, and it says when she told you to
6        A.           To set up the new members and terminate the                                                           6        make the changes, your response was you needed the
7        ones that asked to be terminated.                                                                                  7        rest of the board book to know when to add members to
8        Q.           Do you remember having a conversation with Jodi                                                       8        the off course cart list and when to overturn late
9        in July of 2016 that you didn't need the entire                                                                    9        fees?
10       membership, or you didn't need the entire board book                                                               10       A.           Yes, I needed that.
11       to prepare the membership section?                                                                                 11       Q.           Is that right?
12       A.           I needed the new members, and I needed the                                                            12       A.           I needed that.     I needed those.
13       correspondence from the members that wanted to be                                                                  13       Q.           Okay.      Was Jodi's response that she would tell
14       terminated.              And I all I got was the new members.                                   I                  14       you when that happens, or that Darrell or Blake would
15       did not get any correspondence.                                                                                    15       inform the office of cart additions?
16       Q.           Okay.       And do you need the entire book to get                                                    16       A.           Yes.
17       the correspondence?                                                                                                17       Q.           Okay.      Did you, nevertheless, go to Natalie and
18       A.           No.        I just needed those two sections.                                                          18       directly ask for the full board book?
19       Q.           Okay.       I will hand you --                                                                        19       A.           I did not.     I asked for the correspondence to
20       A.           But I didn't get those two sections.                               I only                             20       know what date to terminate the members.
21       got one.                                                                                                           21       Q.           Okay.      Any reason to doubt that Natalie told
22       Q.           Who was supposed to give it to you?                                                                   22       Jodi that you asked for the full board book?
23       A.           Natalie.                                                                                              23       A.           Right.     Now, Natalie could have misunderstood
24       Q.           All right.                                                                                            24       when I said "board book" I just need the section with
25       A.           And all I did was ask Natalie for the                                                                 25       the correspondence from the members.

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1                                That's all I need.          I didn't need any of                                           1        A.           I don't remember a dispute about, about the
2        the other stuff, because some wanted to terminate at                                                               2        tickets, but, I mean, I didn't have the tickets.
3        the end of the month.               Some wanted to terminate at                                                    3        There wasn't -- they didn't come up with the tennis
4        the first of the next month.                        That's all I needed.                                           4        stuff.
5        Q.           In July of '16, did Joan ask you for -- was                                                           5        Q.           Do you have any reason to doubt that Joan told
6        Joan looking for some receipts that couldn't be                                                                    6        Jodi that you never told her whether or not you had
7        found?                                                                                                             7        those missing receipts?
8        A.           I remember something about some receipts, yes,                                                        8        A.           I don't doubt, no.            Now, I didn't tell her
9        sir.                                                                                                               9        immediately, because I still had all of the tennis
10       Q.           Okay.        Did Joan ask you if they were maybe                                                      10       stuff to go through, but I did tell her I don't have
11       attached to some of the paperwork you had?                                                                         11       any tickets, later in the day.
12       A.           I think it was from Tennis, and I did not have                                                        12                                (Exhibit No. 7 was marked.)
13       them.          I went through everything I had from Tennis.                                                        13       BY MR. HERRINGTON:
14       Q.           Okay.        Did you tell them her that you were                                                      14       Q.           I am going to hand you what we have marked as
15       trying to figure out why billing wasn't working?                                                                   15       Exhibit Number 7.               It is Exhibit G to the EEOC
16       A.           Yeah, seems like that particular day I couldn't                                                       16       response.
17       get it to close, or I couldn't get it to do                                                                        17                               Did you -- again, it purports to be a note
18       something.                                                                                                         18       by Jodi Reeves, 7-29-16 incident.                             Did you go to the
19       Q.           Okay.                                                                                                 19       members bathroom and stay in there for 30 minutes?
20       A.           Trying to get statements out.                                                                         20       A.           I don't, I don't recall staying in the restroom
21       Q.           Did you ever tell Joan that you had looked and                                                        21       for 30 minutes.               I could have been gone from my desk
22       didn't have them?                                                                                                  22       for 30 minutes.
23       A.           I told her I didn't have them.                                                                        23       Q.           Did you tell -- who is Barrie Burnam?
24       Q.           Okay.         Was this, was there some dispute between                                                24       A.           Worked in the tennis shop.
25       you and Joan about this?                                                                                           25       Q.           Did you tell Barrie that you hated your job and

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                                                                                                       Page 66                                                                                                                     Page 67
1        the people you worked with?                                                                                        1        implemented in 2016?
2        A.           I probably showed disgust at it at times, the                                                         2        A.           Well, if I was doing a good job, I had to learn
3        same as she did.                                                                                                   3        it when I got there, when I was hired, so anything
4        Q.           But did you tell that -- did you tell her that?                                                       4        new would have been new to everybody.                                  So I'm not
5        A.           That I hate it?                                                                                       5        sure I understand your question.
6        Q.           I hate my job and the people I work with?                                                             6        Q.           And I'm happy to rephrase.                      Your lawyer has
7        A.           I could have used the word "hate."                                                                    7        attached to the Complaint -- I just kind of file them
8        Q.           Okay.        Any facts to refute that Barrie reported                                                 8        under the heading of accolades; right?
9        to Reeves that that was your attitude towards your                                                                 9        A.           Okay.
10       work?                                                                                                              10       Q.           Atta boys, whatever you want to call it.                                     From
11       A.           I don't doubt she told, no.                                                                           11       the club, they attached them to your Complaint, I
12       Q.           If Barrie told Jodi that, do you think it would                                                       12       assume purporting to show that you were doing a good
13       influence Jodi's opinion on your attitude toward                                                                   13       job.
14       working at the club?                                                                                               14                               The first one, and I will hand you -- here
15       A.           Well, I can remember times where she said she                                                         15       is the original Complaint.                     No, that's the amended.
16       hated her job, so, I mean, I don't know that it would                                                              16       It just doesn't say "Amended."                          It confused me there
17       change an attitude.                                                                                                17       for a second.
18       Q.           If Barrie told Jodi that you had said that you                                                        18                               And if you look at -- if you kind of flip
19       hated your job and the people you worked with, do you                                                              19       toward the middle, there is an Exhibit A.                                      Do you see
20       think that would influence Jodi's opinion about your                                                               20       that --
21       attitude toward working at the club?                                                                               21       A.           Uh-huh.
22       A.           Yeah.                                                                                                 22       Q.           -- handwritten note from Blaine?
23       Q.           Would you agree with me that accolades for five                                                       23       A.           Correct.
24       years of service in 2014 do not indicate whether you                                                               24       Q.           It's actually page 11 of 22.                       And it just -- I
25       would be proficient on a new computer system                                                                       25       won't read the whole thing.                      It says, Congratulations

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                                                                                                       Page 68                                                                                                                     Page 69
1        on achieving five years of service to The Country                                                                  1        A.           Oh, 11 of 22.
2        Club of Little Rock and its members.                                                                               2        Q.           Yeah.        Do you know what year this -- this note
3                                Did I read that right?                                                                     3        on page 13 of your Amended Complaint, do you know
4        A.           Yes.                                                                                                  4        what year that was?
5        Q.           Okay.        So do you know whether he sent that to                                                   5        A.           There is a check stub that has a bonus, '15, I
6        everybody who reached the five-year milestone?                                                                     6        believe.
7        A.           I wouldn't know.                                                                                      7        Q.           And so you got a, you got like a little bonus
8        Q.           Okay.                                                                                                 8        check?
9        A.           I would assume, but.                                                                                  9        A.           Yes.
10       Q.           Okay.        Do you think this is evidence that you                                                   10       Q.           Do you remember how much?
11       were fired in 2016 because of your age?                                                                            11       A.           I think it was 500.
12       A.           Well, I was doing a good job.                                                                         12       Q.           So what did you do that was above and beyond
13       Q.           So is that a "yes" or a "no"?                                                                         13       your normal job duties to earn that $500?
14       A.           Ask me again.                                                                                         14       A.           Well, as he says, Keeping things organized and
15       Q.           So does this note in May of '14 that says,                                                            15       smooth.
16       Congratulations on achieving five years of service,                                                                16       Q.           Isn't that part of your job, though?
17       does that, in your mind is that evidence that you                                                                  17       A.           It should be part of everybody's job.
18       were fired because of your age in November of '16?                                                                 18       Q.           Uh-huh.        Was this -- so this was just related
19       A.           I wouldn't think the two had anything to do                                                           19       to, like, handling the members for the score ball?
20       with each other.                                                                                                   20       A.           Yeah, and getting all of the sheets together
21       Q.           Look at page 13, and the pages are at the top.                                                        21       and the billing together, and staying in touch with
22       Do you do see that?                                                                                                22       the golf shop.
23       A.           Yeah, that's got a stamp on top of it.                                   I                            23       Q.           Do you think that evidences your aptitude to
24       didn't see it.                                                                                                     24       learn a new computer system in 2016?
25       Q.           Yeah, look at page 13.                 Go the other way.                                              25       A.           I don't know why it wouldn't.                        Yes.

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1        Q.           Why would it?        Explain.                                                                         1        they put up a deposit, just different things.                                           I
2        A.           Well, if you're doing such a great job, you're                                                        2        can't remember.
3        willing to go a little mile further.                                                                               3                                Jeremy came up with it, and Cory might have
4        Q.           So you think it evidences your attitude toward                                                        4        been involved in it, too.                    I think that's the year I
5        learning?                                                                                                          5        had the big, the big card instead of the handwritten
6        A.           Yes.                                                                                                  6        stuff that they normally did.
7        Q.           Does it evidence your aptitude toward learning                                                        7        Q.           Okay.        Do you think that Blaine's note is
8        the new computer system?                                                                                           8        evidence that you were fired in November of '16
9        A.           I think both, yes.                                                                                    9        because of your age?
10       Q.           How so?                                                                                               10       A.           Again, I don't know what the two has to do with
11       A.           Well, all of your handling and related billing,                                                       11       anything, with each other.
12       and keeps us organized, and when it's a busy time,                                                                 12       Q.           Look at page 14 of the Amended Complaint with
13       willing to learn.                                                                                                  13       me.        That shows you got a three percent raise in
14       Q.           What did you learn new with respect to the 2015                                                       14       2013; is that right?
15       Four Ball, or was it just doing what --                                                                            15       A.           Correct.
16       A.           I --                                                                                                  16       Q.           All right.        Do you know if that was standard,
17       Q.           Let me finish.                                                                                        17       more or less than other people got a raise that year?
18       A.           Okay.                                                                                                 18       A.           I got mine on merit.              I don't -- I'm not sure
19       Q.           Doing well what you always did?                                                                       19       who or what got -- who got raises.                              I wasn't privy to
20       A.           If memory serves me correct, that was the year                                                        20       any of that info.
21       that they took pictures on their phone, and they sent                                                              21       Q.           Did you -- who informed you of the raise?
22       it to me, and everything was color coded.                                                                          22       A.           Jodi.
23       Q.           What do you mean?                                                                                     23       Q.           Okay.        Did she make any comments about it in
24       A.           Ones that had color code if you were a member,                                                        24       May of '13?
25       if you were a guest, if you had played before, if                                                                  25       A.           Not that I remember.

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1        Q.           Okay.         Does that indicate your aptitude to                                                     1        Q.           Page 15 reflects a Christmas bonus in 2012; is
2        learn a new computer system in 2016?                                                                               2        that right?
3        A.           Anytime you get a pat on the back, you're                                                             3        A.           Yes, Christmas distribution.
4        always willing to go a mile further, yes.                                                                          4        Q.           Okay.      Did everybody get a flat amount, or some
5        Q.           You think it's evidence that you were fired                                                           5        percentage of their pay, or do you know?
6        because of your age in November of '16?                                                                            6        A.           I think it was based on years of service.
7        A.           Again, I don't see what the two has to do with                                                        7        Q.           Okay.
8        each other.                                                                                                        8        A.           But the comment, Thank you for all of your hard
9        Q.           You didn't get any raises in '14, '15, or '16;                                                        9        work during 2012, is the one on top that says bonus,
10       did you?                                                                                                           10       not the Christmas distribution.
11       A.           I did not.                                                                                            11       Q.           So they are two different things?
12       Q.           Do you know why?                                                                                      12       A.           Yes, sir.
13       A.           I didn't get a review either.                        I do not know                                    13       Q.           So you got a bonus of $635?
14       why.         The only comment I heard was I wasn't going to                                                        14       A.           Yes.
15       get one if Jodi wasn't going to get one.                                                                           15       Q.           And a Christmas distribution of $204?
16       Q.           Who made that comment?                                                                                16       A.           That is correct.
17       A.           She made the comment.                                                                                 17       Q.           Okay.      Do you know if everybody got bonuses?
18       Q.           Jodi?                                                                                                 18       A.           Not to my knowledge.
19       A.           Yes.                                                                                                  19       Q.           Okay.      Who got bonuses?
20       Q.           When?                                                                                                 20       A.           I'm not sure.      Jodi usually gave myself and
21       A.           Fourteen.                                                                                             21       Susan one.
22       Q.           Okay.         What about '15 or '16?                                                                  22       Q.           Do you know the criteria for the bonus?
23       A.           There was no comments.                                                                                23       A.           I do not.
24       Q.           Okay.         Did you ever ask?                                                                       24       Q.           Do you think getting a bonus in 2012 is
25       A.           I did not.                                                                                            25       evidence that you were fired because of your age in

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1        2016?                                                                                                              1        when you we are taking an off ramp.                            So the discharge
2        A.           Again, I don't see the two.                                                                           2        meeting happened to in Jodi's office; is that right?
3        Q.           Look at page 16 with me.                   This is a bonus of                                         3        A.           Correct.
4        $500 in February of '13?                                                                                           4        Q.           And that's in the accounting suite or office,
5        A.           Yes.                                                                                                  5        whatever you want to call it; right?
6        Q.           So that would be year-end for '12; right?                                      Is                     6        A.           Yes.
7        that right?                                                                                                        7        Q.           And the accounting office is kind of a weird
8        A.           Sounds right.                                                                                         8        place in the club; right?
9        Q.           Do you know if every -- did everybody get a                                                           9        A.           Correct.
10       $500 bonus year-end?                                                                                               10       Q.           Up the stairs, kind of tucked off by itself.
11       A.           I do not know.                                                                                        11       Do you remember what time of day it was?
12       Q.           So you don't know who got what or if --                                                               12       A.           Oh, it was early, a little after nine maybe.
13       A.           I do not know.                                                                                        13       Q.           Okay.      And you were at your desk in the
14       Q.           Do you think that getting a bonus for work done                                                       14       accounting office; right?
15       in 2012 is evidence that you were fired because of                                                                 15       A.           Correct.
16       your age in 2016?                                                                                                  16       Q.           Did Joan leave before Jodi came in?
17       A.           Again, I don't see that the two.                                                                      17       A.           The phone rang and she left.
18                                    MS. MCHUGHES:          Dan, can we take a                                             18       Q.           Okay.      And then -- so you and Joan are in the
19                               break for just a second?                                                                   19       office; Jodi is not?
20                                   MR. HERRINGTON:             Sure.                                                      20       A.           Correct.
21                                    (Seven-minute break.)                                                                 21       Q.           Jodi -- Joan leaves?
22       BY MR. HERRINGTON:                                                                                                 22       A.           Correct.
23       Q.           Turn to the discharge meeting itself; okay?                                                           23       Q.           Jodi and Blaine come in?
24       A.           Okay.                                                                                                 24       A.           Correct.
25       Q.           Try to -- I try if I can remember to tell you                                                         25       Q.           As they're walking into her office, Jodi asked

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1        you to join them in the office; is that right?                                                                     1        know what is going on?
2        A.           No.         There was conversation before then.                                                       2        A.           That's correct.
3        Q.           Okay.         Tell me about the conversation before                                                   3        Q.           Why, why did you think you were going to be
4        then.                                                                                                              4        fired?
5        A.           Blaine locks the door.                                                                                5        A.           Up until they walked in and shut the door like
6        Q.           What door?                                                                                            6        that and locked it, I didn't ever think I was going
7        A.           The accounting door.                                                                                  7        to be fired.
8        Q.           Okay.                                                                                                 8        Q.           Okay.      Had anything happened the day before
9        A.           And I jump up and I said, Oh, hell no.                                                                9        that you thought might get you in trouble?
10       Q.           Okay.        Tell me about that reaction.                                                             10       A.           Jodi and I had a conversation, but it wasn't --
11       A.           Yeah.        I knew what was going on.                                                                11       I mean, it was not a bad conversation.
12       Q.           What did you know was going on?                                                                       12       Q.           What was the conversation about on the day
13       A.           You -- I'm figuring I'm being fired.                                                                  13       before?
14       Q.           Okay.        So what else did you say?                                                                14       A.           Joan.
15       A.           And I asked Blaine, he said, You don't know                                                           15       Q.           Tell me about it.
16       what is going on, Karen.                   I said, Oh yeah, I do.                             And                  16       A.           She said she thought after 18 months that her
17       I said, Who is she?               Is she Jodi Reeves, or is she                                                    17       and I would be friends, would be getting along.
18       HR, because she cannot be both.                                                                                    18       Q.           What was the impetus or genesis of that
19       Q.           What does that mean?                                                                                  19       conversation?             What made that come up?
20       A.           I mean, they are on that side, I thought I                                                            20       A.           I, I don't know, because the day before it was
21       should have someone on my side in there with me.                                                                   21       an employee meeting that I didn't find out about
22       Q.           Okay.        What else did you say in the outer                                                       22       until the last minute, but -- and I don't know, I was
23       office?                                                                                                            23       sitting at the table with Carisa and Warren Simpson
24       A.           I think that was it.                                                                                  24       (names phonetic), and a few others, and that was the
25       Q.           Okay.         And he just said you're not -- you don't                                                25       employee meeting.             Then the Thursday came up -- I

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1        don't know.                I don't know what brought out the                                                       1        coming.
2        Thursday meeting.                                                                                                  2        A.           I don't, I don't remember if she -- that's one
3        Q.           Okay.         So, I mean, on the Thursday meeting, did                                                3        of those y'all are going to have to let me think.
4        Jodi called you into her office and say, You'd think                                                               4        Q.           Take all of the time you need.                         We haven't even
5        after 18 months y'all would be friends?                                                                            5        made it to lunch yet.                Take all of the time you need.
6        A.           Uh-huh.                                                                                               6        A.           I can tell you what time it was.                            It was 10:55.
7        Q.           And your response was?                                                                                7        Q.           The conversation with you and Jodi the day
8        A.           I said -- what did she say?                      I wrote it down.                                     8        before your discharge?
9        Let me think.                She said, I thought after 18 months                                                   9        A.           Yes.
10       y'all would be getting along better.                                                                               10       Q.           Okay.      All right.
11                               And then she said that there was going to                                                  11       A.           And I know that because I go to lunch at 11:00
12       be some changes.               I might be doing accounts payable.                                                  12       every day, and she said, Do you have just a minute?
13       Was I okay with Joan telling me, instructing me,                                                                   13       Q.           Okay.
14       giving my things to do, asking me to do things.                                                                    14       A.           So I know it was 10:55.
15                               And I just looked at her and laughed and                                                   15       Q.           All right.      Well, tell me everything else you
16       said, Well, it depends on if she asks me nicely, just                                                              16       recall about that conversation with you and Jodi.
17       making a joke out of it.                                                                                           17       Was -- was it -- did she close the door to her
18                               And she -- something else was brought up,                                                  18       office, or did you close the door?
19       and I asked her what Joan said in response to the                                                                  19       A.           No, I didn't close the door, and I -- yeah, it
20       question, and she said she hadn't talked to her.                                              She                  20       was closed.
21       asked if we could work together, yeah --                                                                           21       Q.           Because Joan would have been right outside?
22       Q.           Okay.                                                                                                 22       A.           Yes.
23       A.           -- which we had been for 18 months.                                                                   23       Q.           Okay.      So how long -- so did it last -- were
24       Q.           What else did she or you say in her office on                                                         24       you done by 11?
25       that day, the kind of conversation about change is                                                                 25       A.           It was done by 11.

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1        Q.           Okay.        So what else -- tell me what else was                                                    1        already.                No, I would have to think.                  I mean, that's
2        said in that conversation?                                                                                         2        what I told you she said.                    I thought I wrote more of
3        A.           I can't think right now.                                                                              3        the conversation, but obviously I just wrote that
4        Q.           Okay.                                                                                                 4        part.
5        A.           I know I wrote it down --                                                                             5        Q.           What was the, the employee meeting that you
6        Q.           Okay.                                                                                                 6        were talking about the day before?                              You said there
7        A.           -- after the conversation.                      You'll just have                                      7        was some --
8        to, you'll just have to let me think on that.                                           I                          8        A.           There was a meeting Blaine put on.                              It might
9        can't think right now.                                                                                             9        have been -- it wasn't open enrollment.                                    I can't
10       Q.           Is it in the notes that you gave to your                                                              10       remember what the context of that was.                                   I know we had
11       lawyers and that we got?                                                                                           11       to draw pictures, maybe just a thank you meeting.
12       A.           If I wrote it down it is.                                                                             12       Q.           Okay.        So back to the discharge meeting.
13       Q.           I have on -- and this is Bates Number 72, is                                                          13       A.           Okay.
14       the little number down at the bottom.                                                                              14       Q.           All right.        I am going to hand you what we will
15       A.           Oh.                                                                                                   15       mark as Exhibit 8.
16       Q.           You don't have it.            I am going to hand it to                                                16                                 (Exhibit No. 8 was marked.)
17       you.         We will make this an exhibit later, or I will                                                         17       BY MR. HERRINGTON:
18       be out of order, but on Plaintiff doc production 72,                                                               18       Q.           Is that a picture of the accounting office?
19       you have 11-17-16, Jodi called me into her office                                                                  19       A.           Yes.
20       about -- you can read -- about Joan.                                                                               20       Q.           Okay.        And your cubicle would be in the
21       A.           And how I'd need to help with accounts payable.                                                       21       foreground on the left?
22       Q.           Okay.        Does that refresh your recollection as                                                   22       A.           Yes.
23       to any of the, any additional conversation in that,                                                                23       Q.           And then Joan's cubicle would be the
24       her office that day?                                                                                               24       foreground, or, I mean, in the background --
25       A.           Well, no.        I mean, I told you that part                                                         25       A.           Yes.

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1        Q.           -- right?        And Joan's cubicle is closest to the                                                 1        fair and accurate representation of the kind of just
2        printer --                                                                                                         2        the floor plan layout of Jodi's office?
3        A.           Yes.                                                                                                  3        A.           You mean on the day of termination?
4        Q.           -- right?        So if you have to -- if you print                                                    4        Q.           Uh-huh.
5        something, you have to go walk over there and get it;                                                              5        A.           Well, Blaine was sitting next to the wall.
6        right?                                                                                                             6        Q.           So the, where he is indicated in the circle, is
7        A.           When they moved it I did, yes.                                                                        7        that where he was or not?
8        Q.           Okay.        It was, it was in the location reflected                                                 8        A.           He was -- no.
9        in this picture?                                                                                                   9        Q.           So you, you draw an "x," then, where --
10       A.           Yes.                                                                                                  10       A.           (Witness complies.)
11       Q.           That's where --                                                                                       11       Q.           So the chair was just pushed up against the
12       A.           Yes.                                                                                                  12       wall --
13       Q.           Let me finish.        That's where it was in November                                                 13       A.           Correct.
14       of '16?                                                                                                            14       Q.           -- instead of being closer to Jodi's desk?
15       A.           Yes.                                                                                                  15       A.           Correct.
16       Q.           Okay.        And then you can see there's another                                                     16       Q.           Okay.         Hang on to that.           Okay.         So they come
17       office with a door on the far right-hand corner of                                                                 17       in.        You said Blaine locks the exterior door?
18       this picture.               Is that Jodi's office?                                                                 18       A.           Uh-huh.
19       A.           Yes.                                                                                                  19       Q.           Which would be on Exhibit 9, which would be the
20                                   MR. HERRINGTON:             Okay.          I will hand                                 20       door in the far left-hand corner, bottom left?
21                               you what we will mark as Exhibit Number 9.                                                 21       A.           Uh-huh.
22                                 (Exhibit No. 9 was marked.)                                                              22       Q.           And you said -- what did you say?
23       BY MR. HERRINGTON:                                                                                                 23       A.           I didn't -- I wasn't the first one that spoke
24       Q.           Would this -- again, this is just a schematic                                                         24       when we got into Jodi's office.
25       or a diagram of the accounting offices.                                    Is that a                               25       Q.           No, no.         When they walked in the suite and they

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1        -- he locked -- you said he locked the door, and they                                                               1        A.           Okay.        Sure.
2        asked you to come into her office?                                                                                  2        Q.           Okay.        So then Jodi asked you to come into her
3        A.           No.                                                                                                    3        office?
4        Q.           Okay.       Tell me, then.           I don't want to put                                               4        A.           Correct.
5        words in your mouth.              You tell me what happened.                                                        5        Q.           All right.        And do you?
6        A.           The first thing I said was, Oh, hell no.                                                               6        A.           Yes.
7        Q.           Okay.       Before anybody said anything?                                                              7        Q.           You follow them in.            And so then on Exhibit 9,
8        A.           Yeah.                                                                                                  8        you're in the chair where it says Karen, and Jodi is
9        Q.           Okay.       All right.       And --                                                                    9        in her chair behind her desk?
10       A.           As he was locking the door.                                                                            10       A.           No, she told me I just needed to sit down.
11       Q.           Right.       And that's because you suspected you                                                      11       Q.           Okay.       But is that, is that where --
12       were about to be fired?                                                                                             12       A.           Yes.
13       A.           Well, something was going down, yeah.                                                                  13       Q.           Where y'all were?
14       Q.           Okay.       And we talked through that.                          And then                              14       A.           Yes.
15       Blaine says, You don't know what's going on.                                           And                          15       Q.           And you said Blaine was closer to the wall;
16       then did somebody ask you to go to Jodi's office?                                                                   16       right?
17       A.           Jodi asked me to, to come in.                                                                          17       A.           Correct.
18       Q.           Okay.       Well, let's just take it one step at a                                                     18       Q.           Okay.        By the time you walked in, they were
19       time, because I don't want to miss something here.                                                                  19       both seated, because they went in before you?
20       So what else was said in the outer office when you                                                                  20       A.           Yes.
21       are still at your desk?                                                                                             21       Q.           When she said come into my office, what was
22       A.           I think that was, that was it.                                                                         22       your response, if anything?
23       Q.           Okay.       Again, the same deal, if you remember                                                      23       A.           I don't think I said anything.                        I walked in and
24       something, as we talk through it or later in the day                                                                24       stood at the chair.
25       or even after, just let us know.                                                                                    25       Q.           Okay.        So you stood, and she said sit?

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1        A.           Uh-huh.                                                                                                1        Q.           Okay.        What did you say -- did you say anything
2        Q.           Okay.       So they shut the door to the outer                                                         2        when he locked the door?
3        office.               Her door stayed open?                                                                         3        A.           No.
4        A.           No.                                                                                                    4        Q.           Okay.        Tell me, then, I just kind of want to
5        Q.           Okay.       Who shut her door?                                                                         5        walk through the conversation.                         After Jodi says you
6        A.           Blaine shut her door and locked it.                                                                    6        need to sit down -- what did she say?                                 I don't want
7        Q.           What kind of lock is it?                                                                               7        to put words in her mouth either.                            What did she say
8        A.           One of those twist things.                                                                             8        to indicate you needed to sit down?
9        Q.           Just a little twist --                                                                                 9        A.           I think she said, "I need for you to sit down."
10       A.           Yes.                                                                                                   10       Q.           Okay.
11       Q.           -- on the handle, not a deadbolt?                                                                      11       A.           Or, "Are you not going to sit down?"                               No, I
12       A.           Well, it's key operated.                                                                               12       think she said, "I need for you to sit down."
13       Q.           Okay.       From the inside of her office, you need                                                    13       Q.           Okay.       But it could have been, "Are you not
14       a key to lock it or unlock it?                                                                                      14       going to sit down?"
15       A.           No.                                                                                                    15       A.           I don't think she asked -- gave me a question.
16       Q.           Right.       It's typical.           I mean, no different                                              16       Q.           Okay.       So how long -- before we get into the
17       than any other door lock?                                                                                           17       specifics, how long did this conversation last?
18       A.           Okay, okay.                                                                                            18       A.           Well, it seemed like forever, but...
19       Q.           Just like the one as we sit here today; right?                                                         19       Q.           But it probably wasn't?
20       There's a --                                                                                                        20       A.           No.        You know, in those situations it's not --
21       A.           Yeah.                                                                                                  21       five, eight, ten minutes.
22       Q.           There a door handle and a thumb lock?                                                                  22       Q.           So what -- so when you walked in, was the first
23       A.           Yeah, yeah, yeah.                                                                                      23       thing Jodie saying to sit down?
24       Q.           Like on an office, like on a restroom; right?                                                          24       A.           Uh-huh.
25       A.           Right.                                                                                                 25       Q.           All right.       So then tell me, I mean, it may not

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1        be exactly chronological, but just walk me through                                                                   1        Q.           I'll hand you -- again, the -- these are
2        the conversation.                                                                                                    2        documents that your lawyers produced starting at
3        A.           She said, Blaine and I had a conversation last                                                          3        Bates Number 75.               Are those the notes you took of the
4        night, and we're getting in some new software, and,                                                                  4        discharge meeting?
5        unfortunately, you don't have the skills to go                                                                       5        A.           Yes.
6        forward, and your services are no longer needed.                                                                     6        Q.           When did you take those?
7        Q.           Okay.                                                                                                   7        A.           I wrote -- I think the day I got home.
8        A.           And I said, You don't know what skills I have.                                                          8        (Witness reviews document.)                      No, she did say, "You
9        You didn't even try.                                                                                                 9        come into my office."               That's what I wrote, so that's
10       Q.           Okay.        What next?                                                                                 10       what -- yes.
11       A.           I am trying to think.                 What came next?                                                   11       Q.           You say, "I've got pictures and notes" --
12       Q.           Take your time.                                                                                         12       A.           Yes.
13       A.           Again, it's written down.                         At one point I                                        13       Q.           -- down at the bottom of page 75.                             What did you
14       looked at Blaine and said, You don't know what goes                                                                  14       mean by that?
15       on in here.               And he said, I think I do.                         And I said,                             15       A.           I have got all of the notes.
16       No, you don't, or Jodi wouldn't be here.                                                                             16       Q.           You're saying the notes that accompany --
17                               And I said, And due to Joan, I said, you                                                     17       A.           Yes.
18       don't go start a new job and not speak to your new                                                                   18       Q.           -- this Plaintiff's document production; right?
19       coworker unless somebody has said something to you                                                                   19       A.           Yes.
20       about not speaking to you, and that somebody was Jodi                                                                20       Q.           Is that what you're talking about?
21       Reeves.               And that's what I told her.                                                                    21       A.           Yes.
22       Q.           You told Jodi and Blaine that you thought Jodi                                                          22       Q.           Okay.        And then I guess out in the left-hand
23       told Joan not to talk to you when she started work?                                                                  23       margin you have "JR."               That's Jodi Reeves?
24       A.           Exactly.        You don't, you don't start a new job                                                    24       A.           Yes.
25       and not speak to your new coworker.                                                                                  25       Q.           And then "me"?

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1        A.           Yes.                                                                                                    1        Ball."
2        Q.           Which is you, and then "BB" is Blaine; right?                                                           2                                That's when I went back in, and I said, "I
3        A.           Yes.                                                                                                    3        am not going to argue with you."                             Then that's when I
4        Q.           Okay.         And then it says, Jodi Reeves, "No one                                                    4        got my stuff and left.
5        said anything."                Did -- is that -- did she say those                                                   5        Q.           Okay.        So they didn't say anything in the
6        words, or were you --                                                                                                6        office, and then you said, "I'm not going to argue
7        A.           No, she just didn't make --                                                                             7        with you," as you were leaving; right?
8        Q.           -- or were you writing down -- were you                                                                 8        A.           Yes.
9        memorializing that no one said anything in response                                                                  9        Q.           So is there anything else in that gap between
10       to your comment?                                                                                                     10       the time where you said "I've got pictures and
11       A.           Yes.                                                                                                    11       notes," and they didn't respond.                             Did you just get up
12       Q.           Okay.        And then you -- so what you're saying                                                      12       and leave at that point?
13       here is they just sat there; right?                                                                                  13       A.           Seems like something else was said, but,
14       A.           For --                                                                                                  14       honestly, I can't recall exactly what it was.
15       Q.           No one said anything?                                                                                   15       Q.           Gist is fine.        By whom?
16       A.           Correct.                                                                                                16       A.           I am thinking Jodi said the last thing before I
17       Q.           And then you said, "I am not going to argue                                                             17       left, but I can't -- I mean before I left the office.
18       with you."                                                                                                           18       Q.           Her interior?
19       A.           Well, she wanted to talk about Four Ball and                                                            19       A.           Yes.
20       about sorting and this, that, and something else, and                                                                20       Q.           If you recall, just let me know.
21       at that time I'm just -- I'm up, no, that's not true.                                                                21       A.           Again, again I --
22                               This was after we were done.                       I cannot tell                             22       Q.           So you just got up, unlocked the door and
23       you the last words that were said, but I got up to                                                                   23       walked to your desk.
24       leave, and when I got to my desk, she started                                                                        24       A.           I can't remember if I unlocked the door or
25       hollering to me about, "You couldn't even sort Four                                                                  25       Blaine unlocked the door.

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1        Q.           Okay.        So then you're going to your desk.                                Did                    1        Q.           Okay.
2        you say anything as you were exiting?                                                                              2        A.           Then she started in again.
3        A.           I said it twice.          I think I told her again that                                               3        Q.           Okay.
4        I wasn't going to argue with her before I -- because                                                               4        A.           When I left the first time, I was done.
5        she started in on something.                        I don't even remember                                          5        Q.           Okay.
6        what it was.                                                                                                       6        A.           I mean, there was no reason to stay.
7                                "I'm not going to argue with you," and got                                                 7        Q.           Right.        So you go to your -- if you remember
8        to my desk.               I was getting my radio, and that's when                                                  8        anything else about the conversation in Jodi's
9        she hollered at me, "You couldn't even sort Four                                                                   9        office, let me know; okay?
10       Ball."                                                                                                             10       A.           Okay.
11       Q.           So Jodi -- so you think she was going to say                                                          11       Q.           So now we are moving, though.                        Somebody unlocks
12       something about your job performance, and you said,                                                                12       the door.               You walk out.      You go to your desk to get
13       "I'm not going to argue with you" in the office, in                                                                13       your radio.
14       her office?                                                                                                        14       A.           Uh-huh.
15       A.           I am not going to argue with her over sorting                                                         15       Q.           She is, what, standing in her doorway?
16       Four Ball.                                                                                                         16       A.           No.
17       Q.           Well, no, I'm just trying to get the -- I'm not                                                       17       Q.           Where is she at?
18       arguing with you.               I'm just saying that, asking.                                 Did                  18       A.           I didn't -- she wasn't in the doorway.                                   I'm
19       Jodi start to explain her reasoning in her interior                                                                19       assuming she was still at her desk.
20       office, and you said, "I'm not going to argue with                                                                 20       Q.           And she said, "You couldn't even sort Four
21       you" and left?                                                                                                     21       Ball"?
22       A.           I had already left when she hollers this out.                                                         22       A.           Yes.
23       Q.           Okay.                                                                                                 23       Q.           What does that mean, can't sort --
24       A.           She had the chance to say it when I was sitting                                                       24       A.           Again, talking about sorting names, numbers.
25       in there.               She waited for me to leave.                                                                25       Q.           In the spreadsheets?

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                                                                                                       Page 94                                                                                                                     Page 95
1        A.           Correct.                                                                                              1                                Do you mean her office?
2        Q.           And the billing information?                                                                          2        A.           Yes, her office.
3        A.           Correct.                                                                                              3        Q.           Okay.        And then she yells, "You couldn't even
4        Q.           Because the Four Ball would include members and                                                       4        sort Four Ball"?
5        guests, and you have got to sort all of that out?                                                                  5        A.           Yes.
6        A.           Correct.                                                                                              6        Q.           You say, "Oh no, you wanted to sort Four Ball."
7        Q.           Okay.                                                                                                 7        She shakes her head.               So you could see her to know
8        A.           She sorted it every year I was there, so she                                                          8        she was shaking her head; right?
9        could take it to Darrell.                                                                                          9        A.           Yes.
10       Q.           And you said, "I'm not going to argue with                                                            10       Q.           Okay.        And then you say, again, "I'm not going
11       you"?                                                                                                              11       to argue with you."
12       A.           Yes.                                                                                                  12       A.           Yes.
13       Q.           Okay.         What else was said in the office?                                                       13       Q.           Did Blaine say anything else?
14       A.           That was basically -- that was basically it.                                          I               14       A.           No.
15       mean, I told Blaine that he didn't know what went on                                                               15       Q.           Did you say anything else?
16       up there.                                                                                                          16       A.           I don't think so.
17       Q.           Look at the next page.                 It's a continuation, it                                        17       Q.           Did Jodi say anything else?
18       looks like, of that conversation on Plaintiff's Bates                                                              18       A.           I don't think so.
19       76.                                                                                                                19       Q.           Look at page 77.          When did you make this note?
20       A.           Oh, yeah.                                                                                             20       A.           I don't know.        Some of the notes I originally
21       Q.           Jodi Reeves, you talk out of both sides of your                                                       21       wrote when it happened when I came home --
22       mouth?                                                                                                             22       Q.           Uh-huh.
23       A.           Uh-huh.                                                                                               23       A.           -- were so jumbled up and scribbled up that I
24       Q.           And then it says, "I get up and walk out of the                                                       24       rewrote some.               So I can't tell you the exact date.
25       office."                                                                                                           25       Q.           You think this is a rewrite of the notes that

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                                                                                                       Page 96                                                                                                                       Page 97
1        you wrote the day of?                                                                                              1        door and leave?
2        A.           It possibly could be, but I wouldn't swear to                                                         2        A.           Uh-huh.         Randy was standing there.
3        it.        But I wrote -- I know, I wrote -- as soon as I                                                          3        Q.           Randy who?
4        got home, I wrote it down.                     That I've learned in                                                4        A.           Randy Prieur.
5        life, you write it down when it happens.                                                                           5        Q.           Okay.         Is that P-r-i-e-u-r?
6                                I could have just taken these notes,                                                       6        A.           Yes.
7        because I know some I did that was scribbled, so                                                                   7        Q.           Where was Randy standing?
8        scribbled, and kind of put them in chronological                                                                   8        A.           In the hall.
9        order, so I could give them to Becky.                                  But this right                              9        Q.           Okay.         There is sort of a hall and a landing --
10       here looks like the original.                                                                                      10       A.           Yeah.
11       Q.           Okay.        I think it will be clear which ones are                                                  11       Q.           -- and then some stairs?
12       rewrites as we walk through it, but that's actually                                                                12       A.           Right.         He just come up the stairs from the --
13       later in my outline.                                                                                               13       on the landing coming up the stairs.
14                               Did you bring up -- you brought up Joan                                                    14       Q.           Okay.         And what is Randy's job?
15       when you said, "They don't work with you without                                                                   15       A.           I don't know.         House manager?                   I don't know.
16       talking to you, unless somebody has told them                                                                      16       Q.           Here, I am just stealing the original.                                     On the
17       something"; right?                                                                                                 17       original where I have in ink a "B" in a circle, is
18       A.           Correct.                                                                                              18       that where you say Blaine was?
19       Q.           Okay.        Did Blaine say that's not what this                                                      19       A.           Yeah, right there at the door.
20       meeting is about?                                                                                                  20       Q.           Okay.         I was just going to give that to the
21       A.           Not to my knowledge.                                                                                  21       court reporter.                Okay.     I didn't want to mark on the
22       Q.           So kind of, again, taking it one step at a                                                            22       original.                I was going to mark on mine.                        So Randy
23       time.          You go back to your desk to get your radio.                                                         23       Prieur was outside the door on the landing?
24       Jodi yells about sorting the Four Ball.                                    Y'all had                               24       A.           Yes.
25       that conversation.               Then do you just unlock the outer                                                 25       Q.           Okay.         And he is the club house manager?

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                                                                                                       Page 98                                                                                                                       Page 99
1        A.           I think, I think that's his title.                                                                    1        Q.           Okay.         Can we write, just write "stairs" right
2        Q.           And off and to the left, obviously not on this                                                        2        here.          Is that correct?
3        sheet of paper, but what is to the left of your                                                                    3        A.           Yes.
4        office?               Obviously, this is an outer wall on the                                                      4        Q.           Your line is where the stairs were?
5        schematic, right, on Exhibit 9?                                                                                    5        A.           Yes.
6        A.           A hallway.                                                                                            6        Q.           Okay.         Not to scale, obviously.                      Do you have
7        Q.           Okay.         So where does the hallway go?                                                           7        any idea why Randy was in the hall?
8        A.           To the break room.                                                                                    8        A.           I guess to make sure I got out.
9        Q.           Well, here, let's -- you take -- this is the                                                          9        Q.           But that's your assumption?
10       original.               You write where Randy was, and then write                                                  10       A.           That's my assumption.
11       where the break room is.                                                                                           11       Q.           You never had any conversation with anybody
12                               And this is on the second floor, right, of                                                 12       about why Randy would have been up there?
13       the club, or would it be considered a third?                                          What's                       13       A.           Huh-uh.
14       to the left of this, your office in the schematic?                                                                 14       Q.           Okay.        Could he have been going to the break
15       A.           Nothing.                                                                                              15       room?
16       Q.           I mean, is there a wall or --                                                                         16       A.           I doubt it.
17       A.           A wall.                                                                                               17       Q.           Why?
18       Q.           Okay.                                                                                                 18       A.           I never saw Randy in -- well, I don't know if
19       A.           And an elevator.                                                                                      19       he goes in there or not.                     I didn't use the break
20       Q.           Where -- mark where the elevator is.                                                                  20       room.
21       A.           It was right across from the landing.                                  The                            21       Q.           Okay.        So in your Complaint you say that -- in
22       elevator would be right here.                                                                                      22       paragraph 12 -- I want to read that -- you said, "Had
23       Q.           You can just put an "EL."                       And then where's the                                  23       insults yelled at her while she was leaving."
24       stairs?                                                                                                            24                               Was that, "You can't even sort Four Ball"?
25       A.           Right going down here.                                                                                25       A.           Yes, yes.

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                                                                                                       Page 100                                                                                                                    Page 101
1        Q.           Okay.        Any other insults?                                                                         1        A.           No.
2        A.           Not that I recall at the moment.                                                                        2        Q.           Do you still have that?                  Do you still have
3        Q.           Okay.        What you recalled when your Complaint                                                      3        these notes?                Let's make those 10.                I'll mark it for
4        was filed was the "You can't sort Four Ball"?                                                                        4        you.
5        A.           Oh yeah.                                                                                                5                                  (Exhibit No. 10 was marked.)
6        Q.           Okay.        All right.       Same deal, if you remember                                                6        BY MR. HERRINGTON:
7        something, any other insults, let me know; okay?                                                                     7        Q.           For the record, Exhibit 10 is your document
8        A.           Yes.                                                                                                    8        production Bates 56 to 77.
9        Q.           Okay.        So this is when the office, the outer                                                      9        A.           Okay.
10       office door is still closed.                          Who could hear that                                            10       Q.           Do you still have a copy of the Amended
11       besides Blaine and Jodi and you?                                                                                     11       Complaint, or the Complaint?
12       A.           Well, if you're standing in the hall, you                                                               12       A.           Yes.
13       probably could hear us.                                                                                              13       Q.           You do?
14       Q.           So you assumed Randy might have heard that?                                                             14       A.           Yes.
15       A.           No.                                                                                                     15       Q.           Look at paragraph 38 with me.                        So in paragraph
16       Q.           You don't assume that?                                                                                  16       38 it says, "Defendant Reeves continuously insulted
17       A.           No, no, because it looked like he -- he looked                                                          17       Ms. McIntosh in the presence of Blaine Burgess and
18       like he just got --                                                                                                  18       proceeded to yell insults at Ms. McIntosh as Ms.
19       Q.           Walking --                                                                                              19       McIntosh was leaving."
20       A.           Yeah, that's Randy.                                                                                     20                               Did I read that correctly?
21       Q.           Walking up the stairs?                                                                                  21       A.           Yes.
22       A.           Yeah.                                                                                                   22       Q.           Okay.         And so what you're -- the specific facts
23       Q.           Okay.        So that's what I am saying.                          Are you                               23       that you're referring to in paragraph 38 are what you
24       aware of anyone else who heard that insult besides                                                                   24       have just described to me at the discharge meeting?
25       you and Blaine and Jodi?                                                                                             25       A.           Yes.

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                                                                                                       Page 102                                                                                                                    Page 103
1        Q.           Okay.        Any other insults that you recall today?                                                   1        Q.           Okay.         What did Jodi do that was outrageous?
2        A.           Well, other than I didn't have the skills, and                                                          2        A.           Are you talking about just that one time, or
3        I couldn't go forward, and -- you take -- that's a                                                                   3        are you talking about all incidents?
4        very bad insult, I mean, "You're not trainable."                                                                     4        Q.           Let's stick with that day, and then we'll go
5        Q.           But that's what Jodi said in the office?                                                                5        from there.
6        A.           Yes.                                                                                                    6        A.           Well, when Jodi gets real mad, her face turns
7        Q.           In her office before you walked out?                                                                    7        real red, which is a known fact, very definite tone
8        A.           Yes.                                                                                                    8        of outrage when she said, "You don't have the skills
9        Q.           Okay.        And she didn't yell that; did she?                                                         9        to move forward."
10       A.           She didn't yell those.                                                                                  10                               Then, as I stated, she didn't know what
11       Q.           Okay.                                                                                                   11       skills I had.                She didn't even try.                 She stated
12       A.           Just the Four Ball one.                                                                                 12       again, "You don't have the skills."
13       Q.           Okay.         I want to make sure I understand the                                                      13       Q.           So that's -- what we are talking about right
14       sequence.                You're in Jodi's office.                   You say, "I'm                                    14       now is the conversation in her office --
15       not going to argue with you" and leave to go to your                                                                 15       A.           Correct.
16       desk.          And she yells, "You couldn't even sort Four                                                           16       Q.           -- the day of discharge.                   Okay.          So -- and you
17       Ball"?                                                                                                               17       think it's outrageous that she said, "You don't have
18       A.           Correct.                                                                                                18       the skills," when she didn't even try?
19       Q.           And then you say again, "I'm not going to argue                                                         19       A.           That, and I think it was outrageous that she
20       with you"?                                                                                                           20       talked, whatever she said to Joan about me, as to
21       A.           Uh-huh.                                                                                                 21       Joan wouldn't ever talk to me.
22       Q.           Okay.         Do you understand that you have sued                                                      22                               And if Jodi knew that for 18 months, she
23       Jodi individually for a claim called the tort of                                                                     23       should have solved the problem back then, if she
24       outrage?                Do you understand that?                                                                      24       thought it was a problem.
25       A.           Yes.                                                                                                    25       Q.           Okay.         What else did Jodi say or do that you

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                                                                                                   Page 104                                                                                                                    Page 105
1        contend goes beyond all bounds of decency in a                                                                   1        okay, but the tort of outrage very succinctly stated
2        civilized society?                                                                                               2        is when a defendant engages in conduct that is
3        A.           You mean the time I was there, the whole time?                                                      3        totally outrageous and beyond all bounds of decency
4        Q.           Uh-huh.                                                                                             4        in a civilized society.
5        A.           Well, let's see, she has --                                                                         5                                That is one description that the Courts
6        Q.           If we have exhausted what we are talking about                                                      6        have made.               So it's a high bar; okay?                     So I -- and,
7        the day of.                                                                                                      7        frankly, I don't think you can chin it, so I want to
8        A.           As far as I -- again, remember, on the day of.                                                      8        hear from you today what it is that you think Jodi
9        Q.           Right.                                                                                              9        did that constitutes this tort of outrage.
10       A.           That's, that's all I can remember right now on                                                      10       A.           Well, the day she came busting through the
11       that day.                                                                                                        11       terrace room door.
12       Q.           Okay.       And that's all you wrote down in your                                                   12       Q.           All right.        Tell me about busting through the
13       notes; right?                                                                                                    13       terrace room door.
14       A.           I think so, yes.                                                                                    14       A.           Well, I don't, I don't know what her intent was
15       Q.           Okay.       So, now, if you contend that she engaged                                                15       there, and I was standing outside the terrace room
16       in conduct that rose to the level of constituting the                                                            16       door talking when she came busting through there.
17       tort of outrage during your employment, tell me what                                                             17       Q.           When was this?
18       that is.                                                                                                         18       A.           Oh, Lord.        I'm going to assume '16, '15 or '16.
19       A.           When you say "outrage," you mean as to her tone                                                     19       Q.           Did you make a note of it?
20       or --                                                                                                            20       A.           I don't, I don't think I did on that one, or it
21       Q.           Well, I, I don't --                                                                                 21       could have, be one of the little side notes over
22       A.           -- things that she asked me to do that                                                              22       here.          I don't remember.
23       shouldn't have asked or, I mean?                                                                                 23       Q.           Take your -- I mean, you can take your time and
24       Q.           Well, let me -- your lawyers can agree or                                                           24       flip through there.
25       disagree with me on the description of the tort,                                                                 25       A.           (Witness reviews document.)

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1        Q.           But it was -- it was in '15 or '16 prior to the                                                     1        said she was going to her car to get something.                                             I
2        day of your discharge?                                                                                           2        don't even know what she was going to her car to get.
3        A.           Yes.                                                                                                3        I don't recall seeing any car keys in her hand.
4        Q.           How long -- just give me a ballpark.                              Was it,                           4        Q.           Anything else to you or about you?
5        like you said, a year before?                       Six months before?                                           5        A.           Not that I remember, no.
6        A.           I know it wasn't cold outside.                                                                      6        Q.           Okay.        What, what else did she do that was
7        Q.           So when you say "busting through the terrace                                                        7        outrageous?
8        room door," you guys were -- you and Barrie were                                                                 8        A.           I can't read that and think at the same time.
9        outside?                                                                                                         9        Well, I was uncomfortable when she asked me to find
10       A.           Uh-huh.                                                                                             10       out, and I don't know if it was considered
11       Q.           And so she is coming from inside to outside?                                                        11       outrageous, who had a broken knee or foot at the
12       A.           Uh-huh.                                                                                             12       club.
13       Q.           So just describe for me what you mean when she                                                      13       Q.           What do you mean?
14       busted through the door.                                                                                         14       A.           It was on the insurance.                   She wanted me to
15       A.           Well, you could tell she hit the door hard by                                                       15       snoop around and see if I knew who it was.
16       the sound, instead of just pushing it open.                                                                      16       Q.           What, what do you guys get in the accounting
17       Q.           Okay.       Was she coming to talk to you guys, or                                                  17       office that shows insurance claims?
18       was she --                                                                                                       18       A.           I didn't get anything.                 I am assuming Jodi did.
19       A.           She said she was going to her car, but I have                                                       19       Q.           When was this?
20       never known her to go through the terrace room, but                                                              20       A.           Probably '13 or '14.              I thought I had a note on
21       that's neither here nor there.                        But I'm assuming she                                       21       it with a date.
22       saw us on camera talking and came down.                                                                          22       Q.           So we get -- so it's your assumption that Jodi
23       Q.           But after she hit the door and came out onto                                                        23       gets some sort of aggregate information about
24       the terrace where you were, what happened next?                                                                  24       claims --
25       A.           She was shocked, look of shock on her face, and                                                     25       A.           Uh-huh.

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1        Q.           -- paid by the club's insurance?                                                                     1        wrong.
2        A.           Uh-huh.                                                                                              2        Q.           What else, what else did she say about that?
3        Q.           Did you have Blue Cross, or QualChoice, or                                                           3        A.           Nothing.
4        Health Advantage, or somebody?                                                                                    4        Q.           Did she ever follow up with you on it?
5        A.           United Health Care.                                                                                  5        A.           I don't think so.
6        Q.           Well, of course, I would guess the one.                                   So                         6        Q.           Okay.      What else did she do that was --
7        it's a -- I mean, it's a fully-funded plan.                                        I mean,                        7        A.           Kept asking -- I broke my wrist, not at the
8        it's a full-insured insurance plan; right?                                                                        8        office, and kept asking me if I was going to get the
9        A.           Uh-huh.                                                                                              9        money back, get reimbursed, if I was going to sue.
10       Q.           I mean, do employees pay premiums, or does the                                                       10       Q.           When did that happen?
11       club pay all of the premiums?                                                                                     11       A.           Golly.
12       A.           The employees pay a portion.                                                                         12       Q.           When did you break your wrist?
13       Q.           Okay.       Even for individual coverage?                                                            13       A.           October of '12 maybe.
14       A.           Yes.                                                                                                 14       Q.           October of 2012?
15       Q.           Okay.       So you assumed that Jodi saw something                                                   15       A.           Yes.
16       in the information from, who, Health Advantage?                                                                   16       Q.           Okay.      And she just asked you if you -- so what
17       A.           United Health Care, I'm assuming.                                                                    17       happened, briefly?            I don't need all of the details.
18       Q.           United Health Care, that's right, United Health                                                      18       A.           I fell.
19       Care, that some employee had had a claim for a broken                                                             19       Q.           Where did you fall?
20       foot or ankle or something?                                                                                       20       A.           At a Holiday Inn.
21       A.           Uh-huh.                                                                                              21       Q.           Okay.      So did you ever make a claim against the
22       Q.           So what did she say exactly?                                                                         22       Holiday Inn?
23       A.           She just asked me if I knew who it was, and I                                                        23       A.           I talked to an attorney, and he filed
24       said, No.               She said, Well, sneak around and see if                                                   24       something, but they didn't have some kind of
25       you can find out who it is.                     Well, that's, that's                                              25       insurance, so it was all dropped.                          I mean, I

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1        didn't -- there wasn't anything thing we could do.                                                                1        claimed and filed.
2        Q.           Never got a -- you never got any money from the                                                      2        A.           I'm -- that's not really me.                    I mean, come on,
3        Holiday Inn?                                                                                                      3        it's a pool deck, was my way of thinking.
4        A.           No.        No.                                                                                       4        Q.           But you went to see a lawyer, and he thought
5        Q.           So did you slip at their pool or something?                                                          5        there was merit enough to write a demand letter?
6        A.           Yes.                                                                                                 6        A.           Yeah, something about some insurance, if they
7        Q.           On a wet deck?                                                                                       7        have got some kind of something insurance.                                    I don't
8        A.           Yes.                                                                                                 8        remember exactly what he called it, but anyway, they
9        Q.           Who was the lawyer?                                                                                  9        didn't have it.
10       A.           I don't remember.          I could -- I know his                                                     10       Q.           So what did Jodi say exactly about whether you
11       address, I mean, where he's at, but.                                                                              11       are going to sue or not that you think was
12       Q.           Was it Holiday Inn here in Little Rock?                                                              12       outrageous?
13       A.           No, North Little Rock.                                                                               13       A.           Asking -- so that means the club will get their
14       Q.           North Little Rock.           So had you mentioned to                                                 14       money back.
15       anyone at the club that you might talk to a lawyer                                                                15       Q.           Because the club's insurance paid?
16       and pursue that against that hotel?                                                                               16       A.           Yes.
17       A.           Her and Susan talked me into going to talk to                                                        17       Q.           It's not really the club's money; is it?                                  Isn't
18       one.                                                                                                              18       it United Health Care's?                I mean, who, who paid your
19       Q.           You mean Jodi and Susan?                                                                             19       medical bills, United Health Care?
20       A.           Yes.                                                                                                 20       A.           United Health Care.
21       Q.           So what did Jodi and Susan say?                                                                      21       Q.           Are you familiar with the term "subrogation"?
22       A.           That they thought I needed to go talk to an                                                          22       A.           Yes, but define it again.
23       attorney over this.                                                                                               23       Q.           So that means if, if United Health Care pays
24       Q.           Did you find -- I mean, did you disagree?                                      I                     24       your medical bills, and then somebody else is held
25       mean, there are lots of slips and fall cases that get                                                             25       responsible, then United Health Care gets their money

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1        back; right?                                                                                                       1        fired from Dillard's and had moved to Fayetteville,
2        A.           Yes.                                                                                                  2        and she was looking for a job.
3        Q.           So why would Jodi then press you to see a                                                             3        Q.           Okay.         So what did she ask you to not lie but
4        lawyer?                                                                                                            4        not tell the truth about?
5        A.           Well, you get better premiums if you have less                                                        5        A.           Don't tell anyone that Bob has moved to
6        claims.                                                                                                            6        Fayetteville.
7        Q.           What else did Jodi do that you think was                                                              7        Q.           Okay.         It says in number seven, "Jodi swears
8        outrageous?                                                                                                        8        Susan and I to secrecy."
9        A.           Well, asking me not to tell the truth but not                                                         9        A.           Yes.
10       to lie.                                                                                                            10       Q.           Is that what you're talking about?
11       Q.           Are you -- if you are looking at a note, and                                                          11       A.           Yes.
12       that's on there, just mention the page at the bottom.                                                              12       Q.           Okay.        So just don't tell anybody?
13       A.           Sixty-nine.                                                                                           13       A.           Uh-huh.
14       Q.           Which number?                                                                                         14       Q.           What else?
15       A.           Six.                                                                                                  15       A.           Well, she got a new pair of shoes and twisted
16       Q.           On 69?                                                                                                16       her ankle at the club and asked us not to tell.                                               She
17       A.           Yeah.        Am I looking at it right?                                                                17       didn't want to file a workman's comp claim.
18       Q.           Well, it says 2014, number 6, 5-20-14, Jodi's                                                         18       Q.           Oh, when was that?
19       husband Bob gets fired from Dillard's?                                                                             19       A.           Well, whenever she broke her ankle.
20       A.           Yes.                                                                                                  20       Q.           Okay.        What else?
21       Q.           Where does she ask you to -- what do you say                                                          21       A.           She said that they had been noticing that I was
22       to -- I don't want to put words in your mouth.                                                                     22       still taking the bank deposit, and they decided that
23       A.           Not to lie but don't tell the truth.                                                                  23       Carlos, I think his name is Carlos, was going to take
24       Q.           Not to lie but not to tell the truth?                                                                 24       the bank deposit.
25       A.           Yeah.        Nobody knew that Bob, her husband, got                                                   25                               But the strange thing of that, she said

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1        something to me about the bank deposit the day                                                                     1        A.           I put in for 12 hours, and they changed it to
2        before, and I said, Oh, I don't mind, because it                                                                   2        16.
3        gives me a chance to get out of here for a little                                                                  3        Q.           For when?
4        while.                                                                                                             4        A.           There is a check copy in there.
5                                Well, the next day when I come in, I was no                                                5        Q.           So why do you think --
6        longer taking the bank deposit.                              So I asked her whose                                  6        A.           Oh, 3-28, I'm sorry.
7        idea that was.               She tells me Blaine's, but Randy told                                                 7        Q.           3-28 of what?
8        me it was Jodi's idea.                                                                                             8        A.           Of '16.
9        Q.           When was that?                                                                                        9        Q.           Is the vacation hours?
10       A.           I wrote it down on there somewhere.                               3-23 of                             10       A.           Yes.
11       '16.         No, no, no.        That's not right.                                                                  11       Q.           On what page are you looking at in your notes?
12       Q.           I do recall seeing that, so don't worry about                                                         12       A.           Seventy-one.        Number 19.
13       it.                                                                                                                13       Q.           Joan changed your approved vacation hours from
14       A.           Okay.                                                                                                 14       12 to 16?
15       Q.           So you think she took that duty away from you                                                         15       A.           Yes.
16       just because you enjoyed doing it?                                                                                 16       Q.           So that resulted in you getting four more hours
17       A.           Yes.                                                                                                  17       of pay but not having four more hours in the bank, so
18       Q.           What else do you -- if we are talking about the                                                       18       to speak; right?                Right?
19       tort of outrage, what else, what other claims would                                                                19       A.           Yes.
20       you put under there?                                                                                               20       Q.           Okay.         But Joan did that?
21       A.           When my vacation hours got changed.                                                                   21       A.           Per Jodi's request.
22       Q.           When did that happen?                                                                                 22       Q.           So do you remember how many hours in March of
23       A.           Oh, there is a copy of it in there.                                                                   23       '16 you would have had accrued?
24       Q.           Well, just describe to me, when you say, "My                                                          24       A.           No.
25       vacation hours got changed," what does that mean?                                                                  25       Q.           Would it have been, I mean, a week or two in

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1        addition to these 12 or 16 hours?                                                                                     1        not have to take vacation --
2        A.           I still had four, four days accrued when I                                                               2        A.           Yes.
3        left.                                                                                                                 3        Q.           -- on that day?
4        Q.           Okay.         So other than getting four hours of pay                                                    4        A.           Yes, that was, that was the way it was always
5        that you didn't expect on your check, what is the                                                                     5        in the past.               And then she admitted that she didn't
6        harm of her changing that?                                                                                            6        even read what she signed.                       She thought it said --
7        A.           I requested 12 hours.                  I was coming in the next                                          7        she didn't know it said 12 hours.
8        day for four hours.                                                                                                   8        Q.           She meaning Jodi?
9        Q.           Uh-huh.                                                                                                  9        A.           Jodi.
10       A.           So I didn't have to use all of my vacation                                                               10       Q.           Okay.        What else?
11       days.          Jodi left the day before I was going to go on                                                          11       A.           My point was that nobody else has checked to
12       the, come in on the four hours and work.                                        She left                              12       see if they are working four hours when they are
13       that day like she always did when we went on                                                                          13       going to take four or not.                       I was the only one that
14       vacation, Go ahead if you have got your desk clean                                                                    14       they changed hours on.
15       and get out of here early.                                                                                            15       Q.           As far as you knew.
16                               I assumed that meant, you know, leave today                                                   16       A.           Well, Joan said that she changes all of the
17       and start your vacation, even though I requested 12                                                                   17       time.
18       hours.                                                                                                                18       Q.           So it wouldn't be just you then?
19       Q.           So you were an hourly employee?                                                                          19       A.           She said she changes times all of the time.                                           I
20       A.           No.                                                                                                      20       don't know who else it was or if it was clock in or
21       Q.           You weren't?                                                                                             21       clocks out, that, I don't know.
22       A.           No.                                                                                                      22       Q.           What else under this heading of conduct that
23       Q.           You were paid a salary?                                                                                  23       goes beyond all bounds of decency in a civilized
24       A.           Yes.                                                                                                     24       society?
25       Q.           So you expected to be able to leave early and                                                            25       A.           (Witness reviews document.)                        I don't know if it

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1        falls under that heading, but the day she was                                                                         1        A.           Okay.
2        screaming on the phone at Wes, the IT tech guy.                                                                       2        Q.           Let's turn to your age claim.                          If you look at,
3        Q.           It wasn't screaming at you?                                                                              3        again, your Amended Complaint.                            If you look at
4        A.           No, but it was loud.                                                                                     4        paragraph 25, it says, Ms. McIntosh was terminated
5        Q.           When was that ballpark?                                                                                  5        effective November 18, 2016.
6        A.           '15 or '16.         It was after New Year's on '16.                                                      6                                The stated reasons for termination were
7        Q.           Okay.         What else?                                                                                 7        false and protectoral in nature, were truly motivated
8        A.           Yeah, here's the note I made about the vacation                                                          8        in whole or in part by age.
9        hours.                                                                                                                9                                Did I read that correctly?
10       Q.           What page is that on?                                                                                    10       A.           Correct.
11       A.           Sixty.                                                                                                   11       Q.           So why do you think that it was motivated in
12       Q.           Okay.        What else?        The last thing you said was                                               12       whole or in part by age?
13       screaming at Wes the IT guy.                                                                                          13       A.           I was near retirement, the same as several
14       A.           The conversation itself was full of lies, but                                                            14       people.
15       that's --                                                                                                             15       Q.           Do you think that was part of the reason?
16       Q.           What conversation?                                                                                       16       A.           I do.
17       A.           That she was having with Wes.                                                                            17       Q.           Okay.        Why?
18       Q.           Okay.         Did it have anything to do with you?                                                       18       A.           Because I was nearing retirement, and I was
19       A.           No.                                                                                                      19       comfortable with my finances.
20       Q.           Okay.         Well, then we'll skip that.                          What else                             20       Q.           What does that mean, "I was comfortable with my
21       under this heating of outrage, tort of outrage?                                                                       21       finances"?
22       A.           I don't see anything that's sticking out right                                                           22       A.           Well, I mean, it was obvious she knew I was
23       now that I'm going through this.                                                                                      23       putting away all of my check in either savings or
24       Q.           All right.         Well, if anything else occurs to                                                      24       401(k).
25       you, let me know.                                                                                                     25       Q.           Okay.        So Jodi knew that you were putting away

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1        all of your paycheck?                                                                                            1        Q.           Was he on Medicaid, Medicare?
2        A.           Yes.                                                                                                2        A.           Yes.
3        Q.           Why would that motivate her to terminate your                                                       3        Q.           With a supplemental or something?
4        employment?                                                                                                      4        A.           I -- yes.
5        A.           Anytime you got comfortable and close to                                                            5        Q.           So he was already past 65, your husband?
6        retirement age, that seems to be the practice of                                                                 6        A.           Yes.
7        getting terminated.                                                                                              7        Q.           Were there benefits that one would receive if
8        Q.           And you were how old?                                                                               8        they, quote/unquote, retired from The Country Club of
9        A.           Sixty-three.                                                                                        9        Little Rock that you wouldn't if you were discharged
10       Q.           Okay.       Had you discussed retirement?                                                           10       at age 63?
11       A.           Oh yeah, moving to Florida and what I was going                                                     11       A.           I wouldn't receive any benefits from the club
12       to do.                                                                                                           12       after I retired, no.
13       Q.           Did you ever estimate when?                                                                         13       Q.           Right.     That's what I'm saying.                    There's no
14       A.           I was hoping at 66.           If I could have made it at                                            14       magic age or years of service where you get some
15       65, I would have done that.                                                                                      15       pension benefit from the club?
16       Q.           What would it have taken to make it at 65?                                                          16       A.           You got your 401(k), some contributions from it
17       A.           Finances.       Insurance.                                                                          17       that the club put in, and you got your Christmas
18       Q.           Was your husband retired?                                                                           18       distribution, and every year you were there it went
19       A.           Yes.                                                                                                19       up, the same as it went up on the other side.
20       Q.           Where was he retired from?                                                                          20       Q.           So you think they fired you because they were
21       A.           Sandvick.                                                                                           21       having to pay you bigger Christmas distributions?
22       Q.           Did he have retiree health insurance?                                                               22       A.           I think it was a total sum of all of it.
23       A.           No.                                                                                                 23       Q.           The, the -- but the bigger Christmas
24       Q.           So were you both on club's insurance?                                                               24       distribution would have been based on years of
25       A.           No.                                                                                                 25       service?

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1        A.           Correct.                                                                                            1        higher because you had been there since 2009?
2        Q.           Okay.       And I'm still trying to connect the dots                                                2        A.           It would have been higher than what they would
3        on the retirement age thing.                      You tell me your                                               3        have got somebody else in for, yes.
4        opinion as to why a company would fire an employee as                                                            4        Q.           You said age, salary, hire, comfortable
5        they neared retirement age if they weren't preventing                                                            5        finances, I'm just paraphrasing, of course, just
6        you from getting some retirement benefit?                                                                        6        trying to tick them off, and then you said jealousy.
7        A.           For the pay from the time you were fired until                                                      7        What was Jodi jealous of?
8        the time you would have stayed.                                                                                  8        A.           Me being able to retire.               Me having a new car.
9        Q.           So they were firing you for the pay to keep you                                                     9        Q.           What else?
10       from getting --                                                                                                  10       A.           Well, I told you comfortable with my finances,
11       A.           No, it's for the age.                                                                               11       comfortable with my life, getting ready, getting
12       Q.           But when you say -- what I'm trying to                                                              12       prepared, talking about it.
13       understand what you mean by that you said for the pay                                                            13       Q.           Do you think it had anything to do with her
14       you would have received between your discharge and                                                               14       taking sides with Joan?
15       retirement; right?                                                                                               15       A.           It could have.    I doubt it.                I mean, she said
16       A.           Pay had something to do with it.                                                                    16       it was my skill set, and Joan didn't know skill set,
17       Q.           Just explain why you think that, why your pay                                                       17       so I don't know.           The taking sides is, is what I
18       had something to do with it.                                                                                     18       would have worded that.
19       A.           It would be a combination of all --                                                                 19       Q.           Well, you said you she talked to you the day
20       Q.           Okay.                                                                                               20       before your discharge about you would have thought
21       A.           -- of the pay, of your living standards, how                                                        21       after 16, 18 months y'all would be friends; right?
22       comfortable you are.             Being jealous would be another.                                                 22       A.           Yes.
23       Just there had been a whole conversation.                                    It wasn't                           23       Q.           I mean, and Jodi initiated that conversation?
24       for the reason I was given.                                                                                      24       A.           Yes.
25       Q.           Are you saying on the pay that your salary was                                                      25       Q.           So was it, was it your understanding, then,

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1        that Jodi didn't think y'all got along?                                                                           1        mentioned it, I mean you brought it up.                                     That's why I
2        A.           Yes.                                                                                                 2        thought --
3        Q.           Do you think that had anything to do with your                                                       3        A.           No.
4        discharge?                                                                                                        4        Q.           -- you might have thought she got rid of you
5        A.           No.                                                                                                  5        because you had this claim?
6        Q.           Does she, does she pick Joan over you?                                                               6        A.           No, no.
7        A.           No.        Or it would have been, it would have been                                                 7        Q.           Or part of it?
8        in the termination later.                                                                                         8        A.           No.
9        Q.           Okay.        So if it's not in the termination                                                       9        Q.           You don't think that was even a part of it?
10       letter, it wasn't the reason?                                                                                     10       A.           No.
11       A.           No.        But, I mean, skill set was the only thing                                                 11                                (Exhibit No. 11 was marked.)
12       I was told.              And that's why I got all of those                                                        12       BY MR. HERRINGTON:
13       bonuses and stuff was because of doing a good job.                                                                13       Q.           I will hand you what we have marked as Exhibit
14       Q.           You think -- you mentioned insurance and her                                                         14       11.        Are these some additional notes that you took,
15       sort of fixation on insurance a couple of times, her                                                              15       or are these notes you rewrote?
16       ankle?                                                                                                            16       A.           Just points that hit my head that I jotted down
17       A.           Uh-huh.                                                                                              17       to make sure that I had an original note on it, so I
18       Q.           Your wrist?                                                                                          18       wouldn't forget.
19       A.           Uh-huh.                                                                                              19       Q.           So these were made sometime during the
20       Q.           Somebody else's ankle or foot; right?                                                                20       litigation, Exhibit 11?
21       A.           Uh-huh.                                                                                              21       A.           No, probably before that.
22       Q.           You think that had something to do with your                                                         22       Q.           Well, I mean, were they contemporaneous with
23       discharge, because you cost the club money?                                                                       23       their employment, or were they written after your
24       A.           No.                                                                                                  24       discharge?
25       Q.           You don't?        I mean -- well, I mean, you                                                        25       A.           These were put together after the discharge.

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1        Q.           That's what I thought.                                                                               1        A.           Whenever they hired Beth.
2        A.           Yeah.        These pages, yes.                                                                       2        Q.           Beth who?
3        Q.           Like you were saying these are neater, kind of                                                       3        A.           Something with an E.
4        a rewrite from some of the other stuff?                                                                           4                                    MS. REEVES:         Elinsky.
5        A.           Uh-huh.                                                                                              5        BY MR. HERRINGTON:
6        Q.           Number one, it says that she came in and said,                                                       6        Q.           Elinsky?
7        They hired a new banquet director, she is 57, then                                                                7        A.           That sounds right.
8        states that surprised her.                                                                                        8        Q.           E-l-i-n-s-k-y.          Do you remember what year that
9        A.           Yeah.                                                                                                9        was?
10       Q.           Who would have been in charge of hiring the                                                          10       A.           Again, I think '16.
11       banquet director?                                                                                                 11       Q.           Okay.        So how old were you at the time?
12       A.           I guess Blaine.                                                                                      12       A.           What, 63.
13       Q.           Did she, did she elaborate on why that hire                                                          13       Q.           And how old was Jodi at the time?
14       surprised her?                                                                                                    14       A.           Fifty-one.
15       A.           Other than she was old, 57, that surprised her.                                                      15       Q.           How old was Joan at the time?
16       Q.           Did she say old, or did she say 57?                                                                  16       A.           I don't know.       I forgot how old she said she
17       A.           No, she said "old.           She's 57."                                                              17       was, 60.
18       Q.           You didn't write "old" in your note --                                                               18       Q.           So Jodi hired Joan at 60 and then says she is
19       A.           Okay.                                                                                                19       surprised that Blaine hired Beth at 57?
20       Q.           -- did you?                                                                                          20       A.           Uh-huh.
21       A.           Yeah, doesn't it say, "And she's old"?                                                               21       Q.           Did she elaborate?
22       Q.           I thought it said -- okay.                     I can't read that.                                    22       A.           No.
23       A.           It says old.                                                                                         23       Q.           Did you ask any questions?
24       Q.           Okay.        "She's old," and, "She's 57."                         So when                           24       A.           No.        I did not.
25       was this?                                                                                                         25       Q.           Did anybody else?

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1        A.           No.                                                                                                  1        Exhibit Number 11.            Number six on page three, it
2        Q.           You say here, Without my knowledge, went behind                                                      2        says, "Jodi talked bad behind everyone's back about
3        my back, called CCLR president, Tom Baxter, and asked                                                             3        them"?
4        him how I could get out of jury duty?                                                                             4        A.           Yes.
5        A.           Correct.                                                                                             5        Q.           So who did she talk bad about?
6        Q.           When was that?                                                                                       6        A.           She talked bad about Blaine, Javier (phonetic),
7        A.           I don't remember the year.                     Twelve, '13.                                          7        Randy, Heather, the chefs, the people at the pool.
8        Q.           Why did you write that down?                                                                         8        Q.           Did she ever say anything related to their age
9        A.           Why did it write it down?                      It came to my head.                                   9        or them being old?
10       Q.           Okay.       Do you think it's evidence that you were                                                 10       A.           Not of those.
11       fired because of your age?                                                                                        11       Q.           Anyone else?
12       A.           No.                                                                                                  12       A.           Basically just Beth.
13       Q.           Do you think she -- did you get out of jury                                                          13       Q.           Back to Exhibit 10, do you still have that in
14       duty --                                                                                                           14       front of you?            Do you tell -- you do.                     Look at page
15       A.           No.                                                                                                  15       61 with me.
16       Q.           -- or did you go do it?                                                                              16       A.           I happened to be there.
17       A.           I went and did it.                                                                                   17       Q.           Can you read the first entry, or the first
18       Q.           Do you think that that had something to do with                                                      18       three lines on 3-28-16?
19       her decision of firing you?                                                                                       19       A.           3-28-16, 12:30, requested from Nut copy of my
20       A.           No.                                                                                                  20       vacation request form.
21       Q.           Did Jodi say she wouldn't have hired her, or                                                         21       Q.           Who is Nut?
22       did she just say that surprised her that Blaine would                                                             22       A.           Joan.      I put "N" in there for it to be -- I
23       hire her?                                                                                                         23       couldn't put "J" when I would make any notes, "J" for
24       A.           That surprised her.                                                                                  24       Jodie, and Jo for Joan, so I put "N."                               And then I saw
25       Q.           Look at -- again, we are still looking at                                                            25       that icon nut, so I just -- a joke on my part.

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1        Q.           What do you mean icon?                                                                               1        like, employee self-evaluation or something?                                       What
2        A.           On my phone one day, so instead of putting "N"                                                       2        are --
3        I just put Nut.                                                                                                   3        A.           We did a self-evaluation in the last year I had
4        Q.           Do you have these on your phone?                                                                     4        one, '13.
5        A.           No.        I said I saw the icon, the nut, on my                                                     5        Q.           So you had not, you had not done a
6        phone.                                                                                                            6        self-evaluation since 2013?
7        Q.           Oh, okay.       So "Nut" was referring to, to Joan?                                                  7        A.           Correct.
8        A.           Yeah, normally I just put "N".                                                                       8        Q.           So what, what evaluations did Susan tell you
9        Q.           But so if I see "Nut" in here or "N," that's                                                         9        Jodi shredded?
10       Joan?                                                                                                             10       A.           The reviews.
11       A.           That is correct.                                                                                     11       Q.           But which years, I mean?
12       Q.           Look at page 70 with me.                  I thought it was 70.                                       12       A.           '14 and '15.
13       I don't see it right offhand, but it says somewhere                                                               13       Q.           But you hadn't gotten a review in '14 or '15;
14       in here about shredded reviews, do you know what I'm                                                              14       had you?
15       talked about?                                                                                                     15       A.           That is correct.
16       A.           Page 70, number 11.                                                                                  16       Q.           And you hadn't done a self-evaluation in '14 or
17       Q.           Is it?       What does that mean?                                                                    17       '15; had you?
18       A.           Jodi shredded mine and Susan's reviews.                                                              18       A.           That is correct.
19       Q.           So she actually did them and then put them in                                                        19       Q.           So what did she shred, just the form, the blank
20       the shredder.                                                                                                     20       form?
21       A.           I don't know if she wrote them, but I was told                                                       21       A.           I am assuming the form.
22       she shredded the reviews.                                                                                         22       Q.           Then look at 71, number 16, Confronted Jodi
23       Q.           By whom?                                                                                             23       about bank deposit.            Is that what we were talking
24       A.           Susan.                                                                                               24       about, letting you do the bank deposit?
25       Q.           Do you know if she did them, or did y'all do,                                                        25       A.           Yes.

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1        Q.           And what did -- and so what did you say when                                                        1        A.           The only time she commented on someone's age,
2        you confronted her?                                                                                              2        yes.
3        A.           I said, Hey, I hear it's you I'm supposed to                                                        3        Q.           So in terms of why you believe your age had
4        thank for me not taking the bank deposits.                                     And she                           4        something to do with it, we had this long discussion
5        said, No, it was Blaine.                 I said, Well, that's funny,                                             5        about nearing retirement; right?
6        I was told it was you.                                                                                           6        A.           Uh-huh.
7        Q.           Did you tell her who told you that?                                                                 7        Q.           And then the comment about Beth's age.                                 What
8        A.           Natalie and Randy told me.                                                                          8        else did anyone, Jodi, Blaine, anyone else at the
9        Q.           I mean did you tell --                                                                              9        club say or do that makes you think you were fired
10       A.           No, I didn't tell her, no.                                                                          10       because of your age?
11       Q.           Okay.       And her response was, It was Blaine?                                                    11       A.           Other than the other people that were nearing
12       A.           She just kept -- yes, and she just kept on                                                          12       retirement.
13       walking up the stairs.                                                                                           13       Q.           Okay.      Well, then we will talk -- and kind of
14       Q.           Okay.       Is that, is that everything about that                                                  14       get into that then.             I will hand you what we will
15       confrontation?                                                                                                   15       mark as Exhibit 12.
16       A.           That particular one, yes.                                                                           16                               (Exhibit No. 12 was marked.)
17       Q.           Okay.       So did anyone else at the club say or do                                                17       BY MR. HERRINGTON:
18       anything that you believe shows that the club would                                                              18       Q.           So in your charge you say a 57 year old
19       fire you because of your age?                                                                                    19       coworker who had 16 years on the -- over 16 years was
20       A.           Did anyone else; is that what you asked me?                                                         20       discharged, too.             Was that Susan?
21       Q.           Yeah.                                                                                               21       A.           Yes.
22       A.           I basically just only had conversations with                                                        22       Q.           Okay.      And she was fired back in '16.                            We kind
23       Jodi.                                                                                                            23       of discussed that.
24       Q.           Okay.       The only conversation where Jodi                                                        24       A.           No.
25       mentioned someone's age was this comment about Beth?                                                             25       Q.           '15?

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1        A.           Correct.                                                                                            1        A.           Yes.
2        Q.           I had '15 in my note.             I just read it wrong.                                             2        Q.           How loud do you usually play that?
3        So she was fired in '15, and do you know the reason                                                              3        A.           Not real loud.
4        stated why she was fired?                                                                                        4        Q.           So even if the -- so her office is that
5        A.           I do not.                                                                                           5        well-insulated that you can't hear even a loud
6        Q.           Were you present when she cussed Jodi?                                                              6        conversation sitting at your desk?
7        A.           I was present when both of them were in Jodi's                                                      7        A.           Honestly, I didn't want to hear it.
8        office.                                                                                                          8        Q.           Okay.       So but is it because you consciously
9        Q.           So tell me what, what you heard?                                                                    9        tuned it out, or because the sound proofing is that
10       A.           I didn't specifically hear any words, just a                                                        10       good?
11       lot of, a lot of loud screaming.                                                                                 11       A.           I consciously tuned it out, and if I remember
12       Q.           So the door was shut?                                                                               12       correctly, I got up and left.
13       A.           Yes.                                                                                                13       Q.           Why did you get up and leave?
14       Q.           Just her and Jodi in the room?                                                                      14       A.           I didn't want to hear it.
15       A.           Yes.                                                                                                15       Q.           Would you say 57 is nearing retirement?
16       Q.           Okay.       But you -- it's your testimony here                                                     16       A.           I think you start getting your ducks in a row.
17       today that you couldn't hear what they were saying                                                               17       Q.           Had Susan talked about getting her ducks in a
18       inside?                                                                                                          18       row to Jodi?
19       A.           That is correct.                                                                                    19       A.           Well, she had bought a new car, and her husband
20       Q.           So were you sitting at your desk that we have                                                       20       was getting prepared in a few years to retire, and
21       looked at in the picture in the schematics?                                                                      21       Jodi knew, knew all of that, yes.
22       A.           Yes.                                                                                                22       Q.           Did -- like you said, that you had sort of put
23       Q.           Okay.       Were you wearing headphones?                                                            23       a timeline, 65 or 66; right?
24       A.           No.                                                                                                 24       A.           Yes.
25       Q.           Did you have your radio playing?                                                                    25       Q.           Had Susan put a potential date, exit date that

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1        anybody knew about at the club?                                                                                  1        her 401(k), and I think she had put more money -- I
2        A.           I know her husband was 66, and I'm thinking                                                         2        can't swear more money anywhere else, but I think she
3        that Susan had mentioned she was hoping to retire at                                                             3        had mentioned she put more money in 401(k), buying a
4        65.                                                                                                              4        new car, doing things to her house to get ready,
5        Q.           So she was then eight years away from                                                               5        while you're working to take care of things, your
6        retirement?                                                                                                      6        finances.
7        A.           Yes.                                                                                                7        Q.           And it's your testimony that Jodi knew this?
8        Q.           Okay.       So you got up and left, so you don't                                                    8        A.           Yes.
9        know what Susan screamed at Jodi?                                                                                9        Q.           Okay.        Okay.   So you think Jodi knew that she
10       A.           I don't know what Jodi screamed at Susan                                                            10       was comfortable and sort of making preliminary
11       either.                                                                                                          11       steps -- so did the club match 401(k) at all?
12       Q.           But the answer to my question is you don't                                                          12       A.           I think it was in percentages.
13       know?                                                                                                            13       Q.           Like they would match a percentage of what you
14       A.           No, I do not know.                                                                                  14       chose to contribute?
15       Q.           What Susan screamed at Jodi?                                                                        15       A.           No, I think they matched a percentage of what
16       A.           I do not.                                                                                           16       the members chose to contribute.
17       Q.           So other than the fact that she was 57 years                                                        17       Q.           I don't understand.
18       old, what, what other facts would you point to to                                                                18       A.           Well, I don't know where, where the
19       indicate to a reasonable person that Jodi fired Susan                                                            19       contribution money came from.
20       because of her age?                                                                                              20       Q.           Here is what I am saying, I'm asking; all
21       A.           Susan was comfortable.                                                                              21       right?           So you decide at the end of the year or in
22       Q.           Okay.                                                                                               22       each paycheck, I am going to put this much of my
23       A.           You know.                                                                                           23       pretax dollars in a 401(k); correct?
24       Q.           Tell me about that.                                                                                 24       A.           Correct.
25       A.           I think she had started putting more money in                                                       25       Q.           And there is some cap; right?

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                                                                                                   Page 138                                                                                                                    Page 139
1        A.           Yes.                                                                                                1        state in full detail the factual basis for your
2        Q.           Does the club match those contributions?                                                            2        allegations in paragraph 23 of your Complaint, that
3        A.           I don't -- not so on the percentage, no.                                                            3        CCLR employees are fired when nearing retirement,
4        Q.           The --                                                                                              4        including but not limited to the identity of the
5        A.           They put some, they contribute, but it's not a                                                      5        employees to whom you are referring.
6        matching contribution.                                                                                           6                                And you stated Keith Ihms, Debi Davies, and
7        Q.           Okay.       So there is no matching.                    So what, what                               7        Virginia Colbert, and Susan Hill --
8        is the criteria for the club's -- or, I'm sorry, the                                                             8        A.           Correct.
9        club's contribution to any individual employee's                                                                 9        Q.           -- right?        So we talked about Susan; right?
10       401(k)?                                                                                                          10       Right?
11       A.           I do not know.                                                                                      11       A.           Yes.
12       Q.           Is it like every employee in the club get the                                                       12       Q.           So let's talk about -- let's just take them in
13       exact same amount?                                                                                               13       the order that you listed them.                              Keith Ihms?              What
14       A.           I wouldn't think so.                                                                                14       was his job there?
15       Q.           Is it a percentage of the employee's salary?                                                        15       A.           Golf maintenance manager.
16       A.           Honestly, I don't know.                You just got a piece                                         16       Q.           Do you know why he was fired?
17       of paper once a year that told you what the club put                                                             17       A.           I couldn't attest to the exact cause, no.
18       in.                                                                                                              18       Q.           No, I guess I should have been more precise.
19       Q.           So I don't want to put words in your mouth, but                                                     19       Do you know the club's stated reason for his
20       are you saying that you think that the club                                                                      20       discharge?
21       terminates employees who are, in your words, nearing                                                             21       A.           I do not.
22       retirement, because they are having to spend more                                                                22       Q.           So because you don't know the stated reason,
23       money on 401(k)?                                                                                                 23       you can't testify whether that is or isn't accurate?
24       A.           That's another reason, yes.                                                                         24       A.           Correct.
25       Q.           We asked in Interrogatory Number 6 for you to                                                       25       Q.           Okay.         Do you know how old he was?

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1        A.           In his sixties.                                                                                     1        regarding his discharge?
2        Q.           Do you know what his years of service was?                                                          2        A.           No.
3        A.           Over ten.                                                                                           3        Q.           You weren't involved in whatever situation it
4        Q.           Who was his -- who was the decision-maker?                                                          4        was that led to his discharge?
5        A.           I'm sure Blaine.                                                                                    5        A.           Well, I did some investigation on, on time
6        Q.           Did Jodi any part in it?                                                                            6        clocks.
7        A.           HR, she played a part.                                                                              7        Q.           What did you do?        What were you --
8        Q.           But do you know?                                                                                    8        A.           Well, the people in the golf shop, maintenance,
9        A.           I'm sure she was probably in on the                                                                 9        where somebody was doing some clocking in and
10       termination.                                                                                                     10       clocking out for them, guarantying four hours.                                          I was
11       Q.           And why, why do you say you're sure she                                                             11       in on that investigation.
12       probably was?                                                                                                    12       Q.           So Keith was, when it was bad weather, Keith
13       A.           Because she is HR.                                                                                  13       was clocking his folks in or out and getting them
14       Q.           Okay.       You don't have any first-hand knowledge;                                                14       hours where they weren't actually working?
15       that's your assumption?                                                                                          15       A.           That's my understanding, yes.
16       A.           That is correct.                                                                                    16       Q.           And who asked you to investigate that?
17       Q.           Okay.       What year was he discharged?                                                            17       A.           Blaine and Jodi.
18       A.           Oh, '14, '13.                                                                                       18       Q.           Okay.      And what was your, what was your role in
19       Q.           Who was his immediate supervisor?                                                                   19       the investigation, and what did you report to Blaine
20       A.           Blaine.                                                                                             20       and Jodi?
21       Q.           When is the last time you talked to him?                                                            21       A.           All of the discrepancies in the time where it
22       A.           To Keith?                                                                                           22       was exact this and exact that.
23       Q.           Uh-huh?                                                                                             23       Q.           Did it appear to you that someone was clocking
24       A.           He was still employed when I talked to him.                                                         24       these employees in or out to get them more hours than
25       Q.           So you don't have any personal knowledge                                                            25       they actually worked?

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1        A.           That's what it looked like, yes.                                                                    1        Q.           Do you know whether that's true or not?
2        Q.           Okay.       Have you had any conversation with                                                      2        A.           Again, that's what I heard.
3        anyone who was involved in the decision to discharge                                                             3        Q.           From whom?
4        Keith about that decision?                                                                                       4        A.           Just people talking.            I couldn't tell you
5        A.           No.                                                                                                 5        exactly who.              Actually, I think, I think Jodi told me
6        Q.           Okay.       Other than your report to Jodi and                                                      6        that.
7        Blaine, what you found in your investigation?                                                                    7        Q.           Do you have any facts to refute that she double
8        A.           Yeah.       I mean, it was me and Susan and Jodi and                                                8        booked a room?
9        Blaine, as far as I know, were the only ones that                                                                9        A.           I don't.
10       knew anything.                                                                                                   10       Q.           So was Blaine the decision-maker?
11       Q.           Okay.       Debi, Debi Davies?                                                                      11       A.           As far as I know, yes.
12       A.           Yes.                                                                                                12       Q.           When is the last time you talked to Debi?
13       Q.           Who is Debi Davies?                                                                                 13       A.           I think I have spoken to her once since my son
14       A.           She was banquet director.                                                                           14       died.
15       Q.           And when was she fired?                Ballpark year.                                               15       Q.           And that was in '15; right?
16       A.           '13, '14.                                                                                           16       A.           Yes.
17       Q.           Who fired her?                                                                                      17       Q.           Okay.
18       A.           Blaine.                                                                                             18       A.           But it was a while, I spoke to her after he
19       Q.           Do you know how old she was when she was fired?                                                     19       did, so.
20       A.           Sixty something.                                                                                    20       Q.           Was she calling about that?
21       Q.           Do you know the reason given by the club as to                                                      21       A.           Yeah.
22       why she was fired?                                                                                               22       Q.           She was just calling to offer condolences?
23       A.           I can only tell you what I heard, hearsay.                                                          23       A.           Yes.
24       Q.           Okay.                                                                                               24       Q.           And that was before you were discharged?
25       A.           Double booked a room for a banquet.                                                                 25       A.           Yes.       No, no, no, I think it was after, right

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1        after.                                                                                                            1        sixties and nearing retirement?
2        Q.           Right after you were discharged?                                                                     2        A.           That, and she had, was getting her house ready
3        A.           No.        You have got me all confused.                       I was                                 3        to sell or had sold it at the time.                              Getting
4        discharged in '16, and I moved in '17.                                  It was '17.                               4        comfortable.               She had bought a new car.
5        I had just moved in my house, because she called on                                                               5        Q.           Okay.        Who is -- any other evidence or facts
6        the condolences of Jonathan, and congratulations on                                                               6        that you would point to to say she was fired because
7        the new home.                                                                                                     7        she was in her sixties?
8        Q.           Did you talk about your discharge?                                                                   8        A.           Ask me that again now.
9        A.           No.                                                                                                  9        Q.           Are there any other fact -- if somebody said
10       Q.           Did you talk about her discharge?                                                                    10       why do you think Debi was fired because of her age;
11       A.           No.                                                                                                  11       what would you say?
12       Q.           Did you tell her you had a lawsuit pending?                                                          12       A.           I would say because she was getting ready for
13       A.           No.                                                                                                  13       retirement, getting, nearing retirement age.
14       Q.           You weren't involved in the situation leading                                                        14       Q.           Okay.       Why would you say that?
15       to her discharge?                                                                                                 15       A.           Because she was.
16       A.           No.                                                                                                  16       Q.           Okay.       But did anybody connected with her
17       Q.           You weren't involved in the decision to                                                              17       discharge make any comments that you either heard or
18       discharge?                                                                                                        18       had been told indicating they were firing her because
19       A.           To her discharge, no.                                                                                19       of her age?
20       Q.           Okay.        And other than Jodi telling you she                                                     20       A.           No.
21       double booked a room, did anybody else talk with you                                                              21       Q.           Same question with Keith, anybody connected
22       about the decision the club made to discharge her?                                                                22       with his discharge say anything that you could point
23       A.           Not that I recall.                                                                                   23       to to say that's evidence that they fired him because
24       Q.           Okay.        So the reason you think she was fired                                                   24       of his age?
25       because of her age is simply because she was in her                                                               25       A.           No.        Again, other than just nearing retirement

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1        age.                                                                                                              1        you know who hired her?
2        Q.           If you're running the place, do you fire Keith                                                       2        A.           I am going to guess Jodi did.
3        for time clock fraud?                                                                                             3        Q.           Do you know how old she was when she was hired?
4        A.           I do not.                                                                                            4        A.           I do not.
5        Q.           Why not?                                                                                             5        Q.           Do you know the reason given by the club as to
6        A.           If that's an agreement he made with his                                                              6        why she was fired?
7        employees, and I'm going on based on where I worked                                                               7        A.           I do not.
8        before.               We guaranteed our employees four hours, and                                                 8        Q.           So you can't refute it if you don't know what
9        that's what he did.              He guaranteed his employees four                                                 9        it is.
10       hours.                                                                                                            10       A.           Again, the retirement age.
11       Q.           But did he have the, did he have the authority                                                       11       Q.           Okay.       And Jodi would have been the one to make
12       to guarantee that?                                                                                                12       that decision --
13       A.           I don't know.                                                                                        13       A.           Yes.
14       Q.           Okay.       Virginia Colbert, who is Virginia?                                                       14       Q.           -- as far as you know?                Have you ever talked to
15       A.           She worked there.          I took her place.                                                         15       her?
16       Q.           How old was she?                                                                                     16       A.           No.
17       A.           I know she was in her sixties, and that's                                                            17       Q.           Do you know why -- I think -- do you know why
18       basically all I know.                                                                                             18       she was fired?
19       Q.           And how old were you?                                                                                19       A.           I do not.
20       A.           Sixty-three.                                                                                         20       Q.           Okay.        Did anybody ever talk to you about why
21       Q.           No, when you were hired.                                                                             21       she was let go?
22       A.           Oh, what did we decide, 50 --                                                                        22       A.           No.
23       Q.           Fifty-seven?                                                                                         23       Q.           How many people would you say -- how many
24       A.           Fifty-seven.                                                                                         24       people were you personally aware of that were
25       Q.           So she was the accounts receivable clerk.                                     Do                     25       discharged in the years that you worked there?

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1        A.           Only the people that I basically just knew?                                                            1        asking off the top of your head, people that you knew
2        Q.           Yeah, just the ones you knew about.                                                                    2        who had gotten fired while you work there.
3        A.           I knew Keith, Kyle Bundy (phonetic), Debi,                                                             3        A.           There was a Martin somebody.
4        Susan.           I think Floyd retired.                                                                             4        Q.           What did he do?
5        Q.           Floyd who?                                                                                             5        A.           Tennis.         Somebody named John Bobo (phonetic).
6        A.           I don't know.                                                                                          6        He was in the kitchen.                 And that chef, I don't
7        Q.           What was his job?                                                                                      7        remember what his name was.                      He might have quit.                          I
8        A.           Bartender, men's grill, yeah, men's grill.                                                             8        can't swear that all of these were fired or just left
9        Q.           How old was he, ballpark?                                                                              9        on their own.
10       A.           I don't know how old Floyd was.                            I think I -- I                              10       Q.           That's fine.
11       don't know if he retired or was asked to resign.                                               I                    11       A.           There was some chef, I can't remember.
12       don't know.                                                                                                         12       Q.           I mean, if you say, Well, I'm not sure, then
13       Q.           Okay.                                                                                                  13       that's fine.
14       A.           There was a guy in tennis that was terminated,                                                         14       A.           There was a chef when I first got there.                                     I
15       one of the tennis pros.                                                                                             15       don't remember what his name was.                             He wasn't, he
16       Q.           Which one, do you remember?                                                                            16       wasn't there long.               I mean, we didn't work together
17       A.           The big tall one.                                                                                      17       long.
18                                   MS. REEVES:         Eric Korita.                                                        18       Q.           Right.
19                                   MR. HERRINGTON:              Who was it?                                                19       A.           He could have been there for years.                               Then there
20                                   MS. REEVES:         Eric Korita.                                                        20       was another chef that was there.                             I know some guys in
21                                   THE WITNESS:          Yeah.                                                             21       the pro shop that left for other jobs, Cory and...
22       BY MR. HERRINGTON:                                                                                                  22       Q.           And if they left, don't worry about that.
23       Q.           Was it Eric Korita?              She can't ask, but I can.                                             23       A.           Yeah.
24       A.           Yeah.                                                                                                  24       Q.           Just ones that you think -- again, I mean if --
25       Q.           Who else do you -- again, I know I am just                                                             25       A.           Yeah.

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                                                                                                      Page 150                                                                                                                    Page 151
1        Q.           -- it turns out that they quit, nobody is going                                                        1        your EEOC charge?
2        to go, "Aha."                Right?   So people that you think got                                                  2        A.           Yes.
3        fired while you were there?                                                                                         3        Q.           Okay.         Look at the very last page.                       Well, the
4        A.           I think that.                                                                                          4        second to last page down at the bottom, it says,
5        Q.           Okay.         How old is Kyle when he was fired?                                                       5        better, number eight.                Do you see that?
6        A.           Forty.                                                                                                 6        A.           Yes.
7        Q.           What about Eric?                                                                                       7        Q.           And that corresponds to question number eight
8        A.           I don't know, maybe the same.                                                                          8        on the second page that says, "Describe who was in
9        Q.           What about Martin?                                                                                     9        the same or similar situation as you and how they
10       A.           Maybe in his fifties.                                                                                  10       were treated."
11       Q.           John Bobo.                                                                                             11                               Did I read that correctly, on the second
12       A.           You can't tell, you can't tell by looking,                                                             12       page, question number eight, this answer here right.
13       thirties maybe.                                                                                                     13       A.           Uh-huh.
14       Q.           And then the chef that left in 2009?                                                                   14       Q.           On the handwritten page on the second to last,
15       A.           I want to say sixties.                                                                                 15       if you look at the second page of the document I
16       Q.           And the other chef that you couldn't recall?                                                           16       handed you, down at the bottom it has question number
17       A.           Probably the thirties or forties.                                                                      17       eight.           Do you see that?
18                                   MR. HERRINGTON:              Let's go off the                                           18       A.           Yes.
19                               record.                                                                                     19       Q.           So your answer in the handwritten pages
20                               (Fifty-seven minute lunch break.)                                                           20       corresponds with question number eight on the second
21                                (Exhibit No. 13 was marked.)                                                               21       page; right?
22       BY MR. HERRINGTON:                                                                                                  22       A.           The numbers are the same.
23       Q.           I will hand you what I have marked as Exhibit                                                          23       Q.           Right, okay.        Well, so, and what is your answer
24       13.        Do you recognize that as the Intake                                                                      24       there?           Read that for me.           It says, "Better," and
25       Questionnaire you filled out at the time you filed                                                                  25       then it says what?

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1        A.           "All employees who would be required to learn,                                                      1        A.           No, just, just Susan and Debi.                         That's it.
2        use new software were trained, not sure when."                                                                   2        Q.           Okay.         When was the last time you talked to
3        Q.           Okay.       And who would that be?                 Do you know who                                  3        Susan?
4        the employees were that would be trained on this new                                                             4        A.           Oh, what's today, Thursday, yesterday.
5        software?                                                                                                        5        Q.           Okay.         Tell me about your conversation with
6        A.           Well, it should be banquets, and Mike Self, and                                                     6        Susan yesterday.
7        all of the servers, bartenders, accounting.                                                                      7        A.           Her ex mother-in-law passed away, and she
8        Q.           Well, in terms of the servers and bartenders,                                                       8        called to tell me.
9        that's just where they are, like, inputting orders --                                                            9        Q.           How often do you and Susan visit on the phone?
10       A.           Yes.                                                                                                10       A.           Oh, on the phone, probably once a week.
11       Q.           -- when they are waiting tables; right?                                                             11       Q.           Okay.        And in person?
12       A.           Yes.                                                                                                12       A.           I try to once a week.
13       Q.           They do that with any system; right?                                                                13       Q.           Okay.        And tell me the times you have talked
14       A.           Yes.                                                                                                14       with Susan about this suit?
15       Q.           Okay.       But in terms of accounting employees who                                                15       A.           Well, she knows it's happening.
16       would be trained, that would be Jodi and Joan; right?                                                            16       Q.           Okay.        Well, tell me the times you have talked
17       A.           Yes.                                                                                                17       to her about it?
18       Q.           Okay.       And then, of course, whoever they hired                                                 18       A.           Actually, the only thing we talked about
19       in the future?                                                                                                   19       yesterday about it was, Good luck, be calm, don't
20       A.           Correct.                                                                                            20       stress.               They can't eat you.           You know, it was just a
21       Q.           Before we go on on there, I was asking you with                                                     21       pep talk.
22       respect to the individuals that you had named, Debi,                                                             22       Q.           Okay.        Did you talk to her before you listed
23       and Keith, et cetera, I asked you if you had talked                                                              23       her as a witness?
24       to them since your discharge.                       Have you otherwise                                           24       A.           When did I list her, and I can tell -- oh, just
25       communicated with them if you haven't talked to them?                                                            25       on this you mean, the EEOC?                      I talked to her, but

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                                                                                                   Page 154                                                                                                                    Page 155
1        probably just to tell her that I was going to go talk                                                            1        Q.           Uh-huh.
2        to EEOC.                                                                                                         2        A.           I mean, I knew she got fired.
3        Q.           Well, tell me, you, you said earlier in your                                                        3        Q.           Okay.
4        testimony that you purposefully tried not to hear the                                                            4        A.           And she just -- the only thing she told me was
5        conversation, right, between Susan and Jodi before                                                               5        that Jodi told her that our business relationship has
6        she was discharged?                                                                                              6        deteriorated.
7        A.           That is correct.                                                                                    7        Q.           Uh-huh.
8        Q.           When did you talk to Susan after her discharge?                                                     8        A.           And the only other part she said was Blaine
9        When is the first time you talked to her after her                                                               9        said he had no choice but to back Jodi.                                    And she said
10       discharge?                                                                                                       10       she shook, I think, Blaine's hand.
11       A.           Golly.      I don't think I talked to her the same                                                  11                               I didn't ask her.        She was crying.                      We
12       day.         I think it was next day.                                                                            12       didn't talk about it.               She was very upset.                          I got --
13       Q.           Okay.       And did she tell you what the                                                           13       we just didn't, not, not about her specific day of
14       conversation was in that?                                                                                        14       termination, no.
15       A.           No, sir.                                                                                            15       Q.           How many times past that day after her
16       Q.           Office?      Did you ask her?                                                                       16       discharge have you talked with her about the
17       A.           No, sir.                                                                                            17       circumstances surrounding her discharge?
18       Q.           Did you call her or did she call you?                                                               18       A.           Not so much the circumstances.
19       A.           I think she called me.                                                                              19       Q.           Has she ever said that she thought she was
20       Q.           To talk about what?                                                                                 20       fired because of her age?
21       A.           She was upset.                                                                                      21       A.           She has mentioned it, yes.
22       Q.           Okay.       So she was upset, but she didn't tell                                                   22       Q.           Tell me what she said.
23       you what she was upset about?                                                                                    23       A.           Well, she said, you know, I was getting
24       A.           I didn't question her, and she -- well, she                                                         24       comfortable.               I had just bought a new car, and she
25       told me when she was there that she got fired.                                                                   25       said I guess that just triggered Jodi and made her

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1        mad, and that's when she told me she was putting more                                                              1        received from the EEOC.
2        money in her 401(k).                                                                                               2        A.           (Witness reviews document.)
3        Q.           An employee putting more money in a 401(k)                                                            3        Q.           Is that the dismissal that you received?
4        doesn't cost the club anything; does it?                                                                           4        A.           Yes.
5        A.           No, but it makes you feel secure and look                                                             5        Q.           That's all I was needing on that one.
6        secure.                                                                                                            6                                (Exhibit No. 15 was marked.)
7        Q.           So back to Exhibit 13, it says on the second                                                          7        BY MR. HERRINGTON:
8        page, "Worse, no one."                 Does that mean you are saying                                               8        Q.           I will hand you what I have marked as Exhibit
9        that people who are similarly situated who were                                                                    9        15.        We talked about earlier in the day that you and
10       treated worse, you don't think there are any?                                                                      10       Jodi had spoken about your relationship with Joan on
11       A.           Is that still with question eight?                                                                    11       November 17th, 2016; right?
12       Q.           Yeah, look on the second -- on the very last                                                          12       A.           Yes.
13       page, it says, "Worse, no one.                          Same, no one."                                             13       Q.           So this was Exhibit H to our EEOC response.
14       A.           Well, but is that still me writing --                                                                 14       You may or may not -- you said you had reviewed it,
15       Q.           I assume.        I mean, you tell me.                                                                 15       but it might have been a while.                             Just read that, and
16       A.           (Witness reviews document.)                      Honestly, right                                      16       then I want to ask you a couple of questions about
17       now, I didn't put a number, so I don't -- I don't                                                                  17       it.
18       know what I was answering.                                                                                         18       A.           About two --
19       Q.           That's fine.                                                                                          19       Q.           Not out loud.
20       A.           And I was answering question eight on the                                                             20       A.           Oh, okay.
21       second page.                                                                                                       21       Q.           I mean just read it.
22                                (Exhibit No. 14 was marked.)                                                              22       A.           I'm used to reading to kids all day.
23       BY MR. HERRINGTON:                                                                                                 23       Q.           I understand, I have got a two-year-old.
24       Q.           I will hand you what I have marked as Exhibit                                                         24       A.           (Witness reviews document.)                      Okay.
25       14.        Tell me if that is the dismissal that you                                                               25       Q.           So when you and Jodi spoke on the 17th, did she

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1        say what's that all about?                                                                                         1        A.           I think Jodi asked her not to speak with me.
2        A.           No, sir.                                                                                              2        Q.           I will hand you what I will mark as 16.
3        Q.           But she did say, After 15 to 18 months I would                                                        3                                (Exhibit No. 16 was marked.)
4        expect you would be friends by now; right?                                                                         4        BY MR. HERRINGTON:
5        A.           Yes.                                                                                                  5        Q.           This was Exhibit A to the company's EEOC
6        Q.           Okay.         Were you staring at Joan when you were                                                  6        response.               Did you review it either back when it was
7        getting something off the printer?                                                                                 7        provided to you from the EEOC or at any point
8        A.           I could have glanced back, yes, sir.                                                                  8        thereafter?
9        Q.           Okay.         It says, Joan informed me on previous                                                   9        A.           I never saw this until I got copies of the EEOC
10       occasions that Karen just stares her down as she                                                                   10       file.
11       passes by to and from her desk to the printer."                                                                    11       Q.           Okay.       Then -- so the first time you read it
12                               Do you see where I have read that?                                                         12       was after you obtained the file?
13       A.           Yes, sir.                                                                                             13       A.           Correct.
14       Q.           Do you have any, any facts that would refute                                                          14       Q.           Right?       Okay.   So tell me what's not accurate
15       that Joan told Jodi that?                                                                                          15       on here?
16       A.           She also said she doesn't look up.                                                                    16       A.           Well, I can create a Microsoft Excel
17       Q.           Right.        But do you have any facts to refute                                                     17       spreadsheet, and I can format, and I can do formula
18       that Joan told Jodi that you stare her down when you                                                               18       calculations.              I knew the billing system.                         I wasn't
19       are going to the printer?                                                                                          19       aware there was anything else I needed to know with
20       A.           I am sure I have glanced at her several times,                                                        20       it.
21       but I don't remember staring her down.                                                                             21       Q.           Did you ask Jodi about system interface and
22       Q.           What was the problem between you and Joan?                                                            22       revenue code file changes in setups?
23       A.           You would have to ask Jodi.                                                                           23       A.           I am not sure I understand what you're...
24       Q.           Well, I mean, what -- from your perception,                                                           24       Q.           Well, the sentence is, "She didn't demonstrate
25       what was the problem between you and Joan?                                                                         25       the comfort level or aptitude for mastering the

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1        current billing system, as evidenced in the                                                                        1        Q.           Give us an example for revenue code that would
2        continuing questions regarding the system interface                                                                2        need to be changed for some reason.
3        and revenue code file changes and setups, even though                                                              3        A.           Let's say the tennis shop got in, I think they
4        I worked with her on the changes."                                                                                 4        started restringing rackets.                        So you would have to
5                                Did I read that sentence correctly?                                                        5        set up a revenue code to restring the rackets, and it
6        A.           Correct.                                                                                              6        was put out on their bill to string rackets.
7        Q.           Okay.         So her perception was you didn't                                                        7        Q.           Uh-huh.
8        demonstrate a comfort level or aptitude because you                                                                8        A.           And then they were selling Cokes, and they
9        continued to ask her questions about those issues.                                                                 9        started selling beer, and things like that.
10       A.           I didn't set up revenue codes, except for the                                                         10       Q.           It says, "The new software uses SQL database
11       golf, except for the tennis shop and the golf shop.                                                                11       report writing and queries and is a more complex
12       And I worked with Barrie and Cory or whoever was in                                                                12       system."
13       the golf maintenance, I mean the golf pro shop.                                                                    13                               True or false?
14       Q.           Did you ask Jodi questions about those issues?                                                        14       A.           I don't know.
15       A.           Well, sometimes where she would want to -- if                                                         15       Q.           Okay.         It says, "There will be additional needs
16       it was the pro shop's inventory or who was getting                                                                 16       for advanced use of Excel spreadsheets for setting up
17       paid for it, yeah, those kind of questions, but not                                                                17       and analyzing member data and revenue and expenses."
18       how to set them up.                I set them up all of the time.                                                  18                               True or false?
19       Q.           When you say you set them up all of the time,                                                         19       A.           I'm sure there would be, yes.
20       what did you set up?                                                                                               20       Q.           So tell me if this is accurate, that your
21       A.           The new revenue codes.                                                                                21       disagreement with Jodi's assessment of your aptitude
22       Q.           What does that mean?              Explain that.                   What is a                           22       and ability to learn this new system is really that
23       revenue code?                                                                                                      23       she didn't give you a chance?
24       A.           Well, it tells it where to go in the system,                                                          24       A.           That is correct.            No one knew the system.
25       and also how it prints out on the members' statement.                                                              25       Q.           So you have also sued, I guess, the club, and

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1        Jodi for false imprisonment.                                                                                       1                                So you did as you were requested because
2                                     MR. HERRINGTON:            I will let you answer                                      2        you didn't want to risk losing a severance payment;
3                                that if you want to.                                                                       3        is that right?
4                                     MS. MCHUGHES:          Yes.                                                           4        A.           At the time it happened I did -- no, at the
5        BY MR. HERRINGTON:                                                                                                 5        time I didn't -- the severance package wasn't
6        Q.           So look at the Amended Complaint with me, at                                                          6        entering my mind until we were into the meeting.
7        paragraph 30.                So it says that there was an implied                                                  7        Q.           Okay.         So the -- and then paragraph 31 says you
8        threat of force in that Ms. McIntosh was afraid of                                                                 8        were compelled to go where you did not want to go?
9        being claimed insubordinate if she refused to comply.                                                              9        A.           That is true.
10                               Did I read that correctly?                                                                 10       Q.           The compelling force was your desire not to be
11       A.           Yes, sir.                                                                                             11       claimed insubordinate, and nothing else; correct?
12       Q.           So is there any other implied threat of force,                                                        12       A.           That's a confusing question.                       I didn't want the
13       other than you were afraid you might be claimed                                                                    13       boat to be any more upset than it was, so I tried to
14       insubordinate?                                                                                                     14       go in and listen.
15       A.           I was going to -- I didn't want to cause any                                                          15       Q.           Now, the lot -- so in paragraph 32 it says the
16       trouble, so I, I didn't know what was going to                                                                     16       locking the doors restrained you of your liberty to
17       happen, so I did as requested.                                                                                     17       come and go.               The doors were always locked from the
18       Q.           Because your, because your supervisor asked you                                                       18       same side of the door you were on; correct?
19       to come into her office, you went into her office?                                                                 19       A.           Correct.
20       A.           Well, not willingly, but I did, yes.                                Yes, I                            20       Q.           So you had the ability at any moment to unlock
21       did.                                                                                                               21       them?
22       Q.           And it also says that if you -- I'm just                                                              22       A.           If I -- yes.
23       reading, Insubordination and misconduct would risk                                                                 23       Q.           How many times had you been asked to go to
24       the possibility of a severance payment pursuant to                                                                 24       Blaine's office in the seven years that you worked
25       Personnel Policy 6.13 in the employee handbook.                                                                    25       there?

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1        A.           Oh, one or two.                                                                                        1        Q.           You wouldn't think it's unusual that a
2        Q.           Did you go every time you were asked?                                                                  2        supervisor asks a subordinate to come to their office
3        A.           Yeah.        Yes, sir.                                                                                 3        to discuss an employment matter; would you?
4        Q.           How many times had you been asked to go to                                                             4        A.           I'm sorry.         Do what now?
5        Jodi's office in the seven years you worked there?                                                                  5        Q.           Would you think it was unusual for a supervisor
6        A.           Three or four.                                                                                         6        to ask a subordinate to come to their office to
7        Q.           Did you go every time you were asked?                                                                  7        discuss an employment matter?
8        A.           Yes.                                                                                                   8        A.           No.
9        Q.           In those seven years prior to this date did you                                                        9        Q.           I will hand you your discovery responses.                                      I
10       ever think there was anything inappropriate about                                                                   10       will make them Exhibit 17, so I don't have to go find
11       them asking you to come to their office?                                                                            11       them.
12       A.           No.                                                                                                    12                                (Exhibit No. 17 was marked.)
13       Q.           What were you discussing on those occasions,                                                           13       BY MR. HERRINGTON:
14       ballpark?               I know you are not going to remember the                                                    14       Q.           Look at Interrogatory Number 2 and 3.                                  I think
15       details.                                                                                                            15       the -- well, let's go with number three.                                     Blaine
16       A.           Usually with Blaine it was a member situation,                                                         16       never got out of the chair before you left the
17       and Jodi it was the Joan deal, the -- they are going                                                                17       office; did he?
18       to change our working hours from 8:30 to 5:00, an                                                                   18       A.           No.
19       hour for lunch, no leaving early on Monday anymore.                                                                 19       Q.           So on Interrogatory Number 3 you list potential
20       Now, she brought me in one time because she was                                                                     20       witnesses, and I just want to visit with you about
21       crying because something about Susan.                                                                               21       these folks briefly.
22       Q.           At BFI were you ever called to the office to                                                           22                               We have talked about Debi Davies.                           Have you
23       talk to your supervisor, or HR, the manager, or                                                                     23       had any text messages with any of the people listed
24       anybody in their office?                                                                                            24       in Interrogatory Number 10, I mean Interrogatory
25       A.           I talked to HR.                                                                                        25       Number 3?

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1        A.           Do I have any text messages; is that what you                                                          1        information for -- like, if somebody had reserved the
2        asked?                                                                                                              2        terrace room for some brunch, you would create the
3        Q.           Yes.                                                                                                   3        invoice for that?
4        A.           I texted Natalie and said congratulations on                                                           4        A.           I would break it down sometimes for them, yes.
5        the twins.               And I texted Amy and said congratulations                                                  5        Q.           Okay.         But then you would just put the
6        on her baby.                                                                                                        6        information on the invoice with the description and
7        Q.           So when did Debi leave?                   When did she get                                             7        the dollars and total it up; right?
8        fired?                                                                                                              8        A.           Correct.         That I set up.
9        A.           I'm going to guess '13.                                                                                9        Q.           Okay.         Well, what information does she have
10       Q.           So she was gone three years before you were                                                            10       related to your termination?
11       fired?                                                                                                              11       A.           Oh, well, she knows, she knows I was fired.
12       A.           Yes.                                                                                                   12       Q.           Because you told her?
13       Q.           So what information relating to your                                                                   13       A.           Uh-huh.
14       termination or your skills to perform your duties                                                                   14       Q.           Who is Natalie Fielding?
15       would she have?                                                                                                     15       A.           Actually, I think Jodi called and told her.
16       A.           Debi and I worked together on the banquets.                                                            16       Q.           Jodi called Debi and told her?
17       Q.           What does that mean?                                                                                   17       A.           Yeah.
18       A.           On the accounting side.                   She would want a                                             18       Q.           When is the last time you talked to Debi?
19       special invoice typed up for certain members, and I'd                                                               19       A.           Last year.
20       type them up.               We would work together on that and                                                      20       Q.           What is Natalie's -- what was her job there?
21       change and correct anything that was wrong.                                                                         21       A.           Membership director.
22       Q.           When you say type up an invoice, was there a                                                           22       Q.           And when was she -- when did she leave?
23       template for invoices?                  Was it just a Word document?                                                23       A.           I don't know.        For all I know she is still
24       A.           Just a Word document.                                                                                  24       there.
25       Q.           Okay.        So you would just fill in the                                                             25       Q.           Okay.        What would she know about your

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1        termination?                                                                                                     1        Q.           Okay.       And why do you think that?
2        A.           Well, I think she was one of the ones standing                                                      2        A.           Because I went in the main office Thursday, and
3        in the hall when I got terminated.                                                                               3        when you walk in, and everybody shuts their mouth,
4        Q.           Went you say "standing in the hall," where                                                          4        but I didn't think anything about it that Thursday.
5        would she have been?                                                                                             5        But it clicked as soon as they came in the department
6        A.           In the main entrance.             There was about six of                                            6        on Friday and terminated me.
7        them standing there.                                                                                             7        Q.           Okay.       But then you think these people knew it
8        Q.           Downstairs?                                                                                         8        was going down the day it went down?
9        A.           Correct.                                                                                            9        A.           Yes, sir.
10       Q.           Like --                                                                                             10       Q.           And your, and the basis for that is the people
11       A.           Where the new receptionist's desk is.                                                               11       in the main office showed up on Thursday when you
12       Q.           That's a long way from Jodi's office; isn't it?                                                     12       walked in?
13       A.           Yes, sir.                                                                                           13       A.           Except for one chef, when he jumped out of
14       Q.           And who was -- so who was standing at the                                                           14       Blaine's office and hollered, Hello, Karen, real
15       receptionist's desk?                                                                                             15       loud, which was totally out of character.                                     And,
16       A.           That new guy, Tyler, and that -- whatever the                                                       16       again, I didn't think anything of it that Thursday
17       receptionist's name is, and Beth, and -- oh, there                                                               17       until, until Friday happened.
18       was four or five of them.                  I just had tunnel vision                                              18       Q.           Okay.       So she, she witnessed you walk by after
19       and walked out.                                                                                                  19       you were fired; right?
20       Q.           So, I mean, this is just the main hallway in                                                        20       A.           I'm pretty sure Natalie was there.
21       the, in the country club; right?                                                                                 21       Q.           What other information about your termination
22       A.           Yes.                                                                                                22       would she have?
23       Q.           Okay.       And do you think they were there because                                                23       A.           I'm not sure what all Blaine -- I don't know
24       you were being fired?                                                                                            24       for sure what she would know.                        She just sent me a
25       A.           Uh-huh, yes, sir.                                                                                   25       text.

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1        Q.           What text?                                                                                          1        A.           I talked to her after she got fired.
2        A.           I think she just had a crying face.                                                                 2        Q.           What was she fired for?
3        Q.           Do you still have it?                                                                               3        A.           No.        I think she quit.          She did.
4        A.           Oh, I would have to look.                                                                           4        Q.           Okay.       Why did she quit?
5        Q.           If you have any texts to or from any of the                                                         5        A.           She got a job at Alotian.
6        people listed in Interrogatory Number 3, will you                                                                6        Q.           What was your conversation with her?
7        provide them to your counsel, so we can get copies?                                                              7        A.           Oh, congratulations, and going just on her new
8        A.           Sure.                                                                                               8        job.
9        Q.           So she texted you the day after, is that what                                                       9        Q.           How did you know?          How did you know that she
10       you're saying, or the day of?                                                                                    10       had quit and taken this job at Alotian?
11       A.           I don't -- I think it was the day of.                                                               11       A.           She told me.
12       Q.           Okay.       Have you talked to her since?                                                           12       Q.           You had to have talked to her to know that?
13       A.           Except for -- no, except for to send her that                                                       13       A.           We went to lunch that day, and that afternoon
14       text and congratulations on the twins.                                                                           14       is when she gave her notice, and she told me.
15       Q.           Have you spoken to her about this lawsuit or                                                        15       Q.           Okay.
16       your claims at all?                                                                                              16       A.           Still at the club.
17       A.           No.                                                                                                 17       Q.           So you're still working at the club?
18       Q.           Amy Ramage, who is that?                                                                            18       A.           Yes.
19       A.           She was, again, catering director.                                                                  19       Q.           Okay.
20       Q.           Do you know if your attorneys have talked -- if                                                     20       A.           And on that question you asked me earlier if I
21       your attorneys talked to any of the individuals                                                                  21       knew anybody else that was terminated --
22       listed on Interrogatory Number 3?                                                                                22       Q.           Uh-huh.
23       A.           Not to my knowledge.                                                                                23       A.           -- I thought of somebody else.
24       Q.           All right.      Amy Ramage, when is the last time                                                   24       Q.           Okay.       Who?
25       you talked to her?                                                                                               25       A.           Javier somebody.

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                                                                                                 Page 172                                                                                                                   Page 173
1        Q.           Cappuccino (phonetic)?                                                                            1        Q.           So what information would she have regarding
2        A.           Yeah.                                                                                             2        your termination or your skills to perform your
3        Q.           He was fired.     Was he one of the chefs?                                                        3        duties?
4        A.           I don't know if he was fired or not, but Jodi                                                     4        A.           If I put that in there, I don't know that she
5        made the comment it took her five years to get rid of                                                          5        would know anything about my termination, but she
6        him.                                                                                                           6        would know about my skills.
7        Q.           How old was he when she got rid of him?                                                           7        Q.           Bonnie Burnam is Barrie Burnam; right?
8        A.           I don't know how old Javier was.                                                                  8        A.           Barrie.
9        Q.           He wasn't very old; was he?                                                                       9        Q.           B-a-r-r-i-e?
10       A.           I think he was older than he looked, but I                                                        10       A.           I think so.
11       wouldn't swear.            I'm going to guess in his fifties,                                                  11       Q.           Why does Barrie have a 901 number?
12       forties, fifties.                                                                                              12       A.           I think that should be 501.
13       Q.           Did Jodi make any other comments about his                                                        13       Q.           And it says she has information related to your
14       discharge, other than, It took me five years to get                                                            14       skill set?
15       rid of him?                                                                                                    15       A.           Correct.       We worked quite a bit together on
16       A.           No.                                                                                               16       different projects and setting up the revenue codes
17       Q.           He didn't report to her; did he?                                                                  17       and going over court times and so forth with the
18       A.           No, but neither did a lot of the ones she                                                         18       tennis shop.
19       helped get fired.                                                                                              19       Q.           When is the last time you talked to Barrie?
20       Q.           How did she help get Javier fired?                                                                20       A.           It was while I was still employed.
21       A.           That, I'm not sure of.             I just know what her                                           21       Q.           You haven't talked to Joan; have you?
22       comment was on him.                                                                                            22       A.           No, sir.
23       Q.           Tell me what Amy's job was.                                                                       23       Q.           What about Virginia Colbert, she was your
24       A.           Catering director, banquet manager -- I don't                                                     24       predecessor?
25       know -- one of them.                                                                                           25       A.           Correct.

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                                                                                                 Page 174                                                                                                                   Page 175
1        Q.           Have you talked to her --                                                                         1        Q.           And when I say "talked," I mean communicated
2        A.           No.                                                                                               2        with.
3        Q.           -- or had any other contact with her?                                                             3        A.           No.
4        A.           No.                                                                                               4        Q.           Okay.       Did you just have her information before
5        Q.           Texts, emails, et cetera?                                                                         5        you left?               How did you get her information?
6        A.           No.                                                                                               6        A.           All of it's on, on, look it up, on internet.
7        Q.           How did you get her contact information?                                                          7        Voter registration I think it's called.
8        A.           Internet, social media.                                                                           8        Q.           Keith Ihms, have you talked to him since you
9        Q.           Her phone number is on the internet?                                                              9        left?
10       A.           I'm assuming it was, yes.                                                                         10       A.           I have not.
11       Q.           You didn't get it from somebody else like                                                         11       Q.           Who is Heather Majors?
12       Susan?                                                                                                         12       A.           She was membership director.
13       A.           No, sir.                                                                                          13       Q.           Now, Keith, he was fired before you were fired;
14       Q.           How would she have information related to your                                                    14       right?
15       termination if she was fired, what --                                                                          15       A.           Yeah, and his paralleled with mine.
16       A.           Well, she could state her --                                                                      16       Q.           So he wouldn't have information about your
17       Q.           -- eight years before you left?                                                                   17       termination, he would have information about his
18       A.           Well, I mean, she could state her, her                                                            18       termination?
19       circumstances also probably paralleled with mine.                                                              19       A.           Yes, that it would parallel with mine.
20       Q.           So she doesn't know anything about your                                                           20       Q.           Who is Heather Majors?
21       termination?                                                                                                   21       A.           Membership director.
22       A.           Correct.                                                                                          22       Q.           When is the last time you talked to her?                                    Is
23       Q.           And then Beth, Beth Elinsky, have you talked to                                                   23       she still there?
24       her since you left?                                                                                            24       A.           No.
25       A.           I have not.                                                                                       25       Q.           Okay.       Former membership.                 So when is the last

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                                                                                                     Page 176                                                                                                                   Page 177
1        time you communicated with her?                                                                                    1        are desks kind of in the main area; right?
2        A.           The last day I guess she worked.                                                                      2        A.           Yeah.      Just two little desks, correct.
3        Q.           Ballpark that for me.                                                                                 3        Q.           Okay.      Who else?     We have got Chef Paul, Tyler,
4        A.           I don't know.                                                                                         4        Blaine, Natalie, Beth, Randy.
5        Q.           I mean what year?                                                                                     5        A.           I think her name is Maggie.                     She's a dining
6        A.           In '13.                                                                                               6        room something.             I can't think of anyone else right
7        Q.           Who were the employees in the office on the, on                                                       7        now.
8        that Thursday that you walked in?                             You say "the                                         8        Q.           Okay.      And then of those -- then tell me who,
9        office employees that knew that the Plaintiff would                                                                9        who were the people Friday in the hall?
10       be terminated on Friday."                                                                                          10       A.           Tyler, Beth, Randy was upstairs -- Tyler, Beth,
11                               Who were those employees that were in the,                                                 11       that receptionist, I don't know what her name is.
12       kind of the main club office?                                                                                      12       Q.           The receptionist was at the receptionist's
13       A.           Oh, in the main -- okay.                                                                              13       desk?
14       Q.           When you walked in that day?                                                                          14       A.           Yeah.      I think Mike Self was there.                          That's all
15       A.           What is the chef's name?                   I think his name is                                        15       I can remember seeing right now.
16       Paul.                                                                                                              16       Q.           Have you asked any of the folks listed in
17       Q.           Chef Paul?                                                                                            17       Interrogatory Number 3 to be witnesses?
18       A.           Tyler was there.                                                                                      18       A.           Have I?
19       Q.           Who is Tyler?                                                                                         19       Q.           Uh-huh.
20       A.           That does maintenance.                 There were quite a few                                         20       A.           Personally asked them, no, sir.
21       people.               I can't -- there might have been somebody                                                    21       Q.           Anyone on your behalf?
22       from golf maintenance in there.                              Blaine was in there.                                  22       A.           Not to my knowledge.
23       Natalie might have been in there.                             Beth might have                                      23       Q.           I want to kind of shift gears now.                             Again, kind
24       been.          Randy.                                                                                              24       of sticking with your discovery responses, I want to
25       Q.           I mean, it's a suite of offices, and then there                                                       25       ask you about emotional distress type damages.

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                                                                                                     Page 178                                                                                                                   Page 179
1                                We asked in Interrogatory Number 13 if you                                                 1        A.           Just checkups.
2        contend you have been physically or mentally harmed                                                                2        Q.           Okay.      Just checkups?
3        by the conduct of the Defendants.                             Tell us all of the                                   3        A.           Pretty much.      I mean, I didn't have anything
4        people you have seen because of that.                                                                              4        else.
5                                You only have listed Dr. Susanna Shermer,                                                  5        Q.           Okay.      Well, then in terms of some alleged
6        M.D.         What have you seen -- is she your primary care                                                        6        physical or mental harm caused by the Defendants,
7        doctor?                                                                                                            7        what have you seen her for?
8        A.           Yes, sir.                                                                                             8        A.           High blood pressure, heart trouble.
9        Q.           How long has she been your primary care doctor?                                                       9        Q.           What does "heart trouble" mean?
10       A.           Dates, probably six years.                                                                            10       A.           I just had a stent put in my heart.
11       Q.           Okay.        And so you were first treated by her,                                                    11       Q.           So your contention is that you had a blockage
12       like, six years ago?                                                                                               12       because of the conduct of the Defendants?
13       A.           I think so.                                                                                           13       A.           I am saying stress can do a lot of things to
14       Q.           And without getting into a lot of detail, what                                                        14       you.
15       for?                                                                                                               15       Q.           Has your doctor said that?
16       A.           Just primary care doctor, just checkups.                                                              16       A.           Yes.
17       Q.           When is the last time you were seen by her?                                                           17       Q.           That, that stress caused the blockage in your
18       A.           This is October.          May, June.                                                                  18       artery that needed --
19       Q.           Has she been, has she been at 1100 North                                                              19       A.           No, but stress, stress is not good for it, for
20       University the whole time?                                                                                         20       you.
21       A.           To my knowledge.                                                                                      21       Q.           When did you get the stent?
22       Q.           Okay.        And -- so, I mean, you have seen her for                                                 22       A.           Six weeks, eight weeks ago.
23       sinus infections and respiratory infections and just                                                               23       Q.           Has any health care provider attributed that to
24       kind of general, right, checkups, general practice,                                                                24       the conduct of the Defendants?
25       kind of the stuff we see doctors for?                                                                              25       A.           Not that, no.

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1        Q.           Okay.       How long have you had high blood                                                        1        stressed when you are terminated.
2        pressure?                                                                                                        2        Q.           Do you think it was the -- so how long after
3        A.           I was first diagnosed with it right after I got                                                     3        your discharge were you diagnosed with high blood
4        terminated.                                                                                                      4        pressure?
5        Q.           Do you remember what it was?                                                                        5        A.           I think I went in like 30 days after.
6        A.           Honestly, I don't.                                                                                  6        Q.           Was it a checkup, or was it because you were
7        Q.           When were you first -- were you prescribed                                                          7        feeling bad?
8        medicine for your high blood pressure?                                                                           8        A.           I think it might have been a checkup, because I
9        A.           Yes.                                                                                                9        go twice, twice a year.                  I'd have to ask her, and
10       Q.           Did the doctor tell you why you had high blood                                                      10       then she told me my blood pressure was high.
11       pressure?                                                                                                        11       Q.           Had it ever been high prior to that?
12       A.           Well, no.                                                                                           12       A.           No, sir.
13       Q.           So no health care professional has attributed                                                       13       Q.           Did she prescribe medication?
14       your high blood pressure to the conduct of the                                                                   14       A.           Yes, sir.
15       Defendants?                                                                                                      15       Q.           What?
16       A.           Again, other than she stressed to me not to                                                         16       A.           I'd have to look it up.                  I don't know.
17       stress.                                                                                                          17       Q.           Do you still take it today?
18       Q.           So is it your contention that being fired                                                           18       A.           I do.
19       caused your high blood pressure?                                                                                 19       Q.           Once a day?
20       A.           Yes, sir.                                                                                           20       A.           I take that one -- I take hers once a day, and
21       Q.           Okay.       And upon what facts would you base such                                                 21       I take the one from the cardiologist once a day.                                              I
22       a contention?                                                                                                    22       have two blood pressure pills.
23       A.           I had been through -- I had buried two sons,                                                        23       Q.           Who is your cardiologist?
24       and my blood pressure didn't go up.                             That's a                                         24       A.           Dr. Siddiqui.
25       different emotional type stress than what you are                                                                25       Q.           Where is he at?

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1        A.           On -- he is over there by Baptist.                            He is on                              1        what his name was.                It could have been more.                            I'm not
2        Kanis.                                                                                                           2        sure.
3        Q.           Heart Clinic Arkansas?                                                                              3        Q.           You are not saying that had anything to do with
4        A.           Yes.                                                                                                4        the discharge; are you?
5        Q.           When did you start seeing Dr. Siddiqui?                                                             5        A.           No.
6        A.           June.                                                                                               6        Q.           The ear doctor?
7        Q.           Of '18?                                                                                             7        A.           No.
8        A.           Yes.                                                                                                8        Q.           So the doctors that you claim to have seen
9        Q.           Were you referred to him because of the                                                             9        because of the conduct of my clients is Shermer and
10       blockage?                                                                                                        10       Siddiqui; right?
11       A.           When I first started I was, because my feet                                                         11       A.           Correct.
12       were cold, and she thought it might be some blockage                                                             12       Q.           Any others?
13       in the heart, so I was referred to him.                                                                          13       A.           No.
14       Q.           So what is it exactly that you're saying the                                                        14       Q.           Okay.         How much were you making when you were
15       Defendants did that was wrongful that caused your                                                                15       let go?               You don't remember?
16       high blood pressure?                                                                                             16       A.           I do not.         I saw 30 something in one of these
17       A.           Terminated me.      I mean, when you're terminated                                                  17       pages.
18       at 63, you have got more distress than you do when                                                               18       Q.           Look at paragraph 26 of the Amended Complaint.
19       you are terminated at 40.                                                                                        19       A.           Okay.
20       Q.           So it was the fact of the termination?                                                              20       Q.           It says in the second sentence, "Applicants 55
21       A.           And age.                                                                                            21       and over have a significantly more difficult time
22       Q.           Well, okay.      Have you seen any other health                                                     22       finding work than those who are younger."
23       care providers in 2016, '17, or '18, other than                                                                  23                               Did I read that correctly?
24       Shermer or Siddiqui?                                                                                             24       A.           Yes.
25       A.           Yes.       An ear doctor.       And I do not remember                                               25       Q.           It sites some study on Monster.com?

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1        A.           Yes.                                                                                                  1        for?
2        Q.           You haven't read that article; have you?                                                              2        A.           I'm trying to think if that -- that's not when
3        A.           No, sir.                                                                                              3        I had my earache, because that was before.                                       And then,
4        Q.           Without, without giving any credence to that                                                          4        again, it could have just been my checkup with all of
5        article in Monster.com, you were 56 years old when                                                                 5        lab charges on here.
6        you were hired by Jodi Reeves at The Country Club of                                                               6        Q.           Well, there are codes -- there is hypertension
7        Little Rock; weren't you?                                                                                          7        and depression, and then there are three that are
8        A.           Yes, sir.                                                                                             8        redacted?
9        Q.           So The Country Club of Little Rock is the                                                             9        A.           Yeah, I take --
10       exception, not the rule; right?                                                                                    10       Q.           Did you see -- did you present -- did you
11       A.           I'm not sure.        Maybe.         I don't know.                   I didn't                          11       present with other symptoms to Dr. Shermer on the
12       read, I didn't read that article.                                                                                  12       17th that required you to go see a doctor?
13       Q.           You said in -- when did you say the stent was                                                         13       A.           That's last year.           She had me go see -- because
14       placed, six weeks ago?                                                                                             14       I had a spot on my neck, and she sent me to see some
15       A.           Yeah, I think it was about six weeks, six or                                                          15       doctor, but there wasn't nothing wrong.
16       eight weeks.                                                                                                       16                               That could have been the 17th.                       That was
17                                (Exhibit No. 18 was marked.)                                                              17       right before I moved in.                   And, yeah, I take a, I take
18       BY MR. HERRINGTON:                                                                                                 18       a pill for depression.
19       Q.           Look at the third page of Exhibit 18.                                  I will                         19       Q.           How long have you been taking that?
20       tell you, I am sure you have seen these.                                     These are,                            20       A.           Since November of '16.
21       these are billing records that your attorneys have                                                                 21       Q.           What do you take?
22       provided to us.                                                                                                    22       A.           I do not know.        I went from taking no pills to
23       A.           I haven't seen them, but that's okay.                                                                 23       11 a day, so I don't know.
24       Q.           This is doctor, this is Dr. Shermer; right?                                                           24       Q.           How many of those pills are you claiming are to
25       You saw her on May 31, '17.                      Do you remember what                                              25       treat issues caused by my clients?

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                                                                                                     Page 186                                                                                                                    Page 187
1        A.           Well, the depression pill and the two high                                                            1        it this way.                Has there been any point in time since
2        blood pressure pills.                                                                                              2        November of '16 that you have been unable to work
3        Q.           What are the other eight for?                                                                         3        either physically or because of life circumstances?
4        A.           One is for chest pains.                  One is an iron pill.                                         4        A.           I have always been able to work.                            There has
5        Plavix, something so you can take the Plavix, where                                                                5        been no -- ask me again, because I --
6        it doesn't hurt your stomach, three vitamins.                                                                      6        Q.           That's what I am saying, either because of some
7        Q.           Do you know what else you would have been                                                             7        physical issue or because of some life circumstance,
8        seeing Dr. Shermer for on the 17th, 5-31-17?                                          I'm                          8        like having to be home to take care of your husband?
9        sorry.                                                                                                             9        A.           I didn't have to be home.                       I chose.
10       A.           Offhand, no, I do not.                                                                                10       Q.           Okay.
11       Q.           You were talking about your, the documents we                                                         11       A.           Because he just went straight downhill at the
12       related to your job search?                                                                                        12       beginning of '18.
13       A.           Yes.                                                                                                  13       Q.           So that's -- so at the beginning of -- but I'm
14       Q.           Do you remember seeing those, providing those                                                         14       talking about -- all right.                      Well, you just told me.
15       to your attorneys?               And we have copies.                       I don't have                            15       When did you choose to take care of your husband
16       a copy in here with me, though.                                                                                    16       instead of looking for a job?
17                               Exhibit B-1 in your amended discovery                                                      17       A.           I didn't choose to take care.                        I didn't stay
18       responses showed 56 applications or resumes between                                                                18       home to take care of him, but when he got so bad, I
19       your discharge in November of '16 and March 22nd of                                                                19       could not work at that particular time and try to
20       '17.         Does that sound about right?                                                                          20       take care of the two little boys.
21       A.           That sounds about six months.                                                                         21       Q.           Okay.        So who are the two little boys?
22       Q.           Okay.        Why did you stop looking for a job six                                                   22       A.           My grandsons.
23       months after you were fired?                                                                                       23       Q.           Okay.        They live with you?
24       A.           That's when my husband went downhill.                                                                 24       A.           Yes, sir.
25       Q.           Okay.        So at what, at what point -- let me ask                                                  25       Q.           How long have they lived with you?

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                                                                                                     Page 188                                                                                                                   Page 189
1        A.           Since 2010.                                                                                           1        Q.           Did you draw unemployment?
2        Q.           Okay.        So then let me rephrase it.                        At what                               2        A.           Yes.
3        point in time did you say I can't be looking for a                                                                 3        Q.           Did you draw unemployment for six months?
4        job because I have got to take care of the grandkids                                                               4        A.           Yes.
5        because my husband can't?                                                                                          5        Q.           So after March 22nd, 2017 did you look for a
6        A.           Pretty much in June of '17.                                                                           6        job anywhere else?
7        Q.           Okay.        So you haven't looked for a job since                                                    7        A.           Yes.
8        June of '17?                                                                                                       8        Q.           Where did you look between March of '17 and
9        A.           Well, no, the game plan was as soon as I moved                                                        9        June of '17?
10       into my house and got the boys situated to look for                                                                10       A.           I'll have to look in my EEOC book.
11       one, and that's when, again, he started going down                                                                 11       Q.           Do you have some records of --
12       real bad, because he went to the hospital the day we                                                               12       A.           I have, I have some, yes.
13       moved in.                                                                                                          13       Q.           Okay.        Will you give those to your attorney?
14       Q.           What day was that?                                                                                    14       A.           Yes.
15       A.           The 24th of July.                                                                                     15       Q.           How many places do you think you looked for a
16       Q.           So, essentially, for the last year you have                                                           16       job between March and June of '17?
17       made a life decision not to work?                                                                                  17       A.           Oh, 12 maybe.       A lot of them was just word of
18       A.           When you say "life decision," I made the only                                                         18       mouth, my husband making some contacts with people he
19       decision that I saw that I could make.                                                                             19       knew.
20       Q.           No one is criticizing.                 I am just trying to                                            20       Q.           Do you remember where, any of those dozen or
21       understand why you didn't look for a job in the last                                                               21       so?
22       year.          And it was because you had other                                                                    22       A.           Hillbelt (phonetic), Cameron.                       It used to be
23       responsibilities; right?                                                                                           23       Orbit.
24       A.           Correct.        I have got two boys to get to school                                                  24       Q.           Cameron used to be Orbit?
25       and back.                                                                                                          25       A.           Yeah.        I think he contacted Fastenal for me,

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                                                                                                     Page 190                                                                                                                   Page 191
1        and Duvall (phonetic).                                                                                             1        A.           Well, I mean, due to all of my life
2        Q.           What is Ducall?                                                                                       2        circumstances.
3        A.           A distributor.                                                                                        3        Q.           What are you going to ask the jury to award you
4        Q.           Of what?                                                                                              4        for compensatory damage for your discharge due in
5        A.           Industrial tools.                                                                                     5        part to your age?
6        Q.           Do you send resumes or fill out applications                                                          6        A.           I think we came up with 148, 160.                            I don't
7        for these?                                                                                                         7        remember.
8        A.           I did not on those.             That is the word of mouth                                             8        Q.           Not, not wage loss damages, not back pay?
9        that they weren't hiring anybody at time.                                      I talked                            9        A.           Oh.
10       to the school.                                                                                                     10       Q.           But like for your emotional upset because you
11       Q.           What?                                                                                                 11       were discharged because of your age?
12       A.           Both schools.                                                                                         12       A.           I don't remember what, I don't remember what we
13       Q.           What school?                                                                                          13       put in.               It's on something.
14       A.           All three schools.            I talked to Bryant Middle                                               14                                   MS. MCHUGHES:          There's not an amount.
15       School.               I talked to Collegeville Elementary, and                                                     15       Q.           On Exhibit A-1, I guess, attached to your
16       Bethel Middle School.                                                                                              16       Amended Discovery Responses, which is Exhibit 17 to
17                               They didn't have anything.                  They sent me to                                17       the deposition, you have 25,000 for mental anguish
18       some who did that -- anyway, they also said that they                                                              18       due to the false imprisonment, and mental anguish for
19       didn't have anything at the time, trying to get the                                                                19       walking by each employee after being fired 25,000.
20       job with the school, so I could at least be at one                                                                 20       How did you arrive at those numbers?
21       school with the boys.                                                                                              21       A.           I'm not sure.
22       Q.           Any interviews with --                                                                                22       Q.           How many places did you have to put in a
23       A.           No, sir.                                                                                              23       resume' or an application to be eligible for
24       Q.           Tell me how the depression has manifested                                                             24       unemployment?
25       itself.                                                                                                            25       A.           I think you have to do five a week, four a

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                                                                                                     Page 192                                                                                                                    Page 193
1        week.                                                                                                              1        Q.           So is it your testimony here today that because
2        Q.           Did you ever do more than the minimum?                                                                2        Jodi yelled at you on November 18th, 2016, that you
3        A.           Yes.                                                                                                  3        continue to suffer emotional distress?
4        Q.           Would it be reflected on -- but what you're                                                           4        A.           Yes.
5        telling me, though, is all of the places you looked                                                                5        Q.           Because of the yelling, not because of the
6        between November 18th of '16 and March 22nd of '17                                                                 6        discharge?
7        would be reflected on Exhibit B-1 to your discovery                                                                7        A.           Well, yelling was part of the discharge.
8        responses?                                                                                                         8        Q.           Well, that's what I am trying to get at.                                     Are
9        A.           It should be, to the best of my knowledge,                                                            9        you saying that you have suffered emotional distress
10       yeah.                                                                                                              10       in the two years, almost two years post-discharge
11       Q.           And then after March, between March of '17 and                                                        11       because she yelled at you, "You couldn't even sort
12       June of '17 you may have a few more records of a job                                                               12       Four Ball," or because you were fired?
13       search --                                                                                                          13       A.           Both.
14       A.           That is correct.                                                                                      14       Q.           Did you ever seek -- well, you have already
15       Q.           -- that you're going to provide to your                                                               15       said you never saw a psychiatrist, or psychologist,
16       attorney?                                                                                                          16       or counselor, or anybody like that; did you?
17       A.           That is correct.                                                                                      17       A.           No, sir.
18       Q.           Look at paragraph 40 of the Amended Complaint.                                                        18       Q.           When did you bury your two sons?
19       This is where you, you allege the tort of outrage and                                                              19       A.           I buried one in '94 and one in '15.
20       say that Jodi yelled at you, and then in paragraph 40                                                              20       Q.           Which was more emotionally upsetting, burying
21       you say that both the Defendants were the direct                                                                   21       your son or getting fired?
22       cause of the emotional distress Ms. McIntosh suffered                                                              22       A.           I can't answer that.
23       and continues to suffer.                                                                                           23       Q.           Why not?
24                               Did I read that correct in paragraph 41?                                                   24       A.           Well, those two are totally different.
25       A.           Yes, sir.                                                                                             25       Q.           How long did you grieve the passing of your

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                                                                                                     Page 194                                                                                                                    Page 195
1        son?                                                                                                               1        Q.           Okay.         Then that makes more sense.                       Is United
2        A.           Every day.                                                                                            2        Health Care, is that -- did you take COBRA
3        Q.           Do you have any documents related to any of the                                                       3        continuation coverage?
4        symptoms of this emotional distress that you say was                                                               4        A.           Yes, sir.
5        caused by my client?                                                                                               5        Q.           All right.         That makes sense.                 Thanks for
6        A.           Any documents, I have proof of blood pressure,                                                        6        clarifying that.                You asked for punitive damages in
7        and I started taking the depression pills.                                                                         7        the Complaint, but then in the -- let me look again.
8        Q.           The depression pills prescribed by Dr. Shermer?                                                       8                                     MR. HERRINGTON:            You don't have -- in
9        A.           Yes, sir.                                                                                             9                                Exhibit A-1 in your discovery responses,
10       Q.           Do you still have those medical bills over                                                            10                               you don't -- well, I guess you do have
11       there?           Can you -- do you have still have that copy,                                                      11                               punitive damages.        That would be the false
12       too, Exhibit 18?                                                                                                   12                               imprisonment and the mental anguish, I
13                               Can you tell by reference to Exhibit 18                                                    13                               guess; is that right?
14       what out-of-pocket medical expenses you're                                                                         14                                   MS. MCHUGHES:           Yes.
15       attributing to conduct of my clients?                                                                              15       BY MR. HERRINGTON:
16       A.           Out of pocket, usually just the ten dollars.                                                          16       Q.           Have you discussed damages with anyone else
17       Q.           Okay.                                                                                                 17       other than your counsel?
18       A.           And I pay a little more here or there, but                                                            18       A.           The guy, the EEOC asked me for them.
19       generally it was just the ten dollar co-pay.                                                                       19       Q.           Other than the guy at the EEOC and your
20       Q.           So where it says check number, and the check                                                          20       lawyers?
21       number is redacted, and that's fine.                                But then under                                 21       A.           I am sure my husband.
22       the amount, you weren't paying $51 and $130, and you                                                               22       Q.           Did he suggest the number, the 25,000 each?
23       were paying ten dollar co-insurance with those                                                                     23       A.           No.
24       checks?                                                                                                            24       Q.           Did he suggest a larger or smaller number?
25       A.           Correct.                                                                                              25       A.           He didn't suggest anything.

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                                                                                                     Page 196                                                                                                                    Page 197
1                                    MR. HERRINGTON:             All right.               Let me                            1        A.           About what -- well, I had color coded all of
2                                take a break for a minute.                                                                 2        the things I made it, and Blaine wants me to explain
3                                      (Six-minute break.)                                                                  3        the color coding in the meeting, and what do we think
4        BY MR. HERRINGTON:                                                                                                 4        this is, and we just need to know where all of the
5        Q.           What was the genesis of the investigation of                                                          5        hours.
6        Keith Ihms?                                                                                                        6        Q.           Uh-huh.         The -- you sent out the resumes that
7        A.           I'm sorry.        What do you --                                                                      7        you have listed in your discovery responses or
8        Q.           Well, you said you were asked to look into time                                                       8        applications.                I don't remember if it was one or the
9        records and stuff; right?                    What started the looking?                                             9        other.
10       A.           Susan noticed something on the time sheets.                                                           10       A.           Resume.
11       Q.           Susan Hill?                                                                                           11       Q.           Did you, did you get any job interviews?
12       A.           Yes.                                                                                                  12       A.           No, sir.
13       Q.           What did she -- do you remember?                                                                      13       Q.           You haven't been on a job interview since
14       A.           I don't remember what started it.                             She said,                               14       November of 2016?
15       Look at this.               Am I reading this right?                       But these                               15       A.           Correct.
16       guys are all exactly -- and, and it spit out some                                                                  16       Q.           So those employers that didn't hire you
17       kind of an exception report about times that had been                                                              17       wouldn't know how old you were; would they?
18       changed when she started looking into it.                                                                          18       A.           They shouldn't.
19       Q.           And so then did she report it to Jodi or                                                              19       Q.           Before we conclude is there anything else that
20       Blaine, and were y'all then asked to look into it                                                                  20       you claim that the Defendants did that you are suing
21       more carefully?                                                                                                    21       for that we haven't talked about today?
22       A.           I know she reported it to them, because Blaine                                                        22       A.           Harassment would have been a good one.
23       and I and Jodi, we all talked about it and had a                                                                   23       Q.           Well, I think your -- well, what do you mean?
24       little meeting over it.                                                                                            24       What do you mean "harassment"?
25       Q.           Did you -- what was the meeting?                                                                      25       A.           Well, I don't know.             Changing of the moods, the

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1        lie about this and don't tell this, and little fit                                                                 1        Susan and I had.
2        throwing.                                                                                                          2        Q.           She was crying over the poor relationship that
3        Q.           Oh, fit throwing.                                                                                     3        you had, the good relationship?
4        A.           The yelling and -- one minute it's okay; the                                                          4        A.           She was crying over the fact that she wasn't as
5        next minute it's not.                                                                                              5        close.           She knows that I talk to Susan about things
6        Q.           Is this all Jodi you're talking about?                                                                6        that I don't talk to her about.
7        A.           Pretty much, yes, sir.                                                                                7                                Well, I talk to different people about my
8        Q.           Was she this mercurial with others or just you?                                                       8        life.          Not every one person knows anything.                                 Jodi and
9        A.           I don't know how she was with all of the                                                              9        I didn't have an out-of-work relationship.
10       others.               She -- mood changes all of the time up in                                                    10       Q.           Are there any other actions or statements or
11       the department.                                                                                                    11       anything like that on the part of Jodi or Blaine or
12       Q.           Okay.        So is it your contention that her mood                                                   12       anybody else at the club that you would point to to
13       changes and yelling and fit throwing had anything to                                                               13       say, That's evidence that they fired me because of my
14       do with your age?                                                                                                  14       age?         Anything that we haven't talked about?
15       A.           I don't think that would have.                                                                        15       A.           Other than I think the accolades prove that it
16       Q.           What did she lie about?                                                                               16       wasn't skill set.
17       A.           Telling us not to tell the truth about the                                                            17       Q.           Anything else?
18       ankle, about the deposit.                    She said that Blaine came                                             18       A.           Not that I can think of at this very moment.
19       up with that idea, only it was her idea.                                     I had that                            19       Q.           Yeah, same deal though, but if you remember
20       to go back through all of my notes.                                                                                20       something, because that's sort of the meat of the
21       Q.           Do you think she did that because she was                                                             21       coconut, right, the evidence that you have that they
22       jealous of you and Susan?                                                                                          22       fired you because of your age?
23       A.           I think a lot of the moods was because she was                                                        23                               So if there is something that we haven't
24       jealous of me and Susan, especially when she called                                                                24       talked about, and you recall it today, tomorrow,
25       me into her office crying about the relationship that                                                              25       anytime before trial, you will let your attorneys

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1        know so we can know; okay?                                                                                          1        Q.           Okay.         You also mentioned earlier that there
2        A.           Yes.                                                                                                   2        was a change in software in the catering area.                                              Do
3        Q.           Thank you for your time.                    Nothing further.                                           3        you recall that?
4        A.           You are through?                                                                                       4        A.           Yes.
5        Q.           Yes, ma'am.                                                                                            5        Q.           That was a new system they installed?
6        A.           Wow.                                                                                                   6        A.           Yes.
7                                            EXAMINATION                                                                     7        Q.           And you were capable of learning that new
8        BY MS. MCHUGHES:                                                                                                    8        system?
9        Q.           I have just a few follow-ups, if you don't                                                             9        A.           Yes, ma'am.
10       care.          Karen, let's talk about the Excel                                                                    10       Q.           And you just mentioned the accolade, so
11       spreadsheets.               Are you capable of sorting an Excel                                                     11       Mr. Herrington asked you a lot of questions about
12       spreadsheet?                                                                                                        12       accolades written on your check stubs, and I just
13       A.           Yes, ma'am.                                                                                            13       want to make sure you understand what he was asking.
14       Q.           Do you know how to format an Excel spreadsheet?                                                        14                               Do you believe that was evidence of you
15       A.           Yes, ma'am.                                                                                            15       being fired for age discrimination?
16       Q.           Are you capable of entering formulas in an                                                             16       A.           No.        I think that was evidence that my skill
17       Excel spreadsheet?                                                                                                  17       set was, was proven good.
18       A.           Yes, ma'am.                                                                                            18       Q.           So the accolades are evidence of your skill set
19       Q.           Back to the schematic that was introduced                                                              19       being up to par and sufficient to do your job?
20       earlier.                When Jodi asked you to sit down, or did                                                     20       A.           Correct.
21       Jodi tell you to sit down?                                                                                          21       Q.           From your employee -- you began employment in
22       A.           I think she told me to sit down.                                                                       22       2009.          From 2009 to 2014, did you ever have any
23       Q.           Did you feel free to leave the area at that                                                            23       write-ups, or were there ever any incident reports
24       time?                                                                                                               24       that you knew about?
25       A.           No, ma'am.                                                                                             25       A.           No, ma'am.

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1        Q.           The incident reports that were introduced here                                                         1        BY MR. HERRINGTON:
2        today, were they ever discussed with you?                                                                           2        Q.           Do you think this financial comfort is always
3        A.           No, ma'am.                                                                                             3        positively correlated with your chronological age?
4        Q.           Did you ever see the incident reports before                                                           4        A.           I think it is if you plan.
5        you filed your EEOC claim?                                                                                          5        Q.           Do you know folks in your age bracket who are
6        A.           No, ma'am.                                                                                             6        not ready to retire?
7        Q.           At the country club -- how many employees are                                                          7        A.           Yes, but not necessarily because of the
8        employed there; do you know?                                                                                        8        finances.
9        A.           Well, a lot of them are seasonal, so maybe in                                                          9        Q.           Do you know people in your age bracket who
10       peak season 120.                                                                                                    10       aren't ready to retire because of finances?
11       Q.           120.         Is that a small community of employees?                                                   11       A.           Yes.
12       In other words, would everybody know everyone?                                                                      12                                      MR. HERRINGTON:            That's all I have
13       A.           Usually just departmental.                                                                             13                               got.
14       Q.           Okay.         In your testimony you referred to                                                        14                  (The deposition was concluded at 2:48 p.m.)
15       looking and feeling financially comfortable?                                                                        15
16       A.           Yes, ma'am.                                                                                            16
17       Q.           Is that looking and feeling financially                                                                17
18       comfortable a sign, in your mind, of age?                                       You reach                           18
19       a certain age, and you're financially comfortable?                                                                  19
20       A.           As you get older, yes, you get more financially                                                        20
21       comfortable.                                                                                                        21
22                                   MS. MCHUGHES:            I don't have anything                                          22
23                               else.   Thank you.                                                                          23
24                                           EXAMINATION                                                                     24
25                                                                                                                           25

                                               Janess Ferguson Smith                                                                                                         Janess Ferguson Smith
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                                                                                                     Page 204
1                                 COURT REPORTER'S CERTIFICATE
2        STATE OF ARKANSAS)
                          )ss.
3        COUNTY OF SALINE )
4                                I, JANESS FERGUSON SMITH, CCR, RPR, a
5        Notary Public in and for Saline County, Arkansas do
6        hereby certify that the facts stated by me in the
7        caption of the foregoing matter are true; and that
8        the foregoing matter was transcribed by me, to the
9        best of my ability and understanding, from my machine
10       shorthand notes taken at the time and place set out
11       in the caption hereto.
12                               In accordance with Rule 30(e) of the
13       Rules of Civil Procedure, review of the transcript
14       was waived by the deponent or a party thereto.
15                               I FURTHER CERTIFY that I am neither
16       counsel for, related to, nor employed by any of the
17       parties to the action in which this proceeding was
18       taken; and, further that I am not a relative or
19       employee of any attorney or counsel employed by the
20       parties hereto, not financially interested or
21       otherwise, in the outcome of this action.
22                 GIVEN UNDER MY HAND AND SEAL OF OFFICE on,
         this, the 17th day of October, 2018.
23
                                           _______________________________
24                                         JANESS FERGUSON SMITH, CCR, RPR
                                           Notary Public for Saline County
25                                          and Court Reporter.

                                              Janess Ferguson Smith
     Bushman Court Reporting                                                                                 501-372-5115
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